      Case: 23-10362     Document: 223    Page: 1   Date Filed: 04/26/2023



                                No. 23-10362

          IN THE UNITED STATES COURT OF APPEALS
                  FOR THE FIFTH CIRCUIT

  ALLIANCE FOR HIPPOCRATIC MEDICINE; AMERICAN ASSOCIATION OF
 PRO-LIFE OBSTETRICIANS & GYNECOLOGISTS; AMERICAN COLLEGE OF
PEDIATRICIANS; CHRISTIAN MEDICAL & DENTAL ASSOCIATIONS; SHAUN
    JESTER, D.O.; REGINA FROST-CLARK, M.D.; TYLER JOHNSON, D.O.;
                       GEORGE DELGADO, M.D.,
                                       Plaintiffs-Appellees,
                                 v.
U.S. FOOD & DRUG ADMINISTRATION; ROBERT M. CALIFF, Commissioner of
 Food and Drugs; JANET WOODCOCK, M.D., in her official capacity as Principal
      Deputy Commissioner, U.S. Food and Drug Administration; PATRIZIA
CAVAZZONI, M.D., in her official capacity as Director, Center for Drug Evaluation
      and Research, U.S. Food and Drug Administration; UNITED STATES
  DEPARTMENT OF HEALTH AND HUMAN SERVICES; XAVIER BECERRA,
          Secretary, U.S. Department of Health and Human Services,
                                               Defendants-Appellants,
                                       v.
                       DANCO LABORATORIES, L.L.C.,
                                       Intervenor-Appellant.

                On Appeal from the United States District Court
                      for the Northern District of Texas

                            RECORD EXCERPTS

                                             BRIAN M. BOYNTON
                                              Principal Deputy Assistant
                                              Attorney General
                                             LEIGHA SIMONTON
                                              United States Attorney
                                             SARAH E. HARRINGTON
                                              Deputy Assistant Attorney General
                                             MICHAEL S. RAAB
                                             CYNTHIA A. BARMORE
                                              Civil Division, Appellate Staff
                                              U.S. Department of Justice
                                              950 Pennsylvania Ave., NW
                                              Washington, DC 20530
        Case: 23-10362        Document: 223       Page: 2     Date Filed: 04/26/2023




                              TABLE OF CONTENTS

                                                                                        Page

Tab 1: Docket Sheet.................................................................... ROA.1-73

Tab 2: Notice of Appeal (Federal Appellants) ...................... ROA.4374-75

Tab 3: Notice of Appeal (Intervenor Danco Laboratories) .. ROA.4376-77

Tab 4: District Court Order and Opinion ............................ ROA.4307-73

Tab 5: Fifth Circuit Stay Decision .................................. ROA.4378-4419

Certificate of Service
Case: 23-10362   Document: 223   Page: 3   Date Filed: 04/26/2023




                          TAB 1
                     Docket Sheet
              Case: 23-10362         Document: 223         Page: 4      Date Filed: 04/26/2023


                                                                                                       APPEAL
                                   U.S. District Court
                           Northern District of Texas (Amarillo)
                       CIVIL DOCKET FOR CASE #: 2:22-cv-00223-Z

Alliance for Hippocratic Medicine et al v. U.S. Food and Drug        Date Filed: 11/18/2022
Administration et al                                                 Jury Demand: None
Assigned to: Judge Matthew J. Kacsmaryk                              Nature of Suit: 899 Other Statutes:
Case in other court: USCA5, 23-10362                                 Administrative Procedure Act/Review or
Cause: 05:702 Administrative Procedure Act                           Appeal of Agency Decision
                                                                     Jurisdiction: U.S. Government Defendant
Plaintiff
Alliance for Hippocratic Medicine                   represented by Erik Christopher Baptist
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                                                                                                     23-10362.1
             Case: 23-10362        Document: 223   Page: 5      Date Filed: 04/26/2023

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Plaintiff
American Association of Pro-Life             represented by Erik Christopher Baptist
Obstetricians & Gynecologists                               (See above for address)
                                                            LEAD ATTORNEY
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                                                            Bar Status: Admitted/In Good Standing

                                                            Christian D Stewart
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                                                            Denise Harle
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                                                                                            23-10362.2
             Case: 23-10362         Document: 223   Page: 6      Date Filed: 04/26/2023


                                                             Erica Steinmiller-Perdomo
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                                                             Julie Marie Blake
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                                                             Matthew S Bowman
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Plaintiff
American College of Pediatricians             represented by Erik Christopher Baptist
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                                                             Denise Harle
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                                                             Erica Steinmiller-Perdomo
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                                                             Erin Morrow Hawley
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                                                             Bar Status: Not Admitted

                                                             Julie Marie Blake
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                                                                                             23-10362.3
             Case: 23-10362       Document: 223   Page: 7      Date Filed: 04/26/2023

                                                           Bar Status: Admitted/In Good Standing

                                                           Matthew S Bowman
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Plaintiff
Christian Medical & Dental Associations     represented by Erik Christopher Baptist
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                                                           Bar Status: Admitted/In Good Standing

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                                                           Denise Harle
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                                                           Erica Steinmiller-Perdomo
                                                           (See above for address)
                                                           ATTORNEY TO BE NOTICED
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                                                           Erin Morrow Hawley
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                                                           Julie Marie Blake
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                                                           Matthew S Bowman
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Plaintiff
Shaun Jester, D.O.                          represented by Erik Christopher Baptist
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                                                           ATTORNEY TO BE NOTICED
                                                           Bar Status: Admitted/In Good Standing



                                                                                           23-10362.4
            Case: 23-10362   Document: 223   Page: 8      Date Filed: 04/26/2023

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                                                      Denise Harle
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                                                      Erica Steinmiller-Perdomo
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                                                      Erin Morrow Hawley
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                                                      Julie Marie Blake
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                                                      Matthew S Bowman
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Plaintiff
Regina Frost-Clark, M.D.               represented by Erik Christopher Baptist
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                                                      Denise Harle
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                                                      Erica Steinmiller-Perdomo
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                                                      ATTORNEY TO BE NOTICED
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                                                                                      23-10362.5
            Case: 23-10362   Document: 223   Page: 9      Date Filed: 04/26/2023

                                                      Erin Morrow Hawley
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                                                      Julie Marie Blake
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                                                      Matthew S Bowman
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Plaintiff
Tyler Johnson, D.O.                    represented by Erik Christopher Baptist
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                                                      Denise Harle
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                                                      Erica Steinmiller-Perdomo
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                                                      Erin Morrow Hawley
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                                                      Julie Marie Blake
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                                                      Matthew S Bowman
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                                                                                      23-10362.6
            Case: 23-10362        Document: 223   Page: 10     Date Filed: 04/26/2023


Plaintiff
George Delgado, M.D.                        represented by Erik Christopher Baptist
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                                                           Denise Harle
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                                                           Erica Steinmiller-Perdomo
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                                                           Erin Morrow Hawley
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                                                           Julie Marie Blake
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                                                           ATTORNEY TO BE NOTICED
                                                           Bar Status: Admitted/In Good Standing

                                                           Matthew S Bowman
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V.
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                                                                                            23-10362.7
            Case: 23-10362   Document: 223   Page: 11       Date Filed: 04/26/2023

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Defendant
                                       represented by

                                                                                           23-10362.8
              Case: 23-10362          Document: 223   Page: 12   Date Filed: 04/26/2023

Robert M. Califf, M.D.                                       Noah T Katzen
in his official capacity as Commissioner of                  (See above for address)
Food and Drugs, U.S. Food and Drug                           LEAD ATTORNEY
Administration                                               ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Christopher A. Eiswerth
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Daniel Schwei
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED
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                                                             Emily Brooke Nestler
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED
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                                                             Julie Straus Harris
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Kate Talmor-DOJ
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED
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Defendant
Janet Woodcock, M.D.                            represented by Noah T Katzen
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Commissioner, U.S. Food and Drug                               LEAD ATTORNEY
Administration                                                 ATTORNEY TO BE NOTICED
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                                                             Christopher A. Eiswerth
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                                                             Bar Status: Not Admitted

                                                             Daniel Schwei
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED
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                                                             Emily Brooke Nestler
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED
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                                                                                          23-10362.9
              Case: 23-10362          Document: 223   Page: 13   Date Filed: 04/26/2023

                                                             Julie Straus Harris
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED
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                                                             Kate Talmor-DOJ
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Defendant
Patrizia Cavazzoni, M.D.                        represented by Noah T Katzen
in her official capacity as Director, Center                   (See above for address)
for Drug Evaluation and Research, U.S.                         LEAD ATTORNEY
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                                                             Christopher A. Eiswerth
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                                                             Daniel Schwei
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                                                             Emily Brooke Nestler
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                                                             Julie Straus Harris
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                                                             Kate Talmor-DOJ
                                                             (See above for address)
                                                             ATTORNEY TO BE NOTICED
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Defendant
U.S. Department of Health and Human             represented by Noah T Katzen
Services                                                       (See above for address)
                                                               LEAD ATTORNEY
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                                                             Christopher A. Eiswerth
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                                                                                          23-10362.10
             Case: 23-10362          Document: 223   Page: 14   Date Filed: 04/26/2023

                                                            Bar Status: Not Admitted

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                                                            Emily Brooke Nestler
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                                                            Julie Straus Harris
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                                                            Kate Talmor-DOJ
                                                            (See above for address)
                                                            ATTORNEY TO BE NOTICED
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Defendant
Xavier Becerra                                 represented by Noah T Katzen
in his official capacity as Secretary, U.S.                   (See above for address)
Department of Health and Human Services                       LEAD ATTORNEY
                                                              ATTORNEY TO BE NOTICED
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                                                            Christopher A. Eiswerth
                                                            (See above for address)
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                                                            Daniel Schwei
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                                                            ATTORNEY TO BE NOTICED
                                                            Bar Status: Not Admitted

                                                            Emily Brooke Nestler
                                                            (See above for address)
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                                                            Bar Status: Not Admitted

                                                            Julie Straus Harris
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                                                            ATTORNEY TO BE NOTICED
                                                            Bar Status: Not Admitted

                                                            Kate Talmor-DOJ
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                                                            ATTORNEY TO BE NOTICED
                                                            Bar Status: Not Admitted

                                                                                         23-10362.11
           Case: 23-10362   Document: 223   Page: 15     Date Filed: 04/26/2023



V.
Intervenor Defendant
Danco Laboratories LLC                represented by Catherine Emily Stetson
                                                     Hogan Lovells US LLP
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                                                    ATTORNEY TO BE NOTICED

                                                                                    23-10362.12
              Case: 23-10362          Document: 223   Page: 16     Date Filed: 04/26/2023

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                                                              Ryan Brown Attorney at Law
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                                                              ATTORNEY TO BE NOTICED
                                                              Bar Status: Admitted/In Good Standing

Amicus
The Chattanooga National Memorial for           represented by Darald John Schaffer
the Unborn                                                     Samples Jennings Clem & Fields PLLC
Party and attorney are active (attorney has                    130 Jordan Avenue
been terminated to restrict access to sealed                   Chattanooga, TN 37421
filings.)                                                      (423) 892-2006
                                                               Fax: (423) 892-1919
                                                               Email: dschaffer@sampleslaw.com
                                                               TERMINATED: 01/09/2023
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                              Michael S Jennings
                                                              Samples Jennings Clem & Fields PLLC
                                                              130 Jordan Drive
                                                              Chattanooga, TN 37421
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                                                              ATTORNEY TO BE NOTICED
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Amicus
Doctors for America                             represented by Christopher Morten
Party and attorney are active (attorney has                    Columbia Law School
been terminated to restrict access to sealed                   435 W 116th St
filings.)                                                      (Jerome Greene Hall)
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                                                                                             23-10362.13
              Case: 23-10362          Document: 223   Page: 17      Date Filed: 04/26/2023

                                                               212-854-1845
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                                                               TERMINATED: 02/09/2023
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                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Thomas S Leatherbury
                                                               Thomas S Leatherbury Law PLLC
                                                               1901 N Akard St
                                                               Dallas, TX 75201
                                                               214-213-5004
                                                               Email: tom@tsleatherburylaw.com
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
American Center for Law and Justice             represented by Edward Lawrence White, III
Party and attorney are active (attorney has                    American Center for Law & Justice
been terminated to restrict access to sealed                   3001 Plymouth Road
filings.)                                                      Suite 203
                                                               Ann Arbor, MI 48105
                                                               734-680-8007
                                                               Fax: 734-680-8006
                                                               Email: elwhite3@yahoo.com
                                                               TERMINATED: 02/10/2023
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Missouri                               represented by Joshua Divine
Party and attorney are active (attorney has                    Office of The Missouri Attorney General
been terminated to restrict access to sealed                   207 W High St
filings.)                                                      PO Box 899
                                                               Jefferson City, MO 65102
                                                               573-751-8870
                                                               Email: josh.divine@ago.mo.gov
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
Human Coalition                                 represented by Elissa Michelle Graves
Party and attorney are active (attorney has                    1907 Bonanza Drivce
been terminated to restrict access to sealed                   Sachse, TX 75048
filings.)                                                      2147333213
                                                               Email: elissamgraves@gmail.com
                                                               TERMINATED: 02/10/2023

                                                                                                23-10362.14
              Case: 23-10362          Document: 223   Page: 18     Date Filed: 04/26/2023

                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Mississippi                            represented by Justin Lee Matheny
Party and attorney are active (attorney has                    Mississippi Attorney General Office
been terminated to restrict access to sealed                   550 High Street
filings.)                                                      Suite 1200
                                                               Jackson, MS 39205
                                                               601-359-3680
                                                               Fax: 601-359-2003
                                                               Email: justin.matheny@ago.ms.gov
                                                               TERMINATED: 02/10/2023
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of New York                               represented by Galen Sherwin
States of New York California, Colorado,                       NYS Office of The Attorney General
Connecticut, Delaware, Hawaii, Illinois,                       Executive
Maine, Maryland, Massachusetts,                                State Capital
Michigan, Minnesota, Nevada, New Jersey,                       Albany, NY 12224
New Mexico, North Carolina, Oregon,                            212-416-8059
Pennsylvania, Rhode Island, Washington,                        Email: galen.sherwin@ag.ny.gov
Wisconsin, Washington DC                                       TERMINATED: 02/10/2023
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
State of Alabama                                represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Alaska                                 represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Arkansas                               represented by Justin Lee Matheny


                                                                                               23-10362.15
              Case: 23-10362          Document: 223   Page: 19     Date Filed: 04/26/2023

Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Florida                                represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Georgia                                represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Idaho                                  represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Indiana                                represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Iowa                                   represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Kansas                                 represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023

                                                                                               23-10362.16
              Case: 23-10362          Document: 223   Page: 20     Date Filed: 04/26/2023

filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Louisiana                              represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Kentucky                               represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Montana                                represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Nebraska                               represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Ohio                                   represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Oklahoma                               represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                                                               23-10362.17
              Case: 23-10362          Document: 223   Page: 21     Date Filed: 04/26/2023

                                                               Bar Status: Admitted/In Good Standing

Amicus
State of South Carolina                         represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of South Dakota                           represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Tennessee                              represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Texas                                  represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Utah                                   represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
State of Wyoming                                represented by Justin Lee Matheny
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing


                                                                                               23-10362.18
              Case: 23-10362          Document: 223   Page: 22     Date Filed: 04/26/2023


Amicus
Life Collective Inc                             represented by Darren L McCarty
Party and attorney are active (attorney has                    McCarty Law PLLC
been terminated to restrict access to sealed                   1410B W 51st Street
filings.).                                                     Austin, TX 78756
                                                               512-827-2902
                                                               Email: darren@mccartylawpllc.com
                                                               TERMINATED: 02/10/2023
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
Family Research Council                         represented by Michael F Smith
Party and attorney are active (attorney has                    The Smith Appellate Law Firm
been terminated to restrict access to sealed                   1717 Pennsylvania Ave Nw
filings.)                                                      Suite 1025
                                                               Washington, DC 20006
                                                               202-454-2860
                                                               Fax: 202-747-5630
                                                               Email: smith@smithpllc.com
                                                               TERMINATED: 02/10/2023
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Judicial Watch Inc                              represented by Meredith Di Liberto
Party and attorney are active (attorney has                    Judicial Watch Inc
been terminated to restrict access to sealed                   425 Third Street SW, Suite 800
filings.)                                                      Washington, DC 20024
                                                               202-646-5172
                                                               Email: mdiliberto@judicialwatch.org
                                                               TERMINATED: 02/10/2023
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
Advancing American Freedom                      represented by John Marc Wheat
Party and attorney are active (attorney has                    Advancing American Freedom
been terminated to restrict access to sealed                   801 Pennsylvania Ave NW
filings.)                                                      Suite 930
                                                               Washington, DC 20004
                                                               703-258-9823
                                                               Email:
                                                               mwheat@advancingamericanfreedom.com
                                                               TERMINATED: 02/10/2023
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE

                                                                                               23-10362.19
              Case: 23-10362          Document: 223   Page: 23     Date Filed: 04/26/2023

                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Concerned Women for America                     represented by Mario Diaz
Party and attorney are active (attorney has                    Concerned Women for America
been terminated to restrict access to sealed                   Legal
filings.)                                                      1000 N Payne St
                                                               Alexandria, VA 22314
                                                               202-488-7000
                                                               Email: mdiaz@cwfa.org
                                                               TERMINATED: 02/10/2023
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Greer Donley                                    represented by Robert John Winson
Party and attorney are active (attorney has                    Covington & Burling LLP
been terminated to restrict access to sealed                   1999 Avenue of the Stars
filings.)                                                      Los Angeles, CA 90067-4643
                                                               424-332-4800
                                                               Fax: 424-332-4749
                                                               Email: rwinson@cov.com
                                                               TERMINATED: 02/10/2023
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               Mullin Hoard & Brown LLP
                                                               500 S Taylor
                                                               Suite 800
                                                               Amarillo, TX 79101
                                                               806-372-5050
                                                               Fax: 806-372-5086
                                                               Email: acordova@mhba.com
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               Covington & Burling LLP
                                                               850 10th Street NW
                                                               Washington, DC 20001
                                                               202-662-5864
                                                               Email: bbraiterman@cov.com
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                                                               23-10362.20
Case: 23-10362   Document: 223   Page: 24   Date Filed: 04/26/2023


                                       Denise Esposito
                                       Covington and Burling LLP
                                       850 10th Street NW
                                       Washington, DC 20001
                                       202-662-5562
                                       Email: desposito@cov.com
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Emile Katz
                                       850 10th St NW
                                       Washington, DC 20268
                                       847-964-3246
                                       Email: ekatz@cov.com
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Guillaume Julian
                                       Covington & Burling
                                       850 Tenth Street NW
                                       Washington, DC 20001
                                       202-640-8446
                                       Email: gjulian@cov.com
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Julia F Post
                                       Covington & Burling LLP
                                       850 Tenth Street NW
                                       Washington, DC 20001
                                       202-662-5249
                                       Email: jpost@cov.com
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Lewis A Grossman
                                       Covington & Burling LLP
                                       850 10th St., NW
                                       Washington, DC 20268
                                       703-582-4543
                                       Email: lgrossman@cov.com
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED


                                                                     23-10362.21
              Case: 23-10362          Document: 223   Page: 25     Date Filed: 04/26/2023

                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               Mullin Hoard & Brown LLP
                                                               500 S Taylor
                                                               Suite 800
                                                               Amarillo, TX 79109
                                                               806-372-5050
                                                               Email: rbiggs@mhba.com
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               Covington & Burling LLP
                                                               One CityCenter
                                                               850 Tenth Street NW
                                                               Washington, DC 20001
                                                               202-662-5612
                                                               Email: rlong@cov.com
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Patricia Zettler                                represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Denise Esposito
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted


                                                                                               23-10362.22
              Case: 23-10362          Document: 223   Page: 26     Date Filed: 04/26/2023

                                                               Emile Katz
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Guillaume Julian
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Julia F Post
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Lewis A Grossman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
R. Alta Charo                                   represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED

                                                                                               23-10362.23
Case: 23-10362   Document: 223   Page: 27   Date Filed: 04/26/2023

                                       Bar Status: Admitted/In Good Standing

                                       Beth E Braiterman
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Denise Esposito
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Emile Katz
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Guillaume Julian
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Julia F Post
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Lewis A Grossman
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Richard Biggs
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Admitted/In Good Standing

                                       Robert A Long, Jr
                                       (See above for address)
                                       TERMINATED: 02/10/2023


                                                                       23-10362.24
              Case: 23-10362          Document: 223   Page: 28     Date Filed: 04/26/2023

                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
I. Glenn Cohen                                  represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Denise Esposito
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Emile Katz
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Guillaume Julian
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Julia F Post
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted


                                                                                               23-10362.25
              Case: 23-10362          Document: 223   Page: 29     Date Filed: 04/26/2023

                                                               Lewis A Grossman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Marsha Cohen                                    represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Denise Esposito
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Emile Katz
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED

                                                                                               23-10362.26
              Case: 23-10362          Document: 223   Page: 30     Date Filed: 04/26/2023

                                                               Bar Status: Not Admitted

                                                               Guillaume Julian
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Julia F Post
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Lewis A Grossman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Nathan Cortez                                   represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023

                                                                                               23-10362.27
         Case: 23-10362   Document: 223   Page: 31   Date Filed: 04/26/2023

                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED
                                                Bar Status: Not Admitted

                                                Denise Esposito
                                                (See above for address)
                                                TERMINATED: 02/10/2023
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED
                                                Bar Status: Not Admitted

                                                Emile Katz
                                                (See above for address)
                                                TERMINATED: 02/10/2023
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED
                                                Bar Status: Not Admitted

                                                Guillaume Julian
                                                (See above for address)
                                                TERMINATED: 02/10/2023
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED
                                                Bar Status: Not Admitted

                                                Julia F Post
                                                (See above for address)
                                                TERMINATED: 02/10/2023
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED
                                                Bar Status: Not Admitted

                                                Lewis A Grossman
                                                (See above for address)
                                                TERMINATED: 02/10/2023
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED
                                                Bar Status: Not Admitted

                                                Richard Biggs
                                                (See above for address)
                                                TERMINATED: 02/10/2023
                                                ATTORNEY TO BE NOTICED
                                                Bar Status: Admitted/In Good Standing

                                                Robert A Long, Jr
                                                (See above for address)
                                                TERMINATED: 02/10/2023
                                                PRO HAC VICE
                                                ATTORNEY TO BE NOTICED
                                                Bar Status: Not Admitted

Amicus

                                                                                23-10362.28
              Case: 23-10362          Document: 223   Page: 32     Date Filed: 04/26/2023

Rebecca Eisenberg                               represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Denise Esposito
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Emile Katz
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Guillaume Julian
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Julia F Post
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Lewis A Grossman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED


                                                                                               23-10362.29
              Case: 23-10362          Document: 223   Page: 33     Date Filed: 04/26/2023

                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Henry Greely                                    represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Denise Esposito
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Emile Katz
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Guillaume Julian
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023

                                                                                               23-10362.30
              Case: 23-10362          Document: 223   Page: 34     Date Filed: 04/26/2023

                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Julia F Post
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Lewis A Grossman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
George Horvath                                  represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Denise Esposito

                                                                                               23-10362.31
              Case: 23-10362          Document: 223   Page: 35   Date Filed: 04/26/2023

                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Emile Katz
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Guillaume Julian
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Julia F Post
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Lewis A Grossman
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Richard Biggs
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Admitted/In Good Standing

                                                             Robert A Long, Jr
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

Amicus
Peter Barton Hutt                               represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                                                             23-10362.32
Case: 23-10362   Document: 223   Page: 36   Date Filed: 04/26/2023

                                       Bar Status: Admitted/In Good Standing

                                       Alysia Brianna Cordova
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Admitted/In Good Standing

                                       Beth E Braiterman
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Denise Esposito
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Emile Katz
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Guillaume Julian
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Julia F Post
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Lewis A Grossman
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Richard Biggs
                                       (See above for address)
                                       TERMINATED: 02/10/2023


                                                                       23-10362.33
              Case: 23-10362          Document: 223   Page: 37     Date Filed: 04/26/2023

                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Joan Krause                                     represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Denise Esposito
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Emile Katz
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Guillaume Julian
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Julia F Post

                                                                                               23-10362.34
              Case: 23-10362          Document: 223   Page: 38     Date Filed: 04/26/2023

                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Lewis A Grossman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Holly Fernandez Lynch                           represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Denise Esposito
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                                                               23-10362.35
              Case: 23-10362          Document: 223   Page: 39     Date Filed: 04/26/2023


                                                               Emile Katz
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Guillaume Julian
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Julia F Post
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Lewis A Grossman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Elizabeth McCuskey                              represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023

                                                                                               23-10362.36
Case: 23-10362   Document: 223   Page: 40   Date Filed: 04/26/2023

                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Admitted/In Good Standing

                                       Beth E Braiterman
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Denise Esposito
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Emile Katz
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Guillaume Julian
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Julia F Post
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Lewis A Grossman
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Richard Biggs
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Admitted/In Good Standing

                                       Robert A Long, Jr
                                       (See above for address)


                                                                       23-10362.37
              Case: 23-10362          Document: 223   Page: 41     Date Filed: 04/26/2023

                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Jennifer Oliva                                  represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Denise Esposito
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Emile Katz
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Guillaume Julian
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Julia F Post
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                                                               23-10362.38
              Case: 23-10362          Document: 223   Page: 42     Date Filed: 04/26/2023


                                                               Lewis A Grossman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Jordan Paradise                                 represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Denise Esposito
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Emile Katz
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE

                                                                                               23-10362.39
              Case: 23-10362          Document: 223   Page: 43      Date Filed: 04/26/2023

                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Guillaume Julian
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Julia F Post
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Lewis A Grossman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Christopher Robertson                           represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)

                                                                                               23-10362.40
Case: 23-10362   Document: 223   Page: 44   Date Filed: 04/26/2023

                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Denise Esposito
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Emile Katz
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Guillaume Julian
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Julia F Post
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Lewis A Grossman
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted

                                       Richard Biggs
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Admitted/In Good Standing

                                       Robert A Long, Jr
                                       (See above for address)
                                       TERMINATED: 02/10/2023
                                       PRO HAC VICE
                                       ATTORNEY TO BE NOTICED
                                       Bar Status: Not Admitted



                                                                       23-10362.41
              Case: 23-10362          Document: 223   Page: 45     Date Filed: 04/26/2023

Amicus
Joanna Sax                                      represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Denise Esposito
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Emile Katz
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Guillaume Julian
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Julia F Post
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Lewis A Grossman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE

                                                                                               23-10362.42
              Case: 23-10362          Document: 223   Page: 46      Date Filed: 04/26/2023

                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Allison Whelan                                  represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Denise Esposito
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Emile Katz
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Guillaume Julian
                                                               (See above for address)

                                                                                               23-10362.43
              Case: 23-10362          Document: 223   Page: 47     Date Filed: 04/26/2023

                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Julia F Post
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Lewis A Grossman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Diana Winters                                   represented by Robert John Winson
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Alysia Brianna Cordova
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Beth E Braiterman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted


                                                                                               23-10362.44
              Case: 23-10362          Document: 223   Page: 48      Date Filed: 04/26/2023

                                                               Denise Esposito
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Emile Katz
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Guillaume Julian
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Julia F Post
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Lewis A Grossman
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Richard Biggs
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Robert A Long, Jr
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
American College of Obstetricians and           represented by Molly A Meegan
Gynecologists                                                  Acog
Party and attorney are active (attorney has                    General Counsel's Office
been terminated to restrict access to sealed                   409 12th Street SW

                                                                                               23-10362.45
            Case: 23-10362   Document: 223   Page: 49   Date Filed: 04/26/2023

filings.)                                          Washington
                                                   Washington, DC 20024
                                                   202-863-2581
                                                   Email: mmeegan@acog.org
                                                   TERMINATED: 02/10/2023
                                                   LEAD ATTORNEY
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED
                                                   Bar Status: Not Admitted

                                                   Adam Bresler Aukland-Peck
                                                   Debevoise & Plimpton LLP
                                                   66 Hudson Boulevard
                                                   New York, NY 10001
                                                   212-909-6000
                                                   Email: aauklandpeck@debevoise.com
                                                   TERMINATED: 02/10/2023
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED
                                                   Bar Status: Not Admitted

                                                   Matthew W Sherwood
                                                   McCarn & Weir
                                                   905 S. Fillmore
                                                   Suite 530
                                                   Amarillo, TX 79101
                                                   806-350-5395
                                                   Email: msherwood@mwlawfirm.com
                                                   TERMINATED: 02/10/2023
                                                   ATTORNEY TO BE NOTICED
                                                   Bar Status: Admitted/In Good Standing

                                                   Megan McGuiggan
                                                   Debevoise & Plimpton LLP
                                                   801 Pennsylvania Avenue N.W.
                                                   Ste 500
                                                   Washington, DC 20004
                                                   202-383-8000
                                                   Email: mmcguiggan@debevoise.com
                                                   TERMINATED: 02/13/2023
                                                   PRO HAC VICE
                                                   ATTORNEY TO BE NOTICED
                                                   Bar Status: Not Admitted

                                                   Shannon Rose Selden
                                                   Debevoise & Plimpton LLP
                                                   66 Hudson Boulevard
                                                   New York, NY 10001
                                                   212-909-6000
                                                   Fax: 212-909-6836
                                                   Email: srselden@debevoise.com
                                                   TERMINATED: 02/10/2023
                                                   PRO HAC VICE


                                                                                   23-10362.46
              Case: 23-10362          Document: 223   Page: 50     Date Filed: 04/26/2023

                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
Murphy Klasing                                  represented by Murphy S Klasing
Party and attorney are active (attorney has                    Weycer, Kaplan, Pulaski & Zuber, P.C.
been terminated to restrict access to sealed                   11 Greenway Plaza
filings.)                                                      Suite 1400
                                                               Houston, TX 77046
                                                               7139619045
                                                               Fax: 7139615341
                                                               Email: mklasing@wkpz.com
                                                               TERMINATED: 02/17/2023
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
Susan B. Anthony Pro-Life America               represented by Murphy S Klasing
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/17/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
Catholic Health Care Leadership                 represented by Murphy S Klasing
Alliance                                                       (See above for address)
Party and attorney are active (attorney has                    TERMINATED: 02/17/2023
been terminated to restrict access to sealed                   LEAD ATTORNEY
filings.)                                                      ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
The National Catholic Bioethics Center          represented by Murphy S Klasing
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/17/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
Catholic Bar Association                        represented by Murphy S Klasing
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/17/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus


                                                                                               23-10362.47
              Case: 23-10362          Document: 223   Page: 51     Date Filed: 04/26/2023

Catholic Benefits Association                   represented by Murphy S Klasing
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/17/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
Christ Medicus Foundation                       represented by Murphy S Klasing
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/17/2023
filings.)                                                      LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
67 Members of Congress                          represented by Fernando M Bustos
Party and attorney are active (attorney has                    Bustos Law Firm PC
been terminated to restrict access to sealed                   PO Box 1980
filings.)                                                      Lubbock, TX 79408-1980
                                                               806-780-3976
                                                               Fax: 806-780-3800
                                                               Email: fbustos@bustoslawfirm.com
                                                               TERMINATED: 02/10/2023
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Carolyn McDonnell
                                                               Americans United for Life
                                                               1150 Connecticut Ave. NW
                                                               Ste 500
                                                               Washington, DC 20036
                                                               202-289-1478
                                                               Email: carolyn.mcdonnell@aul.org
                                                               TERMINATED: 02/10/2023
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

Amicus
American Medical Association                    represented by Adam Bresler Aukland-Peck
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                               Matthew W Sherwood
                                                               (See above for address)
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED

                                                                                               23-10362.48
              Case: 23-10362          Document: 223   Page: 52    Date Filed: 04/26/2023

                                                             Bar Status: Admitted/In Good Standing

                                                             Megan McGuiggan
                                                             (See above for address)
                                                             TERMINATED: 02/13/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Shannon Rose Selden
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

Amicus
Society of Maternal and Fetal Medicine          represented by Adam Bresler Aukland-Peck
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                             Matthew W Sherwood
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Admitted/In Good Standing

                                                             Megan McGuiggan
                                                             (See above for address)
                                                             TERMINATED: 02/13/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Shannon Rose Selden
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

Amicus
American Academy of Family Physicians           represented by Adam Bresler Aukland-Peck
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted



                                                                                             23-10362.49
              Case: 23-10362          Document: 223   Page: 53    Date Filed: 04/26/2023

                                                             Matthew W Sherwood
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Admitted/In Good Standing

                                                             Megan McGuiggan
                                                             (See above for address)
                                                             TERMINATED: 02/13/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Shannon Rose Selden
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

Amicus
American Gynecological & Obstetrical            represented by Adam Bresler Aukland-Peck
Society                                                        (See above for address)
Party and attorney are active (attorney has                    TERMINATED: 02/10/2023
been terminated to restrict access to sealed                   PRO HAC VICE
filings.)                                                      ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                             Matthew W Sherwood
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Admitted/In Good Standing

                                                             Megan McGuiggan
                                                             (See above for address)
                                                             TERMINATED: 02/13/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Shannon Rose Selden
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

Amicus
American Society for Reproductive               represented by Adam Bresler Aukland-Peck
Medicine                                                       (See above for address)
Party and attorney are active (attorney has                    TERMINATED: 02/10/2023

                                                                                             23-10362.50
              Case: 23-10362          Document: 223   Page: 54    Date Filed: 04/26/2023

been terminated to restrict access to sealed                 PRO HAC VICE
filings.)                                                    ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Matthew W Sherwood
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Admitted/In Good Standing

                                                             Megan McGuiggan
                                                             (See above for address)
                                                             TERMINATED: 02/13/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Shannon Rose Selden
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

Amicus
Council of University Chairs of                 represented by Adam Bresler Aukland-Peck
Obstetrics & Gynecology                                        (See above for address)
Party and attorney are active (attorney has                    TERMINATED: 02/10/2023
been terminated to restrict access to sealed                   PRO HAC VICE
filings.)                                                      ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                             Matthew W Sherwood
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Admitted/In Good Standing

                                                             Megan McGuiggan
                                                             (See above for address)
                                                             TERMINATED: 02/13/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Shannon Rose Selden
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

Amicus

                                                                                             23-10362.51
              Case: 23-10362          Document: 223   Page: 55    Date Filed: 04/26/2023

North American Society for Pediatric            represented by Adam Bresler Aukland-Peck
and Adolescent Gynecology                                      (See above for address)
Party and attorney are active (attorney has                    TERMINATED: 02/10/2023
been terminated to restrict access to sealed                   PRO HAC VICE
filings.)                                                      ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                             Matthew W Sherwood
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Admitted/In Good Standing

                                                             Megan McGuiggan
                                                             (See above for address)
                                                             TERMINATED: 02/13/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Shannon Rose Selden
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

Amicus
Nurse Practitioners in Women's Health           represented by Adam Bresler Aukland-Peck
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                             Matthew W Sherwood
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Admitted/In Good Standing

                                                             Megan McGuiggan
                                                             (See above for address)
                                                             TERMINATED: 02/23/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Shannon Rose Selden
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED

                                                                                             23-10362.52
              Case: 23-10362          Document: 223   Page: 56    Date Filed: 04/26/2023

                                                             Bar Status: Not Admitted

Amicus
Society of Family Planning                      represented by Adam Bresler Aukland-Peck
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                             Matthew W Sherwood
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Admitted/In Good Standing

                                                             Megan McGuiggan
                                                             (See above for address)
                                                             TERMINATED: 02/13/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Shannon Rose Selden
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

Amicus
Society of Gynecologic Oncology                 represented by Adam Bresler Aukland-Peck
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                             Matthew W Sherwood
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Admitted/In Good Standing

                                                             Megan McGuiggan
                                                             (See above for address)
                                                             TERMINATED: 02/13/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Shannon Rose Selden

                                                                                             23-10362.53
              Case: 23-10362          Document: 223   Page: 57    Date Filed: 04/26/2023

                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

Amicus
Society of OB/GYN Hospitalists                  represented by Adam Bresler Aukland-Peck
Party and attorney are active (attorney has                    (See above for address)
been terminated to restrict access to sealed                   TERMINATED: 02/10/2023
filings.)                                                      PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                             Matthew W Sherwood
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Admitted/In Good Standing

                                                             Megan McGuiggan
                                                             (See above for address)
                                                             TERMINATED: 02/13/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

                                                             Shannon Rose Selden
                                                             (See above for address)
                                                             TERMINATED: 02/10/2023
                                                             PRO HAC VICE
                                                             ATTORNEY TO BE NOTICED
                                                             Bar Status: Not Admitted

Amicus
Ethics and Public Policy Center                 represented by M Edward Whelan
Party and attorney are active (attorney has                    1730 M Street NW
been terminated to restrict access to sealed                   Suite 910
filings.)                                                      Washington, DC 20036
                                                               202-682-1200
                                                               Fax: 202-408-0632
                                                               TERMINATED: 02/10/2023
                                                               LEAD ATTORNEY
                                                               PRO HAC VICE
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Not Admitted

                                                             Charles W Fillmore
                                                             The Fillmore Law Firm LLP
                                                             201 Main Street
                                                             Suite 801
                                                             Fort Worth, TX 76102

                                                                                             23-10362.54
              Case: 23-10362          Document: 223   Page: 58     Date Filed: 04/26/2023

                                                               817/332-2351
                                                               Fax: 817/870-1859
                                                               Email: chad@fillmorefirm.com
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               H Dustin Fillmore, III
                                                               The Fillmore Law Firm LLP
                                                               201 Main Street
                                                               Suite 801
                                                               Fort Worth, TX 76102
                                                               817/332-2351
                                                               Fax: 817/870-1859
                                                               Email: dusty@fillmorefirm.com
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
Texas Business Leaders                          represented by John Clay Sullivan
Party and attorney are active (attorney has                    S|L Law PLLC
been terminated to restrict access to sealed                   610 Uptown Boulevard, Suite 2000
filings.)                                                      Cedar Hill, TX 75104
                                                               469-523-1351
                                                               Fax: 469-613-0891
                                                               Email: john.sullivan@the-sl-lawfirm.com
                                                               TERMINATED: 02/10/2023
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

Amicus
Charlotte Lozier Institute                      represented by Cristina Martinez Squiers
Party and attorney are active (attorney has                    Schaerr | Jaffe LLP
been terminated to restrict access to sealed                   1717 K Street NW
filings.)                                                      Suite 900
                                                               Washington, DC 20006
                                                               202-787-1060
                                                               Fax: 202-776-0136
                                                               Email: csquiers@schaerr-jaffe.com
                                                               TERMINATED: 02/10/2023
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED
                                                               Bar Status: Admitted/In Good Standing

                                                               Gene C Schaerr
                                                               Schaerr | Jaffe LLP
                                                               1717 K Street NW
                                                               Suite 900
                                                               Washington, DC 20006
                                                               202-787-1060
                                                               Fax: 202-776-0136

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              Case: 23-10362          Document: 223        Page: 59      Date Filed: 04/26/2023

                                                                    Email: gschaerr@schaerr-jaffe.com
                                                                    TERMINATED: 02/16/2023
                                                                    PRO HAC VICE
                                                                    ATTORNEY TO BE NOTICED
                                                                    Bar Status: Not Admitted

Amicus
Coalition For Jewish Values Healthcare              represented by Murphy S Klasing
Council                                                            (See above for address)
Party and attorney are active (attorney has                        TERMINATED: 02/17/2023
been terminated to restrict access to sealed                       LEAD ATTORNEY
filings.)                                                          ATTORNEY TO BE NOTICED
                                                                   Bar Status: Admitted/In Good Standing

Amicus
State of Arizona                                    represented by Joshua Bendor
Party and attorney are active (attorney has                        Office of the Arizona Attorney General
been terminated to restrict access to sealed                       2005 N Central Avenue
filings.)                                                          Phoenix, AZ 85004
                                                                   602-542-8958
                                                                   Email: joshua.bendor@azag.gov
                                                                   TERMINATED: 02/21/2023
                                                                   LEAD ATTORNEY
                                                                   PRO HAC VICE
                                                                   ATTORNEY TO BE NOTICED
                                                                   Bar Status: Not Admitted


V.
Objector
News Media Coalition                                represented by Peter Blackmer Steffensen
Party and attorney are active (attorney has                        SMU Dedman School of Law
been terminated to restrict access to sealed                       PO Box 750116
filings.)                                                          Dallas, TX 75275-0116
                                                                   214-768-4077
                                                                   Fax: 214-768-1611
                                                                   Email: psteffensen@mail.smu.edu
                                                                   TERMINATED: 03/13/2023
                                                                   LEAD ATTORNEY
                                                                   ATTORNEY TO BE NOTICED
                                                                   Bar Status: Admitted/In Good Standing


 Date Filed           #       Docket Text

 11/18/2022        1 (p.74)   COMPLAINT against Xavier Becerra, Robert M. Califf, MD, Patrizia Cavazzoni,
                              MD, U.S. Department of Health and Human Services, U.S. Food and Drug
                              Administration, Janet Woodcock, MD filed by George Delgado, MD, Regina
                              Frost-Clark, MD, American College of Pediatricians, American Association of
                              Pro-Life Obstetricians & Gynecologists, Christian Medical & Dental Associations,
                              Alliance for Hippocratic Medicine, Tyler Johnson, DO, Shaun Jester, DO. (Filing


                                                                                                     23-10362.56
             Case: 23-10362        Document: 223         Page: 60        Date Filed: 04/26/2023

                           fee $402; Receipt number ATXNDC-13312692) Plaintiff will submit summons(es)
                           for issuance. In each Notice of Electronic Filing, the judge assignment is indicated,
                           and a link to the Judges Copy Requirements and Judge Specific Requirements is
                           provided. The court reminds the filer that any required copy of this and future
                           documents must be delivered to the judge, in the manner prescribed, within three
                           business days of filing. Unless exempted, attorneys who are not admitted to practice
                           in the Northern District of Texas must seek admission promptly. Forms, instructions,
                           and exemption information may be found at www.txnd.uscourts.gov, or by clicking
                           here: Attorney Information - Bar Membership. If admission requirements are not
                           satisfied within 21 days, the clerk will notify the presiding judge. (Attachments: # 1
                           (p.74) Table of Exhibits, # 2 (p.967) Exhibit(s) 1, # 3 (p.973) Exhibit(s) 2, # 4
                           (p.989) Exhibit(s) 3, # 5 (p.991) Exhibit(s) 4, # 6 (p.1027) Exhibit(s) 5, # 7 (p.1035)
                           Exhibit(s) 6, # 8 (p.1067) Exhibit(s) 7, # 9 (p.1960) Exhibit(s) 8, # 10 (p.1967)
                           Exhibit(s) 9, # 11 (p.1968) Exhibit(s) 10, # 12 (p.1969) Exhibit(s) 11, # 13 (p.1974)
                           Exhibit(s) 12, # 14 (p.1975) Exhibit(s) 13, # 15 (p.1978) Exhibit(s) 14, # 16 (p.1979)
                           Exhibit(s) 15, # 17 (p.1985) Exhibit(s) 16, # 18 (p.1988) Exhibit(s) 17, # 19 (p.2000)
                           Exhibit(s) 18, # 20 (p.2041) Exhibit(s) 19, # 21 (p.2051) Exhibit(s) 20, # 22 (p.2053)
                           Exhibit(s) 21, # 23 (p.2059) Exhibit(s) 22, # 24 (p.2064) Exhibit(s) 23, # 25 (p.2069)
                           Exhibit(s) 24, # 26 (p.2074) Exhibit(s) 25, # 27 (p.2079) Exhibit(s) 26, # 28 (p.2086)
                           Exhibit(s) 27, # 29 (p.2512) Exhibit(s) 28, # 30 (p.2513) Exhibit(s) 29, # 31 (p.2514)
                           Exhibit(s) 30, # 32 (p.2521) Exhibit(s) 31, # 33 (p.2522) Exhibit(s) 32, # 34 (p.2525)
                           Exhibit(s) 33, # 35 (p.2526) Exhibit(s) 34, # 36 (p.2527) Exhibit(s) 35, # 37 (p.2528)
                           Exhibit(s) 36, # 38 (p.2529) Exhibit(s) 37, # 39 (p.2530) Exhibit(s) 38, # 40 (p.2531)
                           Exhibit(s) 39, # 41 (p.2538) Exhibit(s) 40, # 42 (p.2544) Exhibit(s) 41, # 43 (p.2565)
                           Exhibit(s) 42, # 44 (p.2566) Exhibit(s) 43, # 45 (p.2570) Exhibit(s) 44, # 46 (p.2590)
                           Exhibit(s) 45, # 47 (p.2595) Exhibit(s) 46, # 48 (p.2600) Exhibit(s) 47, # 49 (p.2724)
                           Exhibit(s) 48, # 50 (p.2727) Exhibit(s) 49, # 51 (p.2761) Exhibit(s) 50, # 52 (p.2801)
                           Exhibit(s) 51, # 53 (p.2805) Exhibit(s) 52, # 54 (p.2810) Cover Sheet) (Baptist, Erik)
                           (Entered: 11/18/2022)

11/18/2022     2 (p.967)   CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT by
                           Alliance for Hippocratic Medicine, American Association of Pro-Life Obstetricians
                           & Gynecologists, American College of Pediatricians, Christian Medical & Dental
                           Associations, George Delgado, MD, Regina Frost-Clark, MD, Shaun Jester, DO,
                           Tyler Johnson, DO. (Clerk QC note: No affiliate entered in ECF). (Baptist, Erik)
                           (Entered: 11/18/2022)

11/18/2022     3 (p.973)   Request for Clerk to issue Summons filed by Alliance for Hippocratic Medicine,
                           American Association of Pro-Life Obstetricians & Gynecologists, American College
                           of Pediatricians, Christian Medical & Dental Associations, George Delgado, MD,
                           Regina Frost-Clark, MD, Shaun Jester, DO, Tyler Johnson, DO. (Attachments: # 1
                           (p.74) Summons for Robert M. Califf, # 2 (p.967) Summons for Janet Woodcock, #
                           3 (p.973) Summons for Patrizia Cavazzoni, # 4 (p.989) Summons for U.S.
                           Department of Health and Human Services, # 5 (p.991) Summons for Xavier
                           Becerra, # 6 (p.1027) Summons for US Attorney Chad Meacham, # 7 (p.1035)
                           Summons for USAG Merrick Garland) (Baptist, Erik) (Entered: 11/18/2022)

11/18/2022     4 (p.989)   New Case Notes: A filing fee has been paid. Pursuant to Misc. Order 6, Plaintiff is
                           provided the Notice of Right to Consent to Proceed Before A U.S. Magistrate Judge
                           (No magistrate judge assigned). Clerk to provide copy to plaintiff if not received
                           electronically. (nht) (Entered: 11/18/2022)

11/18/2022     5 (p.991)   Summons issued as to Xavier Becerra, Robert M. Califf, MD, Patrizia Cavazzoni,
                           MD, U.S. Department of Health and Human Services, U.S. Food and Drug


                                                                                                       23-10362.57
             Case: 23-10362       Document: 223         Page: 61      Date Filed: 04/26/2023

                          Administration, Janet Woodcock, MD, U.S. Attorney, and U.S. Attorney General.
                          (nht) (Entered: 11/18/2022)

11/18/2022             6 MOTION for Preliminary Injunction filed by Alliance for Hippocratic Medicine,
                (p.1027) American Association of Pro-Life Obstetricians & Gynecologists, American College
                         of Pediatricians, Christian Medical & Dental Associations, George Delgado, MD,
                         Regina Frost-Clark, MD, Shaun Jester, DO, Tyler Johnson, DO (Attachments: # 1
                         (p.74) Proposed Order) (Baptist, Erik) Modified title on 12/8/2022 (daa). (Entered:
                         11/18/2022)

11/18/2022             7 Brief/Memorandum in Support filed by Alliance for Hippocratic Medicine,
                (p.1035) American Association of Pro-Life Obstetricians & Gynecologists, American College
                         of Pediatricians, Christian Medical & Dental Associations, George Delgado, MD,
                         Regina Frost-Clark, MD, Shaun Jester, DO, Tyler Johnson, DO re 6 (p.1027)
                         MOTION for Injunction (Baptist, Erik) (Entered: 11/18/2022)

11/18/2022             8 Appendix in Support filed by Alliance for Hippocratic Medicine, American
                (p.1067) Association of Pro-Life Obstetricians & Gynecologists, American College of
                         Pediatricians, Christian Medical & Dental Associations, George Delgado, MD,
                         Regina Frost-Clark, MD, Shaun Jester, DO, Tyler Johnson, DO re 6 (p.1027)
                         MOTION for Injunction , 7 (p.1035) Brief/Memorandum in Support of Motion,
                         (Attachments: # 1 (p.74) Appendix pt. 2, # 2 (p.967) Appendix pt. 3, # 3 (p.973)
                         Appendix pt. 4) (Baptist, Erik) (Entered: 11/18/2022)

11/30/2022             9 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.1960) Attorney Erin Morrow Hawley (Filing fee $100.00, Receipt Number
                         ATXNDC-13334273) filed by Alliance for Hippocratic Medicine, American
                         Association of Pro-Life Obstetricians & Gynecologists, American College of
                         Pediatricians, Christian Medical & Dental Associations, George Delgado, MD,
                         Regina Frost-Clark, MD, Shaun Jester, DO, Tyler Johnson, DO (Attachments: # 1
                         (p.74) Proposed Order, # 2 (p.967) Payment Receipt) (Baptist, Erik) Modified to add
                         payment information on 12/1/2022 (cea). (Entered: 11/30/2022)

12/01/2022            10 ORDER granting 9 (p.1960) Application for Admission Pro Hac Vice of Erin
                (p.1967) Hawley. Important Reminder: Unless excused for cause, an attorney who is not an
                         ECF user must register within 14 days of the date the attorney appears in a case
                         pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge Matthew J. Kacsmaryk
                         on 12/1/2022) (daa) (Entered: 12/01/2022)

12/02/2022            11 NOTICE of Attorney Appearance by Noah T Katzen on behalf of Xavier Becerra,
                (p.1968) Robert M. Califf, MD, Patrizia Cavazzoni, MD, U.S. Department of Health and
                         Human Services, U.S. Food and Drug Administration, Janet Woodcock, MD. (Filer
                         confirms contact info in ECF is current.) (Katzen, Noah) (Entered: 12/02/2022)

12/02/2022            12 Joint MOTION to Extend Time to Respond to Motion and Set Briefing Schedule
                (p.1969) filed by Xavier Becerra, Robert M. Califf, MD, Patrizia Cavazzoni, MD, U.S.
                         Department of Health and Human Services, U.S. Food and Drug Administration,
                         Janet Woodcock, MD (Attachments: # 1 (p.74) Proposed Order) (Katzen, Noah)
                         (Entered: 12/02/2022)

12/08/2022            13 ORDER granting 12 (p.1969) Plaintiffs' Joint Motion to Extend Deadlines and Set
                (p.1974) Briefing Schedule. Defendants must respond to Plaintiffs' Motion for Preliminary
                         Injunction (ECF No. 6) on or before January 13, 2023. Plaintiffs may reply to
                         Defendants' response on or before February 10, 2023. (Ordered by Judge Matthew J.
                         Kacsmaryk on 12/8/2022) (daa) (Entered: 12/08/2022)


                                                                                                   23-10362.58
             Case: 23-10362       Document: 223        Page: 62      Date Filed: 04/26/2023

12/27/2022            14 Consent MOTION for Leave to File Briefs With Extended Page Limits filed by
                (p.1975) Xavier Becerra, Robert M. Califf, MD, Patrizia Cavazzoni, MD, U.S. Department of
                         Health and Human Services, U.S. Food and Drug Administration, Janet Woodcock,
                         MD (Attachments: # 1 (p.74) Proposed Order) (Katzen, Noah) (Entered:
                         12/27/2022)

01/03/2023            15 ORDER granting 14 (p.1975) Defendants' Consent Motion for Leave to File Briefs
                (p.1978) with Extended Page Limits. (Ordered by Judge Matthew J. Kacsmaryk on 1/3/2023)
                         (daa) (Entered: 01/03/2023)

01/09/2023            16 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                (p.1979) fee $100; Receipt number ATXNDC-13426239) filed by The Chattanooga National
                         Memorial for the Unborn (Attachments: # 1 (p.74) Additional Page(s) Certificates of
                         Good Standing)Attorney Darald John Schaffer added to party The Chattanooga
                         National Memorial for the Unborn(pty:am) (Schaffer, Darald) (Entered: 01/09/2023)

01/09/2023            17 MOTION to Waive Local Counsel Requirement re 16 (p.1979) Application for
                (p.1985) Admission Pro Hac Vice with Certificate of Good Standing (Filing fee $100;
                         Receipt number ATXNDC-13426239) filed by The Chattanooga National Memorial
                         for the Unborn (Schaffer, Darald) (Entered: 01/09/2023)

01/09/2023            18 MOTION for Leave to File Amicus Curiae Brief filed by The Chattanooga National
                (p.1988) Memorial for the Unborn with Brief/Memorandum in Support. (Attachments: # 1
                         (p.74) Amicus Brief) (Schaffer, Darald) (Entered: 01/09/2023)

01/13/2023            19 Unopposed MOTION to Intervene filed by Danco Laboratories, LLC (Attachments:
                (p.2000) # 1 (p.74) Exhibit(s) Danco's Brief in Opposition to Plaintiff's Motion for
                         Preliminary Injunction, # 2 (p.967) Exhibit(s) Exhibit 2 - Appendix, # 3 (p.973)
                         Proposed Order Proposed Order). Party Danco Laboratories, LLC added.Attorney
                         Ryan Patrick Brown added to party Danco Laboratories, LLC(pty:intvd) (Brown,
                         Ryan) (Entered: 01/13/2023)

01/13/2023            20 Brief/Memorandum in Support filed by Danco Laboratories, LLC re 19 (p.2000)
                (p.2041) Unopposed MOTION to Intervene (Brown, Ryan) (Entered: 01/13/2023)

01/13/2023            21 CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT by
                (p.2051) Danco Laboratories, LLC. (Clerk QC note: No affiliate entered in ECF). (Brown,
                         Ryan) (Main Document 21 replaced with flattened image on 1/17/2023) (nht).
                         (Entered: 01/13/2023)

01/13/2023            22 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.2053) Attorney Jessica Ellsworth (Filing fee $100; Receipt number ATXNDC-13441871)
                         filed by Danco Laboratories, LLC (Attachments: # 1 (p.74) Proposed Order
                         Proposed Order) (Brown, Ryan) (Entered: 01/13/2023)

01/13/2023            23 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.2059) Attorney Kaitlyn Golden (Filing fee $100; Receipt number ATXNDC-13442009)
                         filed by Danco Laboratories, LLC (Attachments: # 1 (p.74) Proposed Order)
                         (Brown, Ryan) (Entered: 01/13/2023)

01/13/2023            24 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.2064) Attorney Philip Katz (Filing fee $100; Receipt number ATXNDC-13442025) filed
                         by Danco Laboratories, LLC (Attachments: # 1 (p.74) Proposed Order) (Brown,
                         Ryan) (Entered: 01/13/2023)

01/13/2023


                                                                                                 23-10362.59
             Case: 23-10362        Document: 223         Page: 63      Date Filed: 04/26/2023

                      25 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.2069) Attorney Marlan Golden (Filing fee $100; Receipt number ATXNDC-13442066)
                         filed by Danco Laboratories, LLC (Attachments: # 1 (p.74) Proposed Order)
                         (Brown, Ryan) (Entered: 01/13/2023)

01/13/2023            26 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.2074) Attorney Lynn Mehler (Filing fee $100; Receipt number ATXNDC-13442092) filed
                         by Danco Laboratories, LLC (Attachments: # 1 (p.74) Proposed Order) (Brown,
                         Ryan) (Entered: 01/13/2023)

01/13/2023            27 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.2079) Attorney Catherine Stetson (Filing fee $100; Receipt number ATXNDC-13442104)
                         filed by Danco Laboratories, LLC (Attachments: # 1 (p.74) Proposed Order)
                         (Brown, Ryan) (Entered: 01/13/2023)

01/13/2023            28 RESPONSE in Opposition filed by Xavier Becerra, Robert M. Califf, MD, Patrizia
                (p.2086) Cavazzoni, MD, U.S. Department of Health and Human Services, U.S. Food and
                         Drug Administration, Janet Woodcock, MD re: 6 (p.1027) MOTION for Preliminary
                         Injunction. ***FILED USING EMERGENCY EMAIL*** (Attachments: # 1 (p.74)
                         Exhibit(s) Katzen, # 2 (p.967) Exhibit(s) Lindo, # 3 (p.973) Exhibit(s) Ireland, # 4
                         (p.989) Exhibit(s) Kieltyka, # 5 (p.991) Exhibit(s) Zite, # 6 (p.1027) Exhibit(s)
                         Glaser, # 7 (p.1035) Exhibit(s) McHugh) (twd) (Entered: 01/17/2023)

01/17/2023            29 ORDER granting 16 (p.1979) Application for Admission Pro Hac Vice of Darald
                (p.2512) John Schaffer, Michael S Jennings. Important Reminder: Unless excused for cause,
                         an attorney who is not an ECF user must register within 14 days of the date the
                         attorney appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by
                         Judge Matthew J. Kacsmaryk on 1/17/2023) (daa) (Entered: 01/17/2023)

01/17/2023            30 ORDER granting 17 (p.1985) Motion ; granting 18 (p.1988) The Chattanooga
                (p.2513) National Memorial for the Unborn's Motion for Leave to File a Brief as Amicus
                         Curiae in Support of Plaintiff's Complaint and Motion for Temporary Injunction.
                         (Ordered by Judge Matthew J. Kacsmaryk on 1/17/2023) (daa) (Entered:
                         01/17/2023)

01/17/2023            31 AMICUS Brief in Support filed by The Chattanooga National Memorial for the
                (p.2514) Unborn re 1 (p.74) Complaint. (daa) (Entered: 01/19/2023)

02/03/2023            32 ORDER: On or before February 10, 2023, the parties are ORDERED to submit
                (p.2521) separate briefs on whether the Court should consolidate the injunction hearing and
                         the trial on the merits pursuant to Federal Rule of Civil Procedure 65(a)(2). (Ordered
                         by Judge Matthew J. Kacsmaryk on 2/3/2023) (awc) (Entered: 02/03/2023)

02/06/2023            33 ORDER granting 19 (p.2000) Danco Laboratories, LLC's ("Danco") Unopposed
                (p.2522) Motion for Leave to Intervene. (Ordered by Judge Matthew J. Kacsmaryk on
                         2/6/2023) (daa) (Entered: 02/06/2023)

02/06/2023            34 ORDER granting 27 (p.2079) Application for Admission Pro Hac Vice of Catherine
                (p.2525) Emily Stetson. Important Reminder: Unless excused for cause, an attorney who is
                         not an ECF user must register within 14 days of the date the attorney appears in a
                         case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge Matthew J.
                         Kacsmaryk on 2/6/2023) (daa) (Entered: 02/07/2023)

02/06/2023            35 ORDER granting 26 (p.2074) Application for Admission Pro Hac Vice of Lynn
                (p.2526) Whipkey Mehler. Important Reminder: Unless excused for cause, an attorney who is
                         not an ECF user must register within 14 days of the date the attorney appears in a

                                                                                                    23-10362.60
             Case: 23-10362       Document: 223         Page: 64       Date Filed: 04/26/2023

                           case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge Matthew J.
                           Kacsmaryk on 2/6/2023) (daa) (Entered: 02/07/2023)

02/06/2023            36 ORDER granting 25 (p.2069) Application for Admission Pro Hac Vice of Marlan
                (p.2527) Golden. Important Reminder: Unless excused for cause, an attorney who is not an
                         ECF user must register within 14 days of the date the attorney appears in a case
                         pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge Matthew J. Kacsmaryk
                         on 2/6/2023) (daa) (Entered: 02/07/2023)

02/06/2023            37 ORDER granting 24 (p.2064) Application for Admission Pro Hac Vice of Philip
                (p.2528) Katz. Important Reminder: Unless excused for cause, an attorney who is not an ECF
                         user must register within 14 days of the date the attorney appears in a case pursuant
                         to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge Matthew J. Kacsmaryk on
                         2/6/2023) (daa) (Entered: 02/07/2023)

02/06/2023            38 ORDER granting 23 (p.2059) Application for Admission Pro Hac Vice of Kaitlyn
                (p.2529) Golden. Important Reminder: Unless excused for cause, an attorney who is not an
                         ECF user must register within 14 days of the date the attorney appears in a case
                         pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge Matthew J. Kacsmaryk
                         on 2/6/2023) (daa) (Entered: 02/07/2023)

02/06/2023            39 ORDER granting 22 (p.2053) Application for Admission Pro Hac Vice of Jessica
                (p.2530) Lynn Ellsworth. Important Reminder: Unless excused for cause, an attorney who is
                         not an ECF user must register within 14 days of the date the attorney appears in a
                         case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge Matthew J.
                         Kacsmaryk on 2/6/2023) (daa) (Entered: 02/07/2023)

02/09/2023            40 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                (p.2531) fee $100; Receipt number ATXNDC-13504121) filed by Doctors for America
                         (Attachments: # 1 (p.74) Proposed Order). Party Doctors for America
                         added.Attorney Christopher Morten added to party Doctors for America(pty:am)
                         (Morten, Christopher) (Entered: 02/09/2023)

02/09/2023            41 MOTION to Waive Local Counsel Requirement filed by Doctors for America
                (p.2538) (Attachments: # 1 (p.74) Proposed Order) (Morten, Christopher) (Entered:
                         02/09/2023)

02/09/2023            42 Unopposed MOTION for Leave to File Amicus Brief filed by Doctors for America
                (p.2544) (Attachments: # 1 (p.74) Amicus Brief of Doctors for America, # 2 (p.967) Proposed
                         Order) (Morten, Christopher) (Entered: 02/09/2023)

02/09/2023            43 ORDER: On February 6, 2023, the Court granted Danco Laboratories, LLC's
                (p.2565) ("Danco") motion to intervene. ECF No. 33. Accordingly, the Court hereby
                         ORDERS Danco to promptly file its brief in opposition to Plaintiff's motion for a
                         preliminary injunction (ECF No. 19-1 ). Plaintiffs may file any reply to Defendants'
                         responses to the motion for preliminary injunction on or before February 24, 2023.
                         (Ordered by Judge Matthew J. Kacsmaryk on 2/9/2023) (daa) (Entered: 02/09/2023)

02/10/2023            44 MOTION to Waive Local Rule 83.10(a) (Unopposed) filed by American Center for
                (p.2566) Law and Justice (Attachments: # 1 (p.74) Proposed Order)Attorney Edward
                         Lawrence White, III added to party American Center for Law and Justice(pty:am)
                         (White, Edward) (Entered: 02/10/2023)

02/10/2023            45 Unopposed MOTION for Leave to File Amicus Curiae Brief in Support of Plaintiffs'
                (p.2570) Motion for Preliminary Injunction filed by American Center for Law and Justice
                         (Attachments: # 1 (p.74) Amicus Curiae Brief, # 2 (p.967) Proposed Order) (White,

                                                                                                    23-10362.61
             Case: 23-10362        Document: 223         Page: 65       Date Filed: 04/26/2023

                           Edward) (Entered: 02/10/2023)

02/10/2023            46 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                (p.2590) fee $100; Receipt number ATXNDC-13507946) filed by State of Missouri
                         (Attachments: # 1 (p.74) Proposed Order). Party State of Missouri added.Attorney
                         Joshua Divine added to party State of Missouri(pty:am) (Divine, Joshua) (Entered:
                         02/10/2023)

02/10/2023            47 MOTION for Leave to File Motion for Leave to Proceed without Local Counsel
                (p.2595) filed by State of Missouri (Attachments: # 1 (p.74) Proposed Order) (Divine, Joshua)
                         (Entered: 02/10/2023)

02/10/2023            48 Unopposed MOTION for Leave to File Amicus Brief filed by State of Missouri
                (p.2600) (Attachments: # 1 (p.74) Proposed Order, # 2 (p.967) Attachment: Amicus Brief, # 3
                         (p.973) Attachment: Appendix) (Divine, Joshua) (Entered: 02/10/2023)

02/10/2023            49 NOTICE of Attorney Appearance by Elissa Michelle Graves on behalf of Human
                (p.2724) Coalition. (Filer confirms contact info in ECF is current.) (Graves, Elissa) (Entered:
                         02/10/2023)

02/10/2023            50 RESPONSE filed by Danco Laboratories, LLC re: 6 (p.1027) MOTION for
                (p.2727) Injunction (Brown, Ryan) (Entered: 02/10/2023)

02/10/2023            51 MOTION for Leave to File Brief Amicus Curiae filed by Human Coalition
                (p.2761) (Attachments: # 1 (p.74) Proposed Amicus Brief, # 2 (p.967) Proposed Order)
                         (Graves, Elissa) (Entered: 02/10/2023)

02/10/2023            52 Appendix in Support filed by Danco Laboratories, LLC re 50 (p.2727)
                (p.2801) Response/Objection to Plaintif's Motion for Preliminary Injunction (Brown, Ryan)
                         (Entered: 02/10/2023)

02/10/2023            53 MOTION for Leave to File Motion for Leave to Proceed Without Local Counsel
                (p.2805) filed by State of Mississippi (Attachments: # 1 (p.74) Proposed Order). Party States
                         of Mississippi, Alabama, Alaska, Arkansas, Florida, Georgia, Idaho, Indiana, Iowa,
                         Kansas, Kentucky, Louisiana, Montana, Nebraska, Ohio, Oklahoma, South Carolina,
                         South Dakota, Tennessee, Texas, Utah, and Wyoming added.Attorney Justin Lee
                         Matheny added to party State of Mississippi(pty:am) (Matheny, Justin) (Entered:
                         02/10/2023)

02/10/2023            54 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.2810) Attorney M. Edward Whelan III (Filing fee $100; Receipt number
                         ATXNDC-13508325) filed by Ethics and Public Policy Center (Attachments: # 1
                         (p.74) Proposed Order). Party Ethics and Public Policy Center added.Attorney
                         Charles W Fillmore added to party Ethics and Public Policy Center(pty:!!!)
                         (Fillmore, Charles) (Main Document 54 replaced on 2/10/2023) (daa). (Attachment
                         1 replaced on 2/10/2023) (daa). (Entered: 02/10/2023)

02/10/2023            55 Unopposed MOTION for Leave to File Motion for Leave to File Amicus Brief filed
                (p.2816) by State of Mississippi (Attachments: # 1 (p.74) Exhibit(s) Proposed Amicus Brief,
                         # 2 (p.967) Proposed Order) (Matheny, Justin) (Entered: 02/10/2023)

02/10/2023            56 MOTION for Leave to File Amicus Brief on Behalf of Ethics and Public Policy
                (p.2846) Center in Support of Plaintiffs filed by Ethics and Public Policy Center with
                         Brief/Memorandum in Support. (Attachments: # 1 (p.74) Exhibit(s) Amicus Brief on
                         Behalf of Ethics and Public Policy Center in Support of Plaintiffs, # 2 (p.967)
                         Proposed Order) (Fillmore, Charles) (Entered: 02/10/2023)


                                                                                                     23-10362.62
             Case: 23-10362       Document: 223         Page: 66      Date Filed: 04/26/2023

02/10/2023            57 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                (p.2867) fee $100; Receipt number ATXNDC-13508285) filed by State of New York
                         (Attachments: # 1 (p.74) Declaration(s), # 2 (p.967) Proposed Order)Attorney Galen
                         Sherwin added to party State of New York(pty:am) (Sherwin, Galen) (Entered:
                         02/10/2023)

02/10/2023            58 MOTION for Leave to File Brief of Amicus Curiae Life Collective Inc. filed by Life
                (p.2877) Collective Inc. (Attachments: # 1 (p.74) Exhibit(s) Proposed Amicus Brief). Party
                         Life Collective Inc. added.Attorney Darren L McCarty added to party Life
                         Collective Inc.(pty:am) (McCarty, Darren) (Entered: 02/10/2023)

02/10/2023            59 Unopposed MOTION for Leave to File Brief as Amici Curiae in Support of
                (p.2888) Defendants and in Opposition to Plaintiffs' Motion for Preliminary Injunction filed
                         by State of New York with Brief/Memorandum in Support. (Attachments: # 1 (p.74)
                         Exhibit(s), # 2 (p.967) Proposed Order) (Sherwin, Galen) (Entered: 02/10/2023)

02/10/2023            60 MOTION Waiver of Local Rule 83.10(a) filed by Life Collective Inc. (McCarty,
                (p.2928) Darren) (Entered: 02/10/2023)

02/10/2023            61 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                (p.2931) fee $100; Receipt number ATXNDC-13508815) filed by Family Research Council
                         (Attachments: # 1 (p.74) Proposed Order). Party Family Research Council
                         added.Attorney Michael F Smith added to party Family Research Council(pty:am)
                         (Smith, Michael) (Entered: 02/10/2023)

02/10/2023            62 MOTION Waive Local Counsel Requirement of LR 83.10 filed by Family Research
                (p.2940) Council (Attachments: # 1 (p.74) Proposed Order) (Smith, Michael) (Entered:
                         02/10/2023)

02/10/2023            63 Unopposed MOTION for Leave to File Amicus Curiae brief filed by Family
                (p.2944) Research Council with Brief/Memorandum in Support. (Attachments: # 1 (p.74)
                         Exhibit(s) Amicus Brief, # 2 (p.967) Proposed Order) (Smith, Michael) (Entered:
                         02/10/2023)

02/10/2023            64 MOTION for Leave to File Waive Requirement for Local Counsel filed by Judicial
                (p.3055) Watch (Attachments: # 1 (p.74) Proposed Order). Party Judicial Watch, Inc.
                         added.Attorney Meredith Di Liberto added to party Judicial Watch(pty:am) (Di
                         Liberto, Meredith) (Entered: 02/10/2023)

02/10/2023            65 Unopposed MOTION for Leave to File to File An Amicus Curiae Brief in Support
                (p.3059) of Plaintiffs filed by Judicial Watch with Brief/Memorandum in Support.
                         (Attachments: # 1 (p.74) Exhibit(s) Amicus Curiae Brief of Judicial Watch, Inc. in
                         Support of Plaintifss, # 2 (p.967) Exhibit(s) Appendix to Amicus Curiae Brief of
                         Judicial Watch in Support of Plaintiffs, # 3 (p.973) Proposed Order) (Di Liberto,
                         Meredith) (Entered: 02/10/2023)

02/10/2023            66 Unopposed MOTION for Leave to File AAF Amicus Brief filed by Advancing
                (p.3201) American Freedom with Brief/Memorandum in Support. (Attachments: # 1 (p.74)
                         Exhibit(s) AAF Amicus brief). Party Advancing American Freedom added.Attorney
                         Marc Wheat added to party Advancing American Freedom(pty:am) (Wheat, Marc)
                         (Entered: 02/10/2023)

02/10/2023            67 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                (p.3235) fee $100; Receipt number ATXNDC-13509386) filed by Advancing American
                         Freedom (Attachments: # 1 (p.74) Exhibit(s) Good Standing Virginia cert.) (Wheat,
                         Marc) (Entered: 02/10/2023)

                                                                                                  23-10362.63
             Case: 23-10362       Document: 223         Page: 67      Date Filed: 04/26/2023

02/10/2023            68 Brief/Memorandum in Support filed by Alliance for Hippocratic Medicine,
                (p.3240) American Association of Pro-Life Obstetricians & Gynecologists, American College
                         of Pediatricians, Christian Medical & Dental Associations, George Delgado, MD,
                         Regina Frost-Clark, MD, Shaun Jester, DO, Tyler Johnson, DO re 32 (p.2521) Order
                         Setting Deadline/Hearing, re Consolidating the Preliminary Injunction Hearing with
                         a Trial on the Merits Under Rule 65(a)(2) (Blake, Julie) (Entered: 02/10/2023)

02/10/2023            69 Application for Admission Pro Hac Vice without Certificate of Good Standing
                (p.3253) (Filing fee $100; Receipt number ATXNDC-13509192) filed by Concerned Women
                         for America with Brief/Memorandum in Support. (Attachments: # 1 (p.74) Motion
                         for Leave to File as Amicus Curiae, # 2 (p.967) Amicus Curiae Brief). Party
                         Concerned Women for America added.Attorney Mario Diaz added to party
                         Concerned Women for America(pty:am) (Diaz, Mario) (Entered: 02/10/2023)

02/10/2023            70 MOTION for Leave to File Brief of Food and Drug Law Scholars as Amici Curiae
                (p.3268) in Support of Defendants Opposition to Plaintiff's Motion for Preliminary Injunction
                         filed by Greer Donley, Patricia Zettler, R. Alta Charo, I. Glenn Cohen, Marsha
                         Cohen, Nathan Cortez, Rebecca Eisenberg, Henry Greely, George Horvath, Peter
                         Barton Hutt, Joan Krause, Holly Fernandez Lynch, Elizabeth McCuskey, Jennifer
                         Oliva, Jordan Paradise, Christopher Robertson, Joanna Sax, Allison Whelan, Diana
                         Winters (Attachments: # 1 (p.74) Brief of Food and Drug Law Scholars as Amici
                         Curiae in Support of Defendants Opposition to Plaintiffs Motion for Preliminary
                         Injunction) Attorney Robert John Winson added. (Winson, Robert) Docket text
                         modified on 2/13/2023 (twd). (Entered: 02/10/2023)

02/10/2023            71 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.3307) Attorney Lewis A. Grossman (Filing fee $100; Receipt number
                         ATXNDC-13509907) filed by R. Alta Charo, I. Glenn Cohen, Marsha Cohen,
                         Nathan Cortez, Greer Donley, Rebecca Eisenberg, Henry Greely, George Horvath,
                         Peter Barton Hutt, Joan Krause, Holly Fernandez Lynch, Elizabeth McCuskey,
                         Jennifer Oliva, Jordan Paradise, Christopher Robertson, Joanna Sax, Allison
                         Whelan, Diana Winters, Patricia Zettler (Attachments: # 1 (p.74) Certificate of Good
                         Standing) (Winson, Robert) (Entered: 02/10/2023)

02/10/2023            72 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.3311) Attorney Denise Esposito (Filing fee $100; Receipt number ATXNDC-13509965)
                         filed by R. Alta Charo, I. Glenn Cohen, Marsha Cohen, Nathan Cortez, Greer
                         Donley, Rebecca Eisenberg, Henry Greely, George Horvath, Peter Barton Hutt, Joan
                         Krause, Holly Fernandez Lynch, Elizabeth McCuskey, Jennifer Oliva, Jordan
                         Paradise, Christopher Robertson, Joanna Sax, Allison Whelan, Diana Winters,
                         Patricia Zettler (Attachments: # 1 (p.74) Certificate of Good Standing) (Winson,
                         Robert) (Entered: 02/10/2023)

02/10/2023            73 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.3315) Attorney Robert A. Long (Filing fee $100; Receipt number ATXNDC-13509987)
                         filed by R. Alta Charo, I. Glenn Cohen, Marsha Cohen, Nathan Cortez, Greer
                         Donley, Rebecca Eisenberg, Henry Greely, George Horvath, Peter Barton Hutt, Joan
                         Krause, Holly Fernandez Lynch, Elizabeth McCuskey, Jennifer Oliva, Jordan
                         Paradise, Christopher Robertson, Joanna Sax, Allison Whelan, Diana Winters,
                         Patricia Zettler (Attachments: # 1 (p.74) Certificate of Good Standing) (Winson,
                         Robert) (Entered: 02/10/2023)

02/10/2023            74 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.3319) Attorney Julia F. Post (Filing fee $100; Receipt number ATXNDC-13510002) filed
                         by R. Alta Charo, I. Glenn Cohen, Marsha Cohen, Nathan Cortez, Greer Donley,

                                                                                                   23-10362.64
             Case: 23-10362       Document: 223        Page: 68      Date Filed: 04/26/2023

                          Rebecca Eisenberg, Henry Greely, George Horvath, Peter Barton Hutt, Joan Krause,
                          Holly Fernandez Lynch, Elizabeth McCuskey, Jennifer Oliva, Jordan Paradise,
                          Christopher Robertson, Joanna Sax, Allison Whelan, Diana Winters, Patricia Zettler
                          (Attachments: # 1 (p.74) Certificate of Good Standing) (Winson, Robert) (Entered:
                          02/10/2023)

02/10/2023            75 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.3323) Attorney Beth Braiterman (Filing fee $100; Receipt number ATXNDC-13510021)
                         filed by R. Alta Charo, I. Glenn Cohen, Marsha Cohen, Nathan Cortez, Greer
                         Donley, Rebecca Eisenberg, Henry Greely, George Horvath, Peter Barton Hutt, Joan
                         Krause, Holly Fernandez Lynch, Elizabeth McCuskey, Jennifer Oliva, Jordan
                         Paradise, Christopher Robertson, Joanna Sax, Allison Whelan, Diana Winters,
                         Patricia Zettler (Attachments: # 1 (p.74) Certificate of Good Standing) (Winson,
                         Robert) (Entered: 02/10/2023)

02/10/2023            76 **STRICKEN per 106 (p.3961) ** REPLY filed by Alliance for Hippocratic
                (p.3327) Medicine, American Association of Pro-Life Obstetricians & Gynecologists,
                         American College of Pediatricians, Christian Medical & Dental Associations,
                         George Delgado, MD, Regina Frost-Clark, MD, Shaun Jester, DO, Tyler Johnson,
                         DO re: 6 (p.1027) MOTION for Injunction (Baptist, Erik) Modified on 2/13/2023
                         (nht). (Entered: 02/10/2023)

02/10/2023            77 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.3359) Attorney Emile Katz (Filing fee $100; Receipt number ATXNDC-13510042) filed
                         by R. Alta Charo, I. Glenn Cohen, Marsha Cohen, Nathan Cortez, Greer Donley,
                         Rebecca Eisenberg, Henry Greely, George Horvath, Peter Barton Hutt, Joan Krause,
                         Holly Fernandez Lynch, Elizabeth McCuskey, Jennifer Oliva, Jordan Paradise,
                         Christopher Robertson, Joanna Sax, Allison Whelan, Diana Winters, Patricia Zettler
                         (Attachments: # 1 (p.74) Certificate of Good Standing) (Winson, Robert) (Entered:
                         02/10/2023)

02/10/2023            78 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                (p.3363) fee $100; Receipt number ATXNDC-13509981) filed by American College of
                         Obstetricians and Gynecologists (Attachments: # 1 (p.74) Proposed Order, # 2
                         (p.967) Exhibit(s)). Party American College of Obstetricians and Gynecologists
                         added.Attorney Molly A Meegan added to party American College of Obstetricians
                         and Gynecologists(pty:am) (Meegan, Molly) (Main Document 78 replaced with
                         flattened document on 2/13/2023) (awc). (Attachment 1 replaced with flattened
                         document on 2/13/2023) (awc). (Entered: 02/10/2023)

02/10/2023            79 **STRICKEN per 106 (p.3961) ** Appendix in Support filed by Alliance for
                (p.3368) Hippocratic Medicine, American Association of Pro-Life Obstetricians &
                         Gynecologists, American College of Pediatricians, Christian Medical & Dental
                         Associations, George Delgado, MD, Regina Frost-Clark, MD, Shaun Jester, DO,
                         Tyler Johnson, DO re 76 (p.3327) Reply, in Support of Motion for Preliminary
                         Injunction (Baptist, Erik) Modified on 2/13/2023 (nht). (Entered: 02/10/2023)

02/10/2023            80 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.3437) Attorney Guillaume Julian (Filing fee $100; Receipt number ATXNDC-13510079)
                         filed by R. Alta Charo, I. Glenn Cohen, Marsha Cohen, Nathan Cortez, Greer
                         Donley, Rebecca Eisenberg, Henry Greely, George Horvath, Peter Barton Hutt, Joan
                         Krause, Holly Fernandez Lynch, Elizabeth McCuskey, Jennifer Oliva, Jordan
                         Paradise, Christopher Robertson, Joanna Sax, Allison Whelan, Diana Winters,
                         Patricia Zettler (Attachments: # 1 (p.74) Certificate of Good Standing) (Winson,
                         Robert) (Entered: 02/10/2023)

                                                                                                  23-10362.65
             Case: 23-10362       Document: 223        Page: 69      Date Filed: 04/26/2023

02/10/2023            81 MOTION for Leave to File Amicus Brief filed by Murphy Klasing, Susan B.
                (p.3441) Anthony Pro-Life America, Catholic Health Care Leadership Alliance, The National
                         Catholic Bioethics Center, Catholic Bar Association, Catholic Benefits Association,
                         Christ Medicus Foundation with Brief/Memorandum in Support. (Attachments: # 1
                         (p.74) Proposed Order). Attorney Murphy S Klasing added. (Klasing, Murphy)
                         Docket text modified on 2/13/2023 (twd). (Entered: 02/10/2023)

02/10/2023            82 Amicus Brief filed by Catholic Bar Association, Catholic Benefits Association,
                (p.3448) Catholic Health Care Leadership Alliance, Christ Medicus Foundation, Susan B.
                         Anthony Pro-Life America, The National Catholic Bioethics Center re 6 (p.1027)
                         MOTION for Injunction . (Klasing, Murphy) Docket text modified on 2/13/2023
                         (twd). (Entered: 02/10/2023)

02/10/2023            83 Unopposed MOTION for Leave to File Brief as Amici Curiae in Support of
                (p.3479) Plaintiffs' Motion for a Preliminary Injunction filed by 67 Members of Congress
                         with Brief/Memorandum in Support. Attorney Fernando M Bustos added to party 67
                         Members of Congress(pty:am) (Bustos, Fernando) (Entered: 02/10/2023)

02/10/2023            84 Brief/Memorandum in Support filed by 67 Members of Congress re 83 (p.3479)
                (p.3483) Unopposed MOTION for Leave to File Brief as Amici Curiae in Support of
                         Plaintiffs' Motion for a Preliminary Injunction (Bustos, Fernando) (Entered:
                         02/10/2023)

02/10/2023            85 Appendix in Support filed by 67 Members of Congress re 84 (p.3483)
                (p.3504) Brief/Memorandum in Support of Motion (Bustos, Fernando) (Entered: 02/10/2023)

02/10/2023            86 Application for Admission Pro Hac Vice with Certificate of Good Standing for
                (p.3509) Attorney Carolyn McDonnell (Filing fee $100; Receipt number
                         ATXNDC-13510239) filed by 67 Members of Congress (Bustos, Fernando)
                         (Entered: 02/10/2023)

02/10/2023            87 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                (p.3513) fee $100; Receipt number ATXNDC-13510418) filed by American College of
                         Obstetricians and Gynecologists, American Medical Association, Society of
                         Maternal and Fetal Medicine, American Academy of Family Physicians, American
                         Gynecological & Obstetrical Society, American Society for Reproductive Medicine,
                         Council of University Chairs of Obstetrics & Gynecology, North American Society
                         for Pediatric and Adolescent Gynecology, Nurse Practitioners in Women's Health,
                         Society of Family Planning, Society of Gynecologic Oncology, Society of OB/GYN
                         Hospitalists. Party American College of Obstetricians and Gynecologists added.
                         Attorney Shannon Rose Selden added. (Selden, Shannon) Docket text modified on
                         2/13/2023 (twd). (Entered: 02/10/2023)

02/10/2023            88 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                (p.3519) fee $100; Receipt number ATXNDC-13510608) filed by American Academy of
                         Family Physicians, American College of Obstetricians and Gynecologists, American
                         Gynecological & Obstetrical Society, American Medical Association, American
                         Society for Reproductive Medicine, Council of University Chairs of Obstetrics &
                         Gynecology, North American Society for Pediatric and Adolescent Gynecology,
                         Nurse Practitioners in Women's Health, Society of Family Planning, Society of
                         Gynecologic Oncology, Society of Maternal and Fetal Medicine, Society of
                         OB/GYN Hospitalists Attorney Adam Bresler Aukland-Peck added. (Aukland-Peck,
                         Adam) Docket text modified on 2/13/2023 (twd). (Entered: 02/10/2023)

02/10/2023


                                                                                                  23-10362.66
             Case: 23-10362       Document: 223         Page: 70      Date Filed: 04/26/2023

                      89 Unopposed MOTION for Leave to File Brief of Amici Curiae in Support of
                (p.3524) Plaintiffs' Motion for Preliminary Injunction filed by Texas Business Leaders
                         (Attachments: # 1 (p.74) Exhibit(s) Amicus Brief, # 2 (p.967) Proposed Order
                         Proposed Order). Attorney John Clay Sullivan added. (pty:am) (Sullivan, John)
                         Docket text modified on 2/13/2023 (twd). (Entered: 02/10/2023)

02/10/2023            90 MOTION Proceed without Local Counsel filed by Texas Business Leaders
                (p.3542) (Sullivan, John) (Entered: 02/10/2023)

02/10/2023            91 Unopposed MOTION for Leave to File to File Amici Curiae filed by American
                (p.3545) Academy of Family Physicians, American College of Obstetricians and
                         Gynecologists, American Gynecological & Obstetrical Society, American Medical
                         Association, American Society for Reproductive Medicine, Council of University
                         Chairs of Obstetrics & Gynecology, North American Society for Pediatric and
                         Adolescent Gynecology, Nurse Practitioners in Women's Health, Society of Family
                         Planning, Society of Gynecologic Oncology, Society of Maternal and Fetal
                         Medicine, Society of OB/GYN Hospitalists (Attachments: # 1 (p.74) Exhibit(s)
                         Amicus Brief, # 2 (p.967) Proposed Order Proposed Order) (Sherwood, Matthew)
                         (Entered: 02/10/2023)

02/10/2023            92 Brief/Memorandum in Support filed by Danco Laboratories LLC re 32 (p.2521)
                (p.3588) Order Setting Deadline/Hearing, Notice of Danco's Position on Consolidation Under
                         Rule 65(a)(2) (Ellsworth, Jessica) (Entered: 02/10/2023)

02/10/2023            93 NOTICE of Attorney Appearance by Kate Talmor-DOJ on behalf of Xavier Becerra,
                (p.3597) Robert M. Califf, MD, Patrizia Cavazzoni, MD, U.S. Department of Health and
                         Human Services, US Food and Drug Administration, Janet Woodcock, MD. (Filer
                         confirms contact info in ECF is current.) (Talmor-DOJ, Kate) (Entered: 02/10/2023)

02/10/2023            94 ORDER granting 40 (p.2531) Application for Admission Pro Hac Vice ; granting 41
                (p.3598) (p.2538) Motion to Waive Local Counsel ; granting 42 (p.2544) Motion for Leave to
                         File ; granting 44 (p.2566) Motion to Waive Local Counsel ; granting 45 (p.2570)
                         Motion for Leave to File ; granting 46 (p.2590) Application for Admission Pro Hac
                         Vice ; granting 47 (p.2595) Motion for Leave to File ; granting 48 (p.2600) Motion
                         for Leave to File ; granting 51 (p.2761) Motion for Leave to File ; granting 53
                         (p.2805) Motion for Leave to File ; granting 54 (p.2810) Application for Admission
                         Pro Hac Vice ; granting 55 (p.2816) Motion for Leave to File ; granting 56 (p.2846)
                         Motion for Leave to File ; granting 57 (p.2867) Application for Admission Pro Hac
                         Vice ; granting 58 (p.2877) Motion for Leave to File ; granting 59 (p.2888) Motion
                         for Leave to File ; granting 60 (p.2928) Motion to Waive Local Counsel ; granting
                         61 (p.2931) Application for Admission Pro Hac Vice ; granting 62 (p.2940) Motion
                         to Waive Local Counsel ; granting 63 (p.2944) Motion for Leave to File ; granting
                         64 (p.3055) Motion for Leave to File ; granting 65 (p.3059) Motion for Leave to File
                         ; granting 66 (p.3201) Motion for Leave to File ; granting 67 (p.3235) Application
                         for Admission Pro Hac Vice ; granting 69 (p.3253) Application for Admission Pro
                         Hac Vice ; granting 70 (p.3268) Motion for Leave to File ; granting 71 (p.3307)
                         Application for Admission Pro Hac Vice ; granting 72 (p.3311) Application for
                         Admission Pro Hac Vice ; granting 73 (p.3315) Application for Admission Pro Hac
                         Vice ; granting 74 (p.3319) Application for Admission Pro Hac Vice ; granting 75
                         (p.3323) Application for Admission Pro Hac Vice ; granting 77 (p.3359) Application
                         for Admission Pro Hac Vice ; granting 80 (p.3437) Application for Admission Pro
                         Hac Vice ; granting 81 (p.3441) Motion for Leave to File ; granting 83 (p.3479)
                         Motion for Leave to File ; granting 86 (p.3509) Application for Admission Pro Hac
                         Vice. NOTICE TO ATTORNEYS - IMPORTANT REMINDER: Unless excused


                                                                                                  23-10362.67
             Case: 23-10362       Document: 223         Page: 71       Date Filed: 04/26/2023

                          for cause, an attorney who is not an ECF user must register within 14 days of the
                          date the attorney appears in a case pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered
                          by Judge Matthew J. Kacsmaryk on 2/10/2023) (daa) (Entered: 02/10/2023)

02/10/2023            95 Amicus Brief filed by Family Research Council re 6 (p.1027) MOTION for
                (p.3599) Injunction, 1 (p.74) Complaint. (Smith, Michael) Docket text modified on 2/13/2023
                         (twd). (Entered: 02/10/2023)

02/10/2023            96 Amicus Brief filed by Human Coalition re 6 (p.1027) MOTION for Injunction.
                (p.3706) (Graves, Elissa) Docket text modified on 2/13/2023 (twd). (Entered: 02/10/2023)

02/10/2023            97 MOTION for Leave to File Amicus Brief and Exceed Page Limit filed by Charlotte
                (p.3739) Lozier Institute with Brief/Memorandum in Support. (Attachments: # 1 (p.74) Brief
                         of Proposed Amicus Curiae Charlotte Lozier Institute in Support of Plaintiffs'
                         Motion for Preliminary Injunction, # 2 (p.967) Proposed Order). Party Charlotte
                         Lozier Institute added.Attorney Cristina Martinez Squiers added to party Charlotte
                         Lozier Institute(pty:am) (Squiers, Cristina) (Entered: 02/10/2023)

02/10/2023            98 OBJECTION filed by Xavier Becerra, Robert M. Califf, MD, Patrizia Cavazzoni,
                (p.3801) MD, U.S. Department of Health and Human Services, US Food and Drug
                         Administration, Janet Woodcock, MD re: 32 (p.2521) Order Setting
                         Deadline/Hearing, (Talmor-DOJ, Kate) (Entered: 02/10/2023)

02/13/2023            99 Amicus Brief filed by Doctors for America. (Morten, Christopher) Docket text
                (p.3812) modified on 2/13/2023 (twd). (Entered: 02/13/2023)

02/13/2023           100 Amicus Brief filed by State of Alabama, State of Alaska, State of Arkansas, State of
                (p.3826) Florida, State of Georgia, State of Idaho, State of Indiana, State of Iowa, State of
                         Kansas, State of Kentucky, State of Louisiana, State of Mississippi, State of
                         Montana, State of Nebraska, State of Ohio, State of Oklahoma, State of South
                         Carolina, State of South Dakota, State of Tennessee, State of Texas, State of Utah,
                         State of Wyoming re 6 (p.1027) MOTION for Injunction. (Matheny, Justin) Docket
                         text modified on 2/13/2023 (twd). (Entered: 02/13/2023)

02/13/2023           101 ORDER granting 78 (p.3363) Application for Admission Pro Hac Vice; granting 87
                (p.3852) (p.3513) Application for Admission Pro Hac Vice; granting 88 (p.3519) Application
                         for Admission Pro Hac Vice; granting 89 (p.3524) Motion for Leave to File;
                         granting 90 (p.3542) Motion; granting 91 (p.3545) Motion for Leave to File;
                         granting 97 (p.3739) Motion for Leave to File. NOTICE TO ATTORNEYS -
                         IMPORTANT REMINDER: Unless excused for cause, an attorney who is not an
                         ECF user must register within 14 days of the date the attorney appears in a case
                         pursuant to LR 5.1(f) and LCrR 49.2(g). Amici are hereby ORDERED to promptly
                         file their amicus brief with the Court. (Ordered by Judge Matthew J. Kacsmaryk on
                         2/13/2023) (nht) (Entered: 02/13/2023)

02/13/2023           102 AMICUS BRIEF filed by State of New York re 6 (p.1027) MOTION for
                (p.3853) Preliminary Injunction. (Sherwin, Galen) Modified title and linkage on 2/15/2023
                         (awc). (Entered: 02/13/2023)

02/13/2023           103 AMICUS BRIEF filed by Charlotte Lozier Institute re 6 (p.1027) MOTION for
                (p.3886) Injunction (Amicus Brief) (Squiers, Cristina) Modified title on 2/15/2023 (awc).
                         (Entered: 02/13/2023)

02/13/2023           104 NOTICE of Attorney Appearance by Thomas S Leatherbury on behalf of Doctors
                (p.3943) for America. (Filer confirms contact info in ECF is current.) (Leatherbury, Thomas)
                         (Entered: 02/13/2023)

                                                                                                   23-10362.68
             Case: 23-10362       Document: 223         Page: 72       Date Filed: 04/26/2023

02/13/2023           105 AMICUS CURIAE Brief/Memorandum in Support filed by American Center for
                (p.3944) Law and Justice re 6 (p.1027) MOTION for Injunction Amicus Brief of the ACLJ
                         (White, Edward) Modified title on 2/16/2023 (nht). (Entered: 02/13/2023)

02/13/2023           106 ORDER: The Court hereby ORDERS: On or before February 24, 2023, Plaintiffs
                (p.3961) may file one Reply that consolidates (1) Plaintiffs' reply to the FDA's response (ECF
                         No. 28) and (2) Plaintiffs' reply to Danco's Response (ECF No. 50). The Court
                         therefore STRIKES Plaintiffs' reply (ECF Nos. 76, 79) without prejudice to
                         Plaintiffs re-filing a reply in accordance with this order. (Ordered by Judge Matthew
                         J. Kacsmaryk on 2/13/2023) (nht) (Entered: 02/13/2023)

02/13/2023           107 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                (p.3962) fee $100; Receipt number ATXNDC-13514248) filed by American Academy of
                         Family Physicians, American College of Obstetricians and Gynecologists, American
                         Gynecological & Obstetrical Society, American Medical Association, American
                         Society for Reproductive Medicine, Council of University Chairs of Obstetrics &
                         Gynecology, North American Society for Pediatric and Adolescent Gynecology,
                         Nurse Practitioners in Women's Health, Society of Family Planning, Society of
                         Gynecologic Oncology, Society of Maternal and Fetal Medicine, Society of
                         OB/GYN Hospitalists. Attorney Megan McGuiggan added. (McGuiggan, Megan)
                         Docket text modified on 2/14/2023 (twd). (Entered: 02/13/2023)

02/13/2023           108 AMICUS BRIEF filed by R. Alta Charo, I. Glenn Cohen, Marsha Cohen, Nathan
                (p.3967) Cortez, Greer Donley, Rebecca Eisenberg, Henry Greely, George Horvath, Peter
                         Barton Hutt, Joan Krause, Holly Fernandez Lynch, Elizabeth McCuskey, Jennifer
                         Oliva, Jordan Paradise, Christopher Robertson, Joanna Sax, Allison Whelan, Diana
                         Winters, Patricia Zettler re: 6 (p.1027) MOTION for Preliminary Injunction
                         (Winson, Robert) Modified title and linkage on 2/16/2023 (nht). (Entered:
                         02/13/2023)

02/14/2023           109 AMICUS BRIEF filed by American Academy of Family Physicians, American
                (p.4000) College of Obstetricians and Gynecologists, American Gynecological & Obstetrical
                         Society, American Medical Association, American Society for Reproductive
                         Medicine, Council of University Chairs of Obstetrics & Gynecology, North
                         American Society for Pediatric and Adolescent Gynecology, Nurse Practitioners in
                         Women's Health, Society of Family Planning, Society of Gynecologic Oncology,
                         Society of Maternal and Fetal Medicine, Society of OB/GYN Hospitalists re 6
                         (p.1027) MOTION for Preliminary Injunction. (Sherwood, Matthew) Modified title
                         and linkage on 2/15/2023 (awc). (Entered: 02/14/2023)

02/14/2023           110 AMICUS CURIAE Brief/Memorandum in Support filed by State of Missouri re 6
                (p.4034) (p.1027) MOTION for Injunction (Divine, Joshua) Modified title on 2/14/2023
                         (daa). (Entered: 02/14/2023)

02/16/2023           111 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                (p.4153) fee $100; Receipt number ATXNDC-13523664) filed by Charlotte Lozier Institute
                         (Attachments: # 1 (p.74) Proposed Order)Attorney Gene C Schaerr added to party
                         Charlotte Lozier Institute(pty:am) (Schaerr, Gene) (Entered: 02/16/2023)

02/17/2023           112 MOTION Join the Brief of Amici Curiae, Susan B. Anthony Pro-Life America, et.
                (p.4159) al. re 6 (p.1027) MOTION for Injunction , 82 (p.3448) Brief/Memorandum in
                         Support of Motion, filed by Coalition For Jewish Values Healthcare Council with
                         Brief/Memorandum in Support.. Party Coalition for Jewish Values Healthcare
                         Council added.Attorney Murphy S Klasing added to party Coalition For Jewish
                         Values Healthcare Council(pty:am) (Klasing, Murphy) (Entered: 02/17/2023)

                                                                                                   23-10362.69
             Case: 23-10362       Document: 223         Page: 73      Date Filed: 04/26/2023

02/21/2023           113 Application for Admission Pro Hac Vice with Certificate of Good Standing (Filing
                (p.4162) fee $100; Receipt number ATXNDC-13532651) filed by State of Arizona Attorney
                         Joshua Bendor added to party State of Arizona(pty:am) (Bendor, Joshua) (Entered:
                         02/21/2023)

02/21/2023           114 AMICUS BRIEF in Support filed by Ethics and Public Policy Center re 6 (p.1027)
                (p.4167) MOTION for Injunction Amicus Brief (Fillmore, Charles) Modified title on
                         2/23/2023 (nht). (Entered: 02/21/2023)

02/21/2023           115 MOTION for Leave to File Motion to Waive LR 83.10(A) Local Counsel
                (p.4184) Requirement filed by State of Arizona (Attachments: # 1 (p.74) Proposed Order
                         Granting Admission Pro Hac Vice and Motion to Waive LR 83.10(A) Local Counsel
                         Requirement) (Bendor, Joshua) (Entered: 02/21/2023)

02/21/2023           116 Unopposed MOTION for Leave to File Motion to Join Amicus Brief of Amici States
                (p.4188) New York, et al. In Support of Defendants filed by State of Arizona (Attachments: #
                         1 (p.74) Proposed Order Granting Motion to Join Amicus Brief of Amici States New
                         York, et al. In Support of Defendants) (Bendor, Joshua) (Entered: 02/21/2023)

02/21/2023           117 ORDER: On February 3, 2023, the Court ordered parties to submit separate briefs on
                (p.4192) whether the Court should consolidate the injunction hearing and the trial on the
                         merits under Federal Rule of Civil Procedure 65(a)(2). Having considered the
                         briefing and relevant law, the Court determines that consolidation would not be
                         appropriate in this case. (Ordered by Judge Matthew J. Kacsmaryk on 2/21/2023)
                         (nht) (Entered: 02/21/2023)

02/21/2023           118 ORDER granting 107 (p.3962) Application for Admission Pro Hac Vice of Megan
                (p.4193) McGuiggan. Important Reminder: Unless excused for cause, an attorney who is not
                         an ECF user must register within 14 days of the date the attorney appears in a case
                         pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge Matthew J. Kacsmaryk
                         on 2/21/2023) (nht) (Entered: 02/21/2023)

02/21/2023           119 ORDER granting 111 (p.4153) Application for Admission Pro Hac Vice of Gene C.
                (p.4194) Schaerr. Important Reminder: Unless excused for cause, an attorney who is not an
                         ECF user must register within 14 days of the date the attorney appears in a case
                         pursuant to LR 5.1(f) and LCrR 49.2(g). (Ordered by Judge Matthew J. Kacsmaryk
                         on 2/21/2023) (nht) (Entered: 02/21/2023)

02/24/2023           120 REPLY filed by Alliance for Hippocratic Medicine, American Association of
                (p.4195) Pro-Life Obstetricians & Gynecologists, American College of Pediatricians,
                         Christian Medical & Dental Associations, George Delgado, MD, Regina
                         Frost-Clark, MD, Shaun Jester, DO, Tyler Johnson, DO re: 6 (p.1027) MOTION for
                         Injunction (Baptist, Erik) (Entered: 02/24/2023)

02/24/2023           121 Appendix in Support filed by Alliance for Hippocratic Medicine, American
                (p.4228) Association of Pro-Life Obstetricians & Gynecologists, American College of
                         Pediatricians, Christian Medical & Dental Associations, George Delgado, MD,
                         Regina Frost-Clark, MD, Shaun Jester, DO, Tyler Johnson, DO re 120 (p.4195)
                         Reply, in Support of Motion for Preliminary Injunction (Baptist, Erik) (Entered:
                         02/24/2023)

02/28/2023           122 ORDER granting 112 (p.4159) Motion Join the Brief of Amici Curiae, Susan B.
                (p.4295) Anthony Pro-Life America, et. al. (Ordered by Judge Matthew J. Kacsmaryk on
                         2/28/2023) (awc) (Entered: 02/28/2023)

02/28/2023

                                                                                                   23-10362.70
             Case: 23-10362        Document: 223          Page: 74       Date Filed: 04/26/2023

                     123 ORDER granting 113 (p.4162) Application for Admission Pro Hac Vice of Joshua
                (p.4296) D. Bendor. Important Reminder: Unless excused for cause, an attorney who is not an
                         ECF user must register within 14 days of the date the attorney appears in a case
                         pursuant to LR 5.1(f) and LCrR 49.2(g).; granting 116 (p.4188) Motion for Leave to
                         File. (Ordered by Judge Matthew J. Kacsmaryk on 2/28/2023) (nht) (Entered:
                         03/01/2023)

03/10/2023           125 NOTICE of Attorney Appearance by Julie Straus Harris on behalf of Xavier
                (p.4297) Becerra, Robert M. Califf, MD, Patrizia Cavazzoni, MD, U.S. Department of Health
                         and Human Services, US Food and Drug Administration, Janet Woodcock, MD.
                         (Filer confirms contact info in ECF is current.) (Straus Harris, Julie) (Entered:
                         03/10/2023)

03/10/2023          128    ELECTRONIC Minute Entry for proceedings held before Judge Matthew J.
                           Kacsmaryk: Telephone Conference held on 3/10/2023. Written Order to follow.
                           Attorney Appearances: Plaintiff - Erik Baptist/Erin Hawley; Defense - Noah
                           Katzen/Julie Straus Harris/Kate Talmor Intervenor - Jessica Ellsworth/Catherine
                           Stetson/Ryan Patrick Brown/Kaitlyn Golden. (Court Reporter: Todd Anderson) (No
                           exhibits) Time in Court - :31. (vls) (Entered: 03/13/2023)

03/13/2023           126 NOTICE of Attorney Appearance by Peter Blackmer Steffensen on behalf of News
                (p.4298) Media Coalition. (Filer confirms contact info in ECF is current.). Party News Media
                         Coalition added. (Steffensen, Peter) (Entered: 03/13/2023)

03/13/2023           127 NOTICE of Objection filed by News Media Coalition (Steffensen, Peter) (Entered:
                (p.4299) 03/13/2023)

03/13/2023           129 ORDER: Motion Hearing set for 3/15/2023 09:00 AM in US Courthouse,
                (p.4301) Courtroom 1st Floor, 205 S. E. 5th Ave., Amarillo, TX 79101-1559 before Judge
                         Matthew J. Kacsmaryk. (Ordered by Judge Matthew J. Kacsmaryk on 3/13/2023)
                         (nht) (Entered: 03/13/2023)

03/13/2023           130 NOTICE of Attorney Appearance by Daniel Schwei on behalf of Xavier Becerra,
                (p.4303) Robert M. Califf, MD, Patrizia Cavazzoni, MD, U.S. Department of Health and
                         Human Services, US Food and Drug Administration, Janet Woodcock, MD. (Filer
                         confirms contact info in ECF is current.) (Schwei, Daniel) (Entered: 03/13/2023)

03/13/2023           131 NOTICE of Attorney Appearance by Christopher A. Eiswerth on behalf of Xavier
                (p.4304) Becerra, Robert M. Califf, MD, Patrizia Cavazzoni, MD, U.S. Department of Health
                         and Human Services, US Food and Drug Administration, Janet Woodcock, MD.
                         (Filer confirms contact info in ECF is current.) (Eiswerth, Christopher) (Entered:
                         03/13/2023)

03/13/2023           132 NOTICE of Attorney Appearance by Emily Brooke Nestler on behalf of Xavier
                (p.4306) Becerra, Robert M. Califf, MD, Patrizia Cavazzoni, MD, U.S. Department of Health
                         and Human Services, US Food and Drug Administration, Janet Woodcock, MD.
                         (Filer confirms contact info in ECF is current.) (Nestler, Emily) (Entered:
                         03/13/2023)

03/14/2023           133 Notice of Filing of Official Electronic Transcript of Status Conference Proceedings
                (p.4423) held on 3-10-23 before Judge Kacsmaryk. Court Reporter/Transcriber Todd
                         Anderson, Telephone number 214-753-2170. Parties are notified of their duty to
                         review the transcript. A copy may be purchased from the court reporter or viewed at
                         the clerk's office. If the transcript contains personal identifiers that must be redacted
                         under MO 61, Fed.R.Civ.P. 5.2 or Fed.R.Crim.P. 49.1, or if the transcript contains
                         the name of a minor child victim or a minor child witness that must be redacted

                                                                                                       23-10362.71
             Case: 23-10362        Document: 223          Page: 75       Date Filed: 04/26/2023

                           under 18 U.S.C. § 3509, file a Redaction Request - Transcript within 21 days. If no
                           action is taken, the entire transcript will be made available through PACER without
                           redaction after 90 calendar days. The clerk will mail a copy of this notice to parties
                           not electronically noticed. (21 pages) Redaction Request due 4/4/2023. Redacted
                           Transcript Deadline set for 4/14/2023. Release of Transcript Restriction set for
                           6/12/2023. (jta) (Entered: 03/14/2023)

03/14/2023          134    NOTICE OF AUDIO STREAM AVAILABILITY: The audio broadcast for the
                           hearing on Plaintiffs' Motion for Preliminary Injunction set for Wednesday, March
                           15, 2023 at 9:00 AM will be live-streamed in the Dallas Division of the Northern
                           District of Texas, located at 1100 Commerce Street, Courtroom 1351, Dallas, TX
                           75242. No electronic devices will be permitted in the courtroom. No recording
                           devices will be permitted in the courtroom. It is impermissible under Judicial
                           Conference Policy and local rules of the court (see LCR 83.18 and Miscellaneous
                           Order No. 63) to record or rebroadcast court proceedings. Violators will be subject
                           to sanctions. (ctf) (Entered: 03/14/2023)

03/15/2023          135    ELECTRONIC Minute Entry for proceedings held before Judge Matthew J.
                           Kacsmaryk: Motion Hearing held on 3/15/2023 re 6 (p.1027) Motion for Injunction.
                           Written Order to follow. Attorney Appearances: Plaintiff - Erik Baptist/Erin Hawley;
                           Defense - Julie Straus Harris/Daniel Schwei Intervenor - Jessica Ellsworth. (Court
                           Reporter: Mechelle Daniel) (No exhibits) Time in Court - 4:15. (vls) (Entered:
                           03/15/2023)

03/17/2023           136 Notice of Filing of Official Electronic Transcript of Hearing on Motion for
                (p.4445) Preliminary Injunction held on 03/15/2023 before Judge Matthew J. Kacsmaryk.
                         Court Reporter/Transcriber Mechelle Daniel, Telephone number 806.744.7667.
                         Parties are notified of their duty to review the transcript. A copy may be purchased
                         from the court reporter or viewed at the clerk's office. If the transcript contains
                         personal identifiers that must be redacted under MO 61, Fed.R.Civ.P. 5.2 or
                         Fed.R.Crim.P. 49.1, or if the transcript contains the name of a minor child victim or
                         a minor child witness that must be redacted under 18 U.S.C. § 3509, file a Redaction
                         Request - Transcript within 21 days. If no action is taken, the entire transcript will be
                         made available through PACER without redaction after 90 calendar days. The clerk
                         will mail a copy of this notice to parties not electronically noticed. (155 pages)
                         Redaction Request due 4/7/2023. Redacted Transcript Deadline set for 4/17/2023.
                         Release of Transcript Restriction set for 6/15/2023. (kmd) (Entered: 03/17/2023)

04/07/2023           137 Memorandum Opinion and Order (Ordered by Judge Matthew J. Kacsmaryk on
                (p.4307) 4/7/2023) (vls) (Entered: 04/07/2023)

04/07/2023           138 NOTICE OF INTERLOCUTORY APPEAL as to 137 (p.4307) Memorandum
                (p.4374) Opinion and Order to the Fifth Circuit by Xavier Becerra, Robert M. Califf, MD,
                         Patrizia Cavazzoni, MD, U.S. Department of Health and Human Services, US Food
                         and Drug Administration, Janet Woodcock, MD. T.O. form to appellant
                         electronically at Transcript Order Form or US Mail as appropriate. Copy of NOA to
                         be sent US Mail to parties not electronically noticed. IMPORTANT ACTION
                         REQUIRED: Provide an electronic copy of any exhibit you offered during a hearing
                         or trial that was admitted into evidence to the clerk of the district court within 14
                         days of the date of this notice. Copies must be transmitted as PDF attachments
                         through ECF by all ECF Users or delivered to the clerk on a CD by all non-ECF
                         Users. See detailed instructions here. (Exception: This requirement does not apply to
                         a pro se prisoner litigant.) Please note that if original exhibits are in your possession,
                         you must maintain them through final disposition of the case. (Schwei, Daniel)


                                                                                                        23-10362.72
             Case: 23-10362        Document: 223         Page: 76       Date Filed: 04/26/2023

                           (Entered: 04/07/2023)

04/07/2023           139 NOTICE OF INTERLOCUTORY APPEAL as to 137 (p.4307) Memorandum
                (p.4376) Opinion and Order to the Fifth Circuit by Danco Laboratories LLC. Filing fee $505,
                         receipt number ATXNDC-13649338. T.O. form to appellant electronically at
                         Transcript Order Form or US Mail as appropriate. Copy of NOA to be sent US Mail
                         to parties not electronically noticed. IMPORTANT ACTION REQUIRED: Provide
                         an electronic copy of any exhibit you offered during a hearing or trial that was
                         admitted into evidence to the clerk of the district court within 14 days of the date of
                         this notice. Copies must be transmitted as PDF attachments through ECF by all ECF
                         Users or delivered to the clerk on a CD by all non-ECF Users. See detailed
                         instructions here. (Exception: This requirement does not apply to a pro se prisoner
                         litigant.) Please note that if original exhibits are in your possession, you must
                         maintain them through final disposition of the case. (Ellsworth, Jessica) (Entered:
                         04/07/2023)

04/10/2023          140    USCA Case Number 23-10362 in USCA5 for 138 (p.4374) Notice of Appeal, filed
                           by Robert M. Califf, M.D., Xavier Becerra, Patrizia Cavazzoni, M.D., Janet
                           Woodcock, M.D., U.S. Department of Health and Human Services, US Food and
                           Drug Administration, 139 (p.4376) Notice of Appeal, filed by Danco Laboratories
                           LLC. (nht) (Entered: 04/10/2023)

04/12/2023           141 UNPUBLISHED ORDER of USCA5 as to 138 (p.4374) Notice of Appeal, filed by
                (p.4378) Robert M. Califf, M.D., Xavier Becerra, Patrizia Cavazzoni, M.D., Janet Woodcock,
                         M.D., U.S. Department of Health and Human Services, US Food and Drug
                         Administration, 139 (p.4376) Notice of Appeal, filed by Danco Laboratories LLC.
                         (Attachments: # 1 (p.74) USCA5 Letter) (nht) (Entered: 04/13/2023)




                                                                                                     23-10362.73
Case: 23-10362   Document: 223   Page: 77   Date Filed: 04/26/2023




                          TAB 2
      Notice of Appeal (Federal Appellants)
      Case: 23-10362    Document: 223 Page: 78 Date Filed: 04/26/2023
  Case 2:22-cv-00223-Z Document 138 Filed 04/07/23 Page 1 of 2 PageID 4490



                         UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                               AMARILLO DIVISION


 Alliance for Hippocratic Medicine, et al.,

                               Plaintiffs,

        v.                                                 Case No. 2:22-cv-00223-Z

 U.S. Food and Drug Administration, et al.,

                               Defendants.


                                   Defendants’ Notice of Appeal

       PLEASE TAKE NOTICE that Defendants hereby appeal to the United States Court of

Appeals for the Fifth Circuit from this Court’s Memorandum Opinion and Order, entered at ECF

No. 137 and dated April 7, 2023.



April 7, 2023                                     Respectfully submitted,

 OF COUNSEL:                                      BRIAN M. BOYNTON
                                                  Principal Deputy Assistant Attorney General
 SAMUEL R. BAGENSTOS
 General Counsel                                  ERIC B. BECKENHAUER
                                                  Assistant Director
 MARK RAZA
 Associate General Counsel                         /s/ Daniel Schwei
 U.S. Department of Health                        DANIEL SCHWEI
  and Human Services                              Special Counsel
 Chief Counsel                                    JULIE STRAUS HARRIS
 Food and Drug Administration                     Senior Trial Counsel
                                                  CHRISTOPHER A. EISWERTH
                                                  EMILY NESTLER
                                                  KATE TALMOR
                                                  Trial Attorneys
                                                  Federal Programs Branch
                                                  Civil Division
                                                  U.S. Department of Justice
                                                  1100 L St., NW



                                                                                      23-10362.4374
    Case: 23-10362    Document: 223 Page: 79 Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 138 Filed 04/07/23 Page 2 of 2 PageID 4491



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                                    HILARY K. PERKINS
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                                    NOAH T. KATZEN
                                    Trial Attorney
                                    Consumer Protection Branch




                                                                        23-10362.4375
 Case: 23-10362   Document: 223   Page: 80   Date Filed: 04/26/2023




                           TAB 3
Notice of Appeal (Intervenor Danco Laboratories)
      Case: 23-10362    Document: 223 Page: 81 Date Filed: 04/26/2023
  Case 2:22-cv-00223-Z Document 139 Filed 04/07/23 Page 1 of 2 PageID 4492



                          UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION

ALLIANCE FOR HIPPOCRATIC MEDICINE,                 §
et al.,                                            §
                                                   §
              Plaintiffs,                          §
                                                   §
              v.                                   §      Case No. 2:22-cv-00223-Z
                                                   §
U.S. FOOD AND DRUG ADMINISTRATION,                 §
et al.,                                            §
                                                   §
              Defendants,                          §
                                                   §
DANCO LABORATORIES, LLC,                           §
                                                   §
              Intervenor-Defendant.                §
                                                   §

                DANCO LABORATORIES, LLC’S NOTICE OF APPEAL

       Notice is given that Intervenor-Defendant Danco Laboratories, LLC hereby appeals to the

United States Court of Appeals for the Fifth Circuit from this Court’s Memorandum Opinion and

Order, entered into on April 7, 2023 at ECF No. 137.

Dated: April 7, 2023                               Respectfully submitted,

                                                   /s/ Jessica L. Ellsworth

                                                   Ryan Brown
                                                   RYAN BROWN ATTORNEY AT LAW
                                                   Texas Bar No. 24073967
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                                                   Jessica L. Ellsworth*
                                                   Catherine E. Stetson*
                                                   Philip Katz*
                                                   Lynn W. Mehler*
                                                   Kaitlyn A. Golden*

                                               1

                                                                                     23-10362.4376
      Case: 23-10362    Document: 223 Page: 82 Date Filed: 04/26/2023
  Case 2:22-cv-00223-Z Document 139 Filed 04/07/23 Page 2 of 2 PageID 4493



                                                     Marlan Golden*
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                                                     Washington, D.C. 20004
                                                     Tel: (202) 637-5600
                                                     jessica.ellsworth@hoganlovells.com

                                                     *admitted pro hac vice

                                                     Counsel for Danco Laboratories, LLC




                                   CERTIFICATE OF SERVICE

       I certify that on April 7, 2023, I electronically filed the foregoing Notice of Appeal using

the CM/ECF system. Notice of this filing will be sent by operation of the Court’s electronic filing

system to all parties of record.

                                                     /s/ Jessica L. Ellsworth




                                                2

                                                                                        23-10362.4377
Case: 23-10362   Document: 223   Page: 83   Date Filed: 04/26/2023




                          TAB 4
         District Court Order and Opinion
      Case: 23-10362   Document: 223 Page: 84 Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 1 of 67 PageID 4423



                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                   AMARILLO DIVISION

 ALLIANCE FOR HIPPOCRATIC
 MEDICINE, et al.,

            Plaintiffs,

 v.                                                          2:22-CV-223-Z

 U.S. FOOD AND DRUG
 ADMINISTRATION, et al.,

            Defendants.

                          MEMORANDUM OPINION AND ORDER

       Before the Court is Plaintiffs’ Motion for Preliminary Injunction (“Motion”) (ECF No. 6), filed

on November 18, 2022. The Court GRANTS the Motion IN PART.

       BACKGROUND

       Over twenty years ago, the United States Food and Drug Administration (“FDA”) approved

chemical abortion (“2000 Approval”). The legality of the 2000 Approval is now before this Court.

Why did it take two decades for judicial review in federal court? After all, Plaintiffs’ petitions

challenging the 2000 Approval date back to the year 2002, right?

       Simply put, FDA stonewalled judicial review — until now. Before Plaintiffs filed this case,

FDA ignored their petitions for over sixteen years, even though the law requires an agency response

within “180 days of receipt of the petition.” 21 C.F.R. § 10.30(e)(2)). But FDA waited 4,971 days

to adjudicate Plaintiffs’ first petition and 994 days to adjudicate the second. See ECF Nos. 1-14,

1-28, 1-36, 1-44 (“2002 Petition,” “2019 Petition,” respectively). Had FDA responded to

Plaintiffs’ petitions within the 360 total days allotted, this case would have been in federal court

decades earlier. Instead, FDA postponed and procrastinated for nearly 6,000 days.




                                                                                           23-10362.4307
         Case: 23-10362   Document: 223 Page: 85 Date Filed: 04/26/2023
    Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 2 of 67 PageID 4424



        Plaintiffs are doctors and national medical associations that provide healthcare for pregnant and

post-abortive women and girls. Plaintiffs sued Defendants to challenge multiple administrative actions

culminating in the 2000 Approval of the chemical abortion regimen for mifepristone. ECF No. 1 at 2.

Mifepristone — also known as RU-486 or Mifeprex — is a synthetic steroid that blocks the hormone

progesterone, halts nutrition, and ultimately starves the unborn human until death. ECF No. 7 at 7–8.1

Because mifepristone alone will not always complete the abortion, FDA mandates a two-step drug

regimen: mifepristone to kill the unborn human, followed by misoprostol to induce cramping and

contractions to expel the unborn human from the mother’s womb. Id. at 8.

        In 1996, the Population Council2 filed a new drug application (“NDA”) with FDA for

mifepristone. ECF No. 1 at 35. Shortly thereafter, FDA reset the NDA from “standard” to “priority

review.” Id. In February 2000, FDA wrote a letter to the Population Council stating that “adequate

information ha[d] not been presented to demonstrate that the drug, when marketed in accordance

with the terms of distribution proposed, is safe and effective for use as recommended.” ECF No.

1-24 at 6 (emphasis added). FDA also noted the “restrictions on distribution will need to be

amended.” Id.




1
  Jurists often use the word “fetus” to inaccurately identify unborn humans in unscientific ways. The word “fetus”
refers to a specific gestational stage of development, as opposed to the zygote, blastocyst, or embryo stages.
See ROBERT P. GEORGE & CHRISTOPHER TOLLEFSEN, EMBRYO 27–56 (2008) (explaining the gestational stages of an
unborn human). Because other jurists use the terms “unborn human” or “unborn child” interchangeably, and because
both terms are inclusive of the multiple gestational stages relevant to the FDA Approval, 2016 Changes, and 2021
Changes, this Court uses “unborn human” or “unborn child” terminology throughout this Order, as appropriate.
2
  The Population Council was founded by John D. Rockefeller in 1952 after he convened a conference with
“population activists” such as Planned Parenthood’s director and several well-known eugenicists.
MATTHEW CONNELLY, FATAL MISCONCEPTION: THE STRUGGLE TO CONTROL WORLD POPULATION 156 (2008).
The conference attendees discussed “the problem of ‘quality.’” John D. Rockefeller, On the Origins of the
Population Council, 3 POPULATION AND DEV. REV. 493, 496 (1977). They concluded that “[m]odern civilization had
reduced the operation of natural selection by saving more ‘weak’ lives and enabling them to reproduce,” thereby
resulting in “a downward trend in . . . genetic quality.” Id.


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                                                                                                      23-10362.4308
         Case: 23-10362   Document: 223 Page: 86 Date Filed: 04/26/2023
    Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 3 of 67 PageID 4425



        Mere months later, FDA approved the chemical abortion regimen under Subpart H, commonly

known as “accelerated approval” and originally designed to expedite investigational HIV medications

during the AIDS epidemic.3 Subpart H accelerates approval of drugs “that have been studied for their

safety and effectiveness in treating serious or life-threatening illnesses and that provide meaningful

therapeutic benefit to patients over existing treatments (e.g., ability to treat patients unresponsive to, or

intolerant of, available therapy, or improved patient response over available therapy).” 21 C.F.R.

§ 314.500.

        FDA then imposed post-approval restrictions “to assure safe use.” See 21 C.F.R. § 314.520.

These restrictions were later adopted when Subpart H was codified as a Risk Evaluation and Mitigation

Strategy (“REMS”) “to ensure that the benefits of the drug outweigh the risks.” 21 U.S.C. § 355-1(a)(1)–

(2). The drugs were limited to women and girls with unborn children aged seven-weeks gestation

or younger. ECF No. 7 at 9. FDA also required three (3) in-person office visits: the first to

administer mifepristone, the second to administer misoprostol, and the third to assess any

complications and ensure there were no fetal remains in the womb. Id. Additionally, abortionists

were required to be properly trained to administer the regimen and to report all adverse events

from the drugs. Id.

        Plaintiffs American Association of Pro-Life Obstetricians & Gynecologists (“AAPLOG”)

and Christian Medical & Dental Associations filed the 2002 Petition with FDA challenging the

2000 Approval. Id. In 2006, the U.S. House Subcommittee on Criminal Justice, Drug Policy, and

Human Resources expressed the same concerns and held a hearing to investigate FDA’s handling




3
  See, e.g., Jessica Holden Kloda & Shahza Somerville, FDA’s Expedited Review Process: The Need for Speed, 35
APPLIED CLINICAL TRIALS 17, 17–18 (2015) (“In 1992, in response to a push by AIDS advocates to make the
investigational anti-AIDS drug azidothymidine (AZT) accessible, the FDA enacted ‘Subpart H’ commonly referred
to as accelerated approval; giving rise to expedited review of drugs by the FDA.”).


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                                                                                                  23-10362.4309
         Case: 23-10362   Document: 223 Page: 87 Date Filed: 04/26/2023
    Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 4 of 67 PageID 4426



of mifepristone and its subsequent monitoring of the drug. 4 Then-Chairman Souder remarked that

mifepristone was “associated with the deaths of at least 8 women, 9 life-threatening incidents, 232

hospitalizations, 116 blood transfusions, and 88 cases of infection.” 5 Additionally, Chairman

Souder noted “more than 950 adverse event cases” associated with mifepristone “out of only

575,000 prescriptions, at most.” 6 The subsequent Staff Report concluded that FDA’s approval and

monitoring of mifepristone was “substandard and necessitates the withdrawal of this dangerous

and fatal product before more women suffer the known and anticipated consequences or

fatalities.” 7 The report stated the “unusual approval” demonstrated a lower standard of care for

women, “and [mifepristone’s] withdrawal from the market is justified and necessary to protect the

public’s health.” 8

           FDA rejected the 2002 Petition on March 29, 2016 — nearly fourteen years after it was

filed. ECF No. 7 at 9. That same day, FDA approved several changes to the chemical abortion

drug regimen, including the removal of post-approval safety restrictions for pregnant women and

girls. Id. at 10. FDA increased the maximum gestational age from seven-weeks gestation to

ten-weeks gestation. Id. And FDA also: (1) changed the dosage for chemical abortion; (2) reduced

the number of required in-person office visits from three to one; (3) allowed non-doctors to

prescribe and administer chemical abortions; and (4) eliminated the requirement for prescribers to

report non-fatal adverse events from chemical abortion. Id.


4
 See The FDA and RU-486: Lowering the Standard for Women’s Health: Hearing Before the Subcomm. on Crim.
Just., Drug Pol’y, & Hum. Res. of the H. Comm. on Gov’t Reform, 109th Cong. 3 (2006) (“Subcommittee Report”).

5
 The transcript of the hearing before the House Subcommittee is available at https://www.govinfo.gov/content/pkg/
CHRG-109hhrg31397/html/CHRG-109hhrg31397.htm.
6
    Id.
7
    Subcommittee Report at 40.
8
    Id.


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                                                                                                      23-10362.4310
      Case: 23-10362   Document: 223 Page: 88 Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 5 of 67 PageID 4427



       In March 2019, Plaintiffs AAPLOG and American College of Pediatricians filed the 2019

Petition challenging FDA’s 2016 removal of safety restrictions. Id. On April 11, 2019, FDA

approved GenBioPro, Inc.’s abbreviated new drug application (“ANDA”) for a generic version of

mifepristone without requiring or reviewing new peer-reviewed science (“2019 Generic

Approval”). Id. Two years later, on April 12, 2021, FDA announced it would “exercise

enforcement discretion” to allow “dispensing of mifepristone through the mail . . . or through a

mail-order pharmacy” during the COVID pandemic — notwithstanding the nearly 150-year-old

Comstock Act banning the mailing of “[e]very article, instrument, substance, drug, medicine or

thing” that produces “abortion.” Id. Finally, on December 16, 2021, FDA denied most of Plaintiff’s

2019 Petition. Id. at 11. Specifically, FDA expressly rejected the 2019 Petition’s request to keep

the in-person dispensing requirements and announced that the agency would permanently allow

chemical abortion by mail. Id.

       After Plaintiffs filed suit, Danco Laboratories, LLC (“Danco”) — the holder of the NDA for

mifepristone — moved to intervene as a defendant. ECF No. 19. On February 6, 2023, this Court

granted Danco’s motion. ECF No. 33. Plaintiffs now seek a preliminary injunction ordering

Defendants to withdraw or suspend: (1) FDA’s 2000 Approval and 2019 Approval of mifepristone

tablets, 200 mg, thereby removing both from the list of Approved Drugs; (2) FDA’s 2016 Changes

and 2019 Generic Approval; and (3) FDA’s April 12, 2021, Letter and December 16, 2021,

Response to the 2019 Petition concerning the in-person dispensing requirement for mifepristone.

ECF No. 7 at 12. Additionally, Plaintiffs seek to enjoin Defendants from taking actions

inconsistent with these orders. Id.




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                                                                                       23-10362.4311
      Case: 23-10362   Document: 223 Page: 89 Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 6 of 67 PageID 4428



        LEGAL STANDARD

        A court may issue a preliminary injunction when a movant satisfies the following four

factors: (1) a substantial likelihood of success on the merits; (2) a substantial threat of irreparable

harm if the injunction does not issue; (3) the threatened injury outweighs any harm that will result

if the injunction is granted; and (4) the grant of an injunction is in the public interest. See Louisiana

v. Becerra, 20 F.4th 260, 262 (5th Cir. 2021). “The purpose of a preliminary injunction is always

to prevent irreparable injury so as to preserve the court’s ability to render a meaningful decision

on the merits.” Canal Auth. of State of Fla. v. Callaway, 489 F.2d 567, 576 (5th Cir. 1974).

The same standards apply “to prevent irreparable injury” under the Administrative Procedure Act

(“APA”). See 5 U.S.C. § 705; Wages & White Lion Invs., L.L.C. v. U.S. Food & Drug Admin., 16

F.4th 1130, 1143 (5th Cir. 2021).

        ANALYSIS

        A. Plaintiffs Have Standing

        The judicial power of federal courts is limited to certain “Cases” and “Controversies.”

U.S. CONST. art. III, § 2. The case-or-controversy requirement requires a plaintiff to establish he

has standing to sue. See Cibolo Waste, Inc. v. City of San Antonio, 718 F.3d 469, 473 (5th Cir.

2013). To have standing, the party invoking federal jurisdiction must show: “(i) that he suffered

an injury in fact that is concrete, particularized, and actual or imminent; (ii) that the injury was

likely caused by the defendant; and (iii) that the injury would likely be redressed by judicial relief.”

TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021). Courts should assess whether the

alleged injury to the plaintiff has a “close relationship” to harm “traditionally” recognized as

providing a basis for a lawsuit in American courts. Id. at 2204. “[S]tanding is not dispensed in




                                                   6
                                                                                              23-10362.4312
         Case: 23-10362   Document: 223 Page: 90 Date Filed: 04/26/2023
    Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 7 of 67 PageID 4429



gross; rather, plaintiffs must demonstrate standing for each claim that they press and for each form

of relief that they seek (for example, injunctive relief and damages).” Id. at 2208.

         1. Plaintiff Medical Associations have Associational Standing

         “An association or organization can establish an injury-in-fact through either of two

theories, appropriately called ‘associational standing’ and ‘organizational standing.’” OCA-

Greater Hous. v. Texas, 867 F.3d 604, 610 (5th Cir. 2017). Under a theory of “associational

standing,” an association “has standing to bring a suit on behalf of its members when its members

would otherwise have standing to sue in their own right, the interests at stake are germane to the

organization’s purpose, and neither the claim asserted nor the relief requested requires the

participation of individual members in the lawsuit.” Tex. Ass’n of Mfrs. v. U.S. Consumer Prod.

Safety Comm’n, 989 F.3d 368, 377 (5th Cir. 2021) (quoting Friends of the Earth, Inc. v. Laidlaw

Env’t Servs. (TOC), Inc., 528 U.S. 167, 181 (2000)).

         Here, the associations’ members have standing because they allege adverse events from

chemical abortion drugs can overwhelm the medical system and place “enormous pressure and

stress” on doctors during emergencies and complications. 9 ECF No. 7 at 14. These emergencies

“consume crucial limited resources, including blood for transfusions, physician time and attention,

space in hospital and medical centers, and other equipment and medicines.” ECF No. 1-5 at 9. This

is especially true in maternity-care “deserts” — geographical areas with limited physician

availability. Id. These emergencies force doctors into situations “in which they feel complicit in

the elective chemical abortion by needing to remove a baby with a beating heart or pregnancy




9
  See James Studnicki et al., A Longitudinal Cohort Study of Emergency Room Utilization Following Mifepristone
Chemical and Surgical Abortions, 1999-2015, 8 HEALTH SERV. RSCH. MGMT. EPIDEMIOLOGY 8 (2021) (“ER visits
following mifepristone abortion grew from 3.6% of all postabortion visits in 2002 to 33.9% of all postabortion visits
in 2015. The trend toward increasing use of mifepristone abortion requires all concerned with health care utilization
to carefully follow the ramifications of ER utilization.”).


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                                                                                                         23-10362.4313
      Case: 23-10362   Document: 223 Page: 91 Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 8 of 67 PageID 4430



tissue as the only means to save the life of the woman or girl.” ECF No. 1 at 85. Members of

Plaintiff medical associations “oppose being forced to end the life of a human being in the womb

for no medical reason, including by having to complete an incomplete elective chemical abortion.”

Id. at 86; see also Texas v. Becerra, No. 5:22-CV-185-H, 2022 WL 3639525, at *12 (N.D. Tex.

Aug. 23, 2022) (unwanted participation in elective abortions is cognizable under Article III).

       Plaintiffs also argue the challenged actions “prevent Plaintiff doctors from practicing

evidence-based medicine” and have caused Plaintiffs to face increased exposure to allegations of

malpractice and potential liability, along with higher insurance costs. ECF No. 7 at 15. The lack

of information on adverse events “harms the doctor-patient relationship” because women and girls

are prevented from giving informed consent to providers. Id.; see also American Medical

Association Code of Medical Ethics, Opinion 2.1.1: Informed Consent (informed consent is

“fundamental in both ethics and law”). To obtain informed consent, physicians must “[a]ssess the

patient’s ability to understand relevant medical information” and present to their patient “relevant

information accurately and sensitively,” including the burdens and risks of the procedure. Id.

       Women also perceive the harm to the informed-consent aspect of the physician-patient

relationship. In one study, fourteen percent of women and girls reported having received

insufficient information about (1) side effects, (2) the intensity of the cramping and bleeding,

(3) the next steps after expelling the aborted human, and (4) potential negative emotional reactions

like fear, uncertainty, sadness, regret, and pain. See Katherine A. Rafferty & Tessa Longbons,

#AbortionChangesYou: A Case Study to Understand the Communicative Tensions in Women’s

Medication      Abortion     Narratives,     36       HEALTH     COMMC’N.       1485,      1485–94

(2021). Plaintiff physicians’ lack of pertinent information on chemical abortion harms their

physician-patient relationships because they cannot receive informed consent from the women and




                                                  8
                                                                                         23-10362.4314
          Case: 23-10362   Document: 223 Page: 92 Date Filed: 04/26/2023
     Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 9 of 67 PageID 4431



girls they treat in their clinics. Plaintiffs allege these actions have “radically altered the standard

of care.” ECF No. 1-6 at 7.

         Additionally, Plaintiff medical associations have associational standing via their members’

third-party standing to sue on behalf of their patients. See N.Y. State Club Ass’n, Inc. v. City of

New York, 487 U.S. 1, 9 (1988) (“It does not matter what specific analysis is necessary to determine

that the members could bring the same suit.”); Pa. Psychiatric Soc. v. Green Spring Health Servs.,

Inc., 280 F.3d 278, 293 (3d Cir. 2002) (“So long as the association’s members have or will suffer

sufficient injury to merit standing and their members possess standing to represent the interests of

third-parties, then associations can advance the third-party claims of their members without

suffering injuries themselves.”); Ohio Ass’n of Indep. Schs. v. Goff, 92 F.3d 419, 422 (6th Cir.

1996) (associational standing via member schools’ third-party standing to assert constitutional

rights of parents to direct their children’s education); 13A Charles Alan Wright & Arthur R. Miller,

Federal Practice and Procedure § 3531.9.3 (3d ed. 2022) (“Doctors regularly achieve standing to

protect the rights of patients and their own related professional rights.”).

         The requirements for third-party standing are met here because: (1) the patients have

“endure[d] many intense side effects and suffer[ed] significant complications requiring medical

attention” and “suffer distress and regret”; 10 (2) the patients have a “close relation” to the physician

members of the Plaintiff medical associations; and (3) “some hindrance” exists to the patients’

ability to protect their interests. See ECF No. 7 at 13; Powers v. Ohio, 499 U.S. 400, 410–11

(1991); Singleton v. Wulff, 428 U.S. 106, 117 (1976) (women seeking abortions may be chilled

“by a desire to protect the very privacy of [their] decision from the publicity of a court suit”);



10
  Cf. TransUnion, 141 S. Ct. at 2211 (“Nor did those plaintiffs present evidence that . . . they suffered some other
injury (such as an emotional injury)”); Denney v. Deutsche Bank AG, 443 F.3d 253, 265 (2d Cir. 2006).



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                                                                                                          23-10362.4315
      Case: 23-10362  Document: 223 Page: 93 Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 10 of 67 PageID 4432



Pa. Psychiatric, 280 F.3d at 290 (“[A] party need not face insurmountable hurdles to warrant third-

party standing.”). The injuries suffered by patients of the Plaintiff medical associations’ members

are sufficient to confer associational standing.

       Here, the physician-patient dynamic favors third-party standing. Unlike abortionists suing

on behalf of women seeking abortions, here there are no potential conflicts of interest between the

Plaintiff physicians and their patients. See June Med. Servs. L.L.C. v. Russo, 140 S. Ct. 2103, 2167

(2020) (Alito, J., dissenting), abrogated by Dobbs v. Jackson Women’s Health Org., 142 S. Ct.

2228 (2022) (abortionists have a “financial interest in avoiding burdensome regulations,” while

women seeking abortions “have an interest in the preservation of regulations that protect their

health”). And the case for a close physician-patient relationship is even stronger here than in the

abortion context. See id. at 2168 (“[A] woman who obtains an abortion typically does not develop

a close relationship with the doctor who performs the procedure. On the contrary, their relationship

is generally brief and very limited.”); see also ECF No. 1-9 at 7 (“[I]n many cases there is no

doctor-patient relationship [between a woman and an abortionist], so [women] often present to

overwhelmed emergency rooms in their distress, where they are usually cared for by physicians

other than the abortion prescriber.”); ECF No. 1-11 at 4 (because there “is no follow-up or

additional care provided to patients” by abortionists, there is “no established relationship with a

physician” and “patients are simply left to report to the emergency room”). Plaintiff physicians

often spend several hours treating post-abortive women, even hospitalizing them overnight or

providing treatment throughout several visits. See ECF No. 1-8 at 5–6. Given the Supreme Court’s

jurisprudence on the close relationship between abortionists and women, the facts of this case

indicate that Plaintiffs’ relationships with their patients are at least as close — if not closer — for

purposes of third-party standing.




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                                                                                            23-10362.4316
      Case: 23-10362  Document: 223 Page: 94 Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 11 of 67 PageID 4433



          Finally, women who have already obtained an abortion may be more hindered than women

who challenge restrictions on abortion. Women who have aborted a child — especially through

chemical abortion drugs that necessitate the woman seeing her aborted child once it passes — often

experience shame, regret, anxiety, depression, drug abuse, and suicidal thoughts because of the

abortion. See ECF No. 96 at 25; David C. Reardon et al., Deaths Associated with Pregnancy

Outcome: A Record Linkage Study of Low Income Women, 95 S. MED. J. 834, 834–41 (2002)

(women who receive abortions have a 154% higher risk of death from suicide than if they gave

birth, with persistent tendencies over time and across socioeconomic boundaries, indicating “self-

destructive tendencies, depression, and other unhealthy behavior aggravated by the abortion

experience”); Priscilla K. Coleman, Abortion and Mental Health: Quantitative Synthesis and

Analysis of Research Published 1995–2009, 199 BRITISH J. PSYCHIATRY 180, 180–86 (2011)

(same). Subsequently, in addition to the typical privacy concerns present in third-party standing in

abortion cases, adverse abortion experiences that are often deeply traumatizing pose a hindrance

to a woman’s ability to bring suit. In short, Plaintiffs — rather than their patients — are most likely

the “least awkward challenger[s]” to Defendants’ actions. Craig v. Boren, 429 U.S. 190, 197

(1976).

          2. Plaintiff Medical Associations have Organizational Standing

          “‘[O]rganizational standing’ does not depend on the standing of the organization’s

members.” OCA, 867 F.3d at 610. The organization can establish standing in its own name if it

“meets the same standing test that applies to individuals.” Id. (internal marks omitted).

An organization can have standing if it has “proven a drain on its resources resulting from

counteracting the effects of the defendant’s actions.” La. ACORN Fair Hous. v. LeBlanc, 211 F.3d

298, 305 (5th Cir. 2000); see also Zimmerman v. City of Austin, Tex., 881 F.3d 378, 390 (5th Cir.




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                                                                                            23-10362.4317
       Case: 23-10362  Document: 223 Page: 95 Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 12 of 67 PageID 4434



2018) (changing one’s “plans or strategies in response to an allegedly injurious law can itself be a

sufficient injury to confer standing”). “Such concrete and demonstrable injury to the organization’s

activities—with the consequent drain on the organization’s resources—constitutes far more than

simply a setback to the organization’s abstract social interests.” Havens Realty Corp. v. Coleman,

455 U.S. 363, 379 (1982) (internal marks omitted).

           One way an organization can establish standing is by “identifying specific projects that [it]

had to put on hold or otherwise curtail in order to respond to the [challenged action].” Tex. State

LULAC v. Elfant, 52 F.4th 248, 253 (5th Cir. 2022) (internal marks omitted). This is “not a

heightening of the Lujan standard, 11 but an example of how to satisfy it by pointing to a non-

litigation-related expense.” OCA, 867 F.3d at 612. Plaintiffs “need not identify specific projects

that they have placed on hold or otherwise curtailed.” 12 La Unión del Pueblo Entero v. Abbott, No.

5:21-CV-0844-XR, 2022 WL 3052489, at *31 (W.D. Tex. Aug. 2, 2022). Rather, this is simply

the “most secure foundation” to establish organizational standing. 13A Charles Alan Wright &

Arthur R. Miller, Federal Practice and Procedure § 3531.9.5 (3d ed. 2022). Furthermore, “‘[a]t

the pleading stage,’ we ‘liberally’ construe allegations of injury.” Bezet v. United States, 714 Fed.

Appx. 336, 339 (5th Cir. 2017) (quoting Little v. KPMG LLP, 575 F.3d 533, 540 (5th Cir. 2009)).

           Here, Plaintiff medical associations have standing via diversionary injury. Because of

FDA’s failure to require reporting of all adverse events, Plaintiffs allege FDA’s actions have

frustrated their ability to educate and inform their member physicians, their patients, and the public

on the dangers of chemical abortion drugs. ECF No. 7 at 12. As a result, Plaintiffs attest they have


11
     See Lujan v. Defs. of Wildlife, 504 U.S. 555 (1992).
12
   At the hearing, Danco argued Elfant held there was no standing where organizations failed to identify specific
projects put on hold. ECF No. 136 at 125. This is incorrect. The Fifth Circuit in Elfant assumed without deciding the
plaintiffs pled an injury-in-fact but held they did not have standing because the causation and redressability elements
were not met. See 52 F.4th at 255.



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                                                                                                           23-10362.4318
       Case: 23-10362  Document: 223 Page: 96 Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 13 of 67 PageID 4435



diverted valuable resources away from advocacy and educational efforts to compensate for the

lack of information. See ECF No. 1 at 91. Such diversions expend considerable time, energy, and

resources, to the detriment of other priorities and functions and impair Plaintiffs’ ability to carry

out their educational purpose. Id. at 92; N.A.A.C.P. v. City of Kyle, Tex., 626 F.3d 233, 238 (5th

Cir. 2010). 13 Similarly, Plaintiffs allege their efforts to respond to FDA’s actions have “tak[en]

them away from other priorities such as fundraising and membership recruitment and retention.”

ECF Nos. 1-4 at 6, 1-5 at 11. Consequently, Plaintiffs have re-calibrated their outreach efforts to

spend extra time and money educating their members about the dangers of chemical abortion

drugs. Combined, these facts are sufficient to confer organizational standing. See OCA, 867 F.3d

at 612 (finding organizational standing even where the injury “was not large”); Fowler, 178 F.3d

at 356 (injuries in fact “need not measure more than an ‘identifiable trifle’”) (internal

marks omitted).

         3. Plaintiffs’ alleged Injuries are Concrete and Redressable

         Defendants contend that Plaintiffs’ theories of standing “depend upon layer after layer of

speculation.” ECF No. 28 at 20. But Plaintiffs allege FDA’s chemical abortion regimen “caused”

intense side effects and significant complications for their patients requiring medical intervention

and attention. ECF No. 7 at 13; see id. (“The harms that the FDA has wreaked on women and girls

have also injured, and will continue to injure, Plaintiff doctors and their medical practices.”); id. at

14 (“The FDA’s actions have placed enormous pressure and stress on Plaintiff doctors during these



13
   It is true that Plaintiffs must allege their activities in response to the challenged actions differ from their “routine”
activities. See, e.g., City of Kyle, 626 F.3d at 238. But Plaintiffs have done so. For example, Plaintiffs argue they
conducted independent studies and analyses of available data to the detriment of their advocacy, educational, and
recruitment efforts. ECF No. 1-8 at 8. The Fifth Circuit has found diversionary injuries to constitute injuries-in-fact
even where it was less clear the plaintiffs diverted from routine activities. See Ass’n of Cmty. Orgs. for Reform Now
v. Fowler, 178 F.3d 350, 360 (5th Cir. 1999) (injury-in-fact where organization regularly conducted voter
registration drives and “expended resources registering voters in low registration areas who would have already been
registered” if not for the challenged actions).


                                                            13
                                                                                                               23-10362.4319
      Case: 23-10362  Document: 223 Page: 97 Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 14 of 67 PageID 4436



emergency situations.”); id. at 15 (“The FDA has caused Plaintiff doctors to face increased

exposure to allegations of malpractice and potential liability, along with higher insurance costs.”).

In fact, Plaintiffs’ declarations list specific events where Plaintiff physicians provided emergency

care to women suffering from chemical abortion. See ECF Nos. 1-8 at 5–6, 1-9 at 4–9, 1-10 at 6–

7, 1-11 at 5–6. And Defendants even concede the existence of adverse events related to chemical

abortion drugs. See ECF No. 28 at 21. Consequently, Defendants misconstrue Plaintiffs’ pleadings

and mischaracterize Plaintiffs’ evidence as “speculative.” It is not.

       Past injuries thus distinguish this case from Clapper v. Amnesty Int’l USA, where the

Supreme Court held a “threatened injury must be certainly impending to constitute injury in fact.”

568 U.S. 398, 410 (2013) (quoting Whitmore v. Arkansas, 495 U.S. 149, 157–58 (1990)). Were

there no past injuries in this case, the alleged future harms are still less attenuated than those in

Clapper. See id. (finding “a highly attenuated chain of” five separate possibilities needed to align

for the alleged harm to occur); McCardell v. U.S. Dep’t of Hous. & Urb. Dev., 794 F.3d 510, 520

(5th Cir. 2015) (“[U]nlike in Clapper, where the alleged injury depended on a long and tenuous

chain of contingent events, the chain-of-events framework in this case involves fewer steps and no

unfounded assumptions.”) (internal marks omitted). See also ECF No. 1-31 at 10 (roughly eight

percent of women who use abortion pills will require surgical abortion); ECF No. 1-14 at 23

(discussing a study in which 18.3 percent of women required surgical intervention after chemical

abortion). And as post-Whitmore cases have demonstrated, the “certainly impending” standard for

an “imminent” injury is not as demanding as it sounds. See TransUnion, 141 S. Ct. at 2197

(material risk of future harm can suffice “so long as the risk of harm is sufficiently imminent and

substantial”); Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014) (“An allegation of

future injury may suffice if the threatened injury is ‘certainly impending,’ or there is a ‘substantial




                                                  14
                                                                                            23-10362.4320
       Case: 23-10362  Document: 223 Page: 98 Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 15 of 67 PageID 4437



risk’ that the harm will occur.”) (emphasis added); Clapper, 568 U.S. at 414 n.5; Massachusetts v.

E.P.A., 549 U.S. 497, 526 n.23 (2007) (“Even a small probability of injury is sufficient . . . provided

of course that the relief sought would, if granted, reduce the probability.”); Deanda v. Becerra,

No. 2:20-CV-092-Z, 2022 WL 17572093, at *2 (N.D. Tex. Dec. 8, 2022) (collecting cases). 14

         For similar reasons, Defendants’ reliance on City of Los Angeles v. Lyons also fails.

461 U.S. 95 (1983). There, the Supreme Court held Lyons did not have standing to seek injunctive

relief because “[t]here was no finding that Lyons faced a real and immediate threat of again being

illegally choked” by Los Angeles police. Id. at 110. The Lyons holding “is based on the obvious

proposition that a prospective remedy will provide no relief for an injury that is, and likely will

remain, entirely in the past.” Am. Postal Workers Union v. Frank, 968 F.2d 1373, 1376 (1st Cir.

1992). “No such reluctance, however, is warranted here.” Hernandez v. Cremer, 913 F.2d 230,

234 (5th Cir. 1990). Considering FDA’s 2021 decision to permit “mail-in” chemical abortion,

many women and girls will consume mifepristone without physician supervision. And in

maternity-care “deserts,” women may not have ready access to emergency care. In sum, there are

fewer safety restrictions for women and girls today than ever before. Plaintiffs have good reasons

to believe their alleged injuries will continue in the future, and possibly with greater frequency

than in the past.




14
  Defendants’ reliance on Spokeo, Inc. v. Robins is also unavailing. 578 U.S. 330 (2016). Courts should indeed
assess whether the alleged injury to the plaintiff has a “close relationship” to harm “traditionally” recognized as the
basis for a lawsuit in American courts. See TransUnion, 141 S. Ct. at 2204. But “a plaintiff doesn’t need to
demonstrate that the level of harm he has suffered would be actionable under a similar, common-law cause of
action.” Perez v. McCreary, Veselka, Bragg & Allen, P.C., 45 F.4th 816, 822 (5th Cir. 2022). Rather, Plaintiffs only
need to show the type of harm allegedly suffered “is similar in kind to a type of harm that the common law has
recognized as actionable.” Id.; see also Campaign Legal Ctr. v. Scott, 49 F.4th 931, 940 (5th Cir. 2022) (Ho., J,
concurring) (evidence of injury required by TransUnion is not burdensome). Harm resulting from unsafe drugs is
similar to harm actionable under the common law.


                                                          15
                                                                                                           23-10362.4321
      Case: 23-10362  Document: 223 Page: 99 Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23 Page 16 of 67 PageID 4438



        Defendants next argue Plaintiffs’ theories depend on “unfettered choices made by

independent actors not before the courts and whose exercise of broad and legitimate discretion the

courts cannot presume either to control or to predict.” ECF No. 28 at 20 (quoting Lujan, 504 U.S.

at 562). “[A] plaintiff must allege personal injury fairly traceable to the defendant’s allegedly

unlawful conduct and likely to be redressed by the requested relief.” Allen v. Wright, 468 U.S. 737,

751 (1984), abrogated on other grounds by Lexmark Int’l, Inc. v. Static Control Components, Inc.,

572 U.S. 118, 134 (2014); see also Simon v. E. Ky. Welfare Rts. Org., 426 U.S. 26, 41–42 (1976)

(“In other words, the ‘case or controversy’ limitation of Art. III still requires that a federal court

act only to redress injury that fairly can be traced to the challenged action of the defendant, and

not injury that results from the independent action of some third party not before the court.”).

        In this case, a favorable decision would likely relieve Plaintiffs of at least some of the

injuries allegedly caused by FDA. See Larson v. Valente, 456 U.S. 228, 243 n.15 (1982)

(“[Plaintiffs] need not show that a favorable decision will relieve [their] every injury.”); Duke

Power Co. v. Carolina Env’t Study Grp., Inc., 438 U.S. 59, 74–75 (1978) (a “substantial

likelihood” of the requested relief redressing the alleged injury is enough); Sanchez v. R.G.L., 761

F.3d 495, 506 (5th Cir. 2014) (a plaintiff “need only show that a favorable ruling could potentially

lessen its injury”); Texas v. Becerra, 577 F. Supp. 3d 527, 560 (N.D. Tex. 2021) (“That the

plaintiffs have brought forth specific evidence and examples of how they will be harmed . . .

distinguishes this case from others where a third party’s actions might have hurt the plaintiff.”).

And redressability is satisfied even if relief must filter downstream through third parties uncertain

to comply with the result, provided the relief would either: (1) remove an obstacle for a nonparty

to act in a way favorable to the plaintiff; or (2) influence a nonparty to act in such a way. See, e.g.,

Dep’t of Com. v. New York, 139 S. Ct. 2551, 2565–66 (2019) (“[T]hird parties will likely react in




                                                  16
                                                                                             23-10362.4322
     Case: 23-10362   Document: 223 Page: 100                      Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                   Page 17 of 67 PageID 4439



predictable ways.”); Bennett v. Spear, 520 U.S. 154, 169 (1997) (defendants’ actions need not be

“the very last step in the chain of causation”); Larson, 456 U.S. at 242–44; NiGen Biotech, L.L.C.

v. Paxton, 804 F.3d 389, 396–98 (5th Cir. 2015). Therefore, Plaintiffs’ alleged injuries are fairly

traceable to Defendants and redressable by a favorable decision.

       4. Plaintiffs are within the “Zone of Interests”

       Plaintiffs are also within the zone of interests of the Federal Food, Drug, and Cosmetic Act

(“FFDCA”) and the Comstock Act. Plaintiffs suing under the APA must assert an interest that is

“arguably within the zone of interests to be protected or regulated by the statute that they say was

violated.” Texas v. United States, 809 F.3d 134, 162 (5th Cir. 2015) (internal marks omitted).

The zone-of-interests test “is not meant to be especially demanding” and is applied “in keeping

with Congress’s evident intent when enacting the APA to make agency action presumptively

reviewable.” Id. (internal marks omitted). The zone-of-interests test “looks to the law’s substantive

provisions to determine what interests (and hence which plaintiffs) are protected.” Simmons v.

UBS Fin. Servs., Inc., 972 F.3d 664, 669 (5th Cir. 2020). “That interest, at times, may reflect

aesthetic, conservational, and recreational as well as economic values.” Ass’n of Data Processing

Serv. Orgs., Inc. v. Camp, 397 U.S. 150, 154 (1970).

       A federal court’s obligation to hear and decide cases within its jurisdiction is “virtually

unflagging.” Lexmark, 572 U.S. at 126 (internal marks omitted). And “the trend is toward

enlargement of the class of people who may protest administrative action.” Camp, 397 U.S. at 154.

No “explicit statutory provision” is necessary to confer standing. Id. at 155. “The test forecloses

suit only when a plaintiff’s interests are so marginally related to or inconsistent with the purposes

implicit in the statute that it cannot reasonably be assumed that Congress intended to permit the

suit.” Texas v. United States, 809 F.3d at 162 (internal marks omitted). In other words, “[t]here is




                                                 17
                                                                                          23-10362.4323
     Case: 23-10362   Document: 223 Page: 101                      Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                   Page 18 of 67 PageID 4440



no presumption against judicial review and in favor of administrative absolutism unless that

purpose is fairly discernible in the statutory scheme.” Camp, 397 U.S. at 157 (internal marks

omitted); see also Barlow v. Collins, 397 U.S. 159, 165 (1970) (courts “must decide if Congress

has in express or implied terms precluded judicial review or committed the challenged action

entirely to administrative discretion”).

       Defendants argue that Plaintiffs identify no particular provision of the FFDCA protecting

their interests. ECF No. 28 at 26. But Plaintiffs’ interests are not “marginally related” to the

purposes implicit in the FFDCA. The statute’s substantive provisions protect the safety of

physicians’ patients and the integrity of the physician-patient relationship. See generally 21 U.S.C.

§ 355. Furthermore, this Court finds Plaintiffs have third-party standing on behalf of their patients.

Plaintiffs’ patients are within the zone of interest of the FFDCA because patients seek safe and

effective medical procedures.

       Likewise, Plaintiffs are within the zone of interests of the Comstock Act. This statute

“indicates a national policy of discountenancing abortion as inimical to the national life.” Bours v.

United States, 229 F. 960, 964 (7th Cir. 1915); see also Bolger v. Youngs Drug Prods. Corp., 463

U.S. 60, 71 n.19 (1983) (the “thrust” of the Comstock Act was “to prevent the mails from being

used to corrupt the public morals”). There is no evidence that Congress “sought to preclude judicial

review of administrative rulings” by FDA “as to the legitimate scope of activities” available

concerning chemical abortion drugs under these statutes. Camp, 397 U.S. at 157. For all the

aforementioned reasons, Plaintiffs have standing.

       B. Plaintiffs’ Claims Are Reviewable

       Defendants aver that “[a]ll of Plaintiffs’ claims are untimely or unexhausted except their

challenge to FDA’s December 16, 2021, response to the 2019 citizen petition.” ECF No. 28 at 26.




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                                                                                           23-10362.4324
      Case: 23-10362   Document: 223 Page: 102                             Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                          Page 19 of 67 PageID 4441



This includes Plaintiffs’ challenges to: (1) the 2000 Approval and FDA’s 2016 Response to the

2002 Petition challenging that approval; (2) the 2019 Generic Approval; and (3), the April 2021

letter. As for FDA’s December 2021 Response to the 2019 Petition, Defendants maintain review

is limited to the narrow issues presented in the 2019 Petition — which did not include arguments

concerning the Comstock Act. Id. at 27–28. 15 The Court disagrees with each of these arguments.

        1. FDA “Reopened” its Decision in 2016 and 2021

        FDA’s final decision on a citizen petition constitutes “final agency action” under the APA.

21 C.F.R. § 10.45(c). Challenges to agency actions have a six-year statute of limitations period.

See 28 U.S.C. § 2401(a). Therefore, the statute of limitations for challenging the 2000 Approval

began running on March 29, 2016 — the date of FDA’s denial of the 2002 Petition. Because the

2016 Denial of the 2002 Petition occurred more than six years before Plaintiffs filed this suit,

Defendants argue the challenge is untimely. ECF No. 28 at 26. But if “the agency opened the issue

up anew, and then reexamined and reaffirmed its prior decision,” the agency’s second action —

rather than the original decision — starts the limitations period. See Texas v. Biden, 20 F.4th 928,

951 (5th Cir. 2021), rev’d in part on other grounds, 142 S. Ct. 2528 (2022).

        The reopening doctrine arises “where an agency conducts a rulemaking or adopts a policy

on an issue at one time, and then in a later rulemaking restates the policy or otherwise addresses

the issue again without altering the original decision.” 16 Wash. All. of Tech. Workers v. U.S. Dep’t

of Homeland Sec., 892 F.3d 332, 345 (D.C. Cir. 2018); see also Nat’l Biodiesel Bd. v. EPA, 843

F.3d 1010, 1017 (D.C. Cir. 2016) (“The reopener doctrine allows an otherwise untimely challenge



15
 The Court refers to the 2000 Approval, the 2016 Changes and denial of the 2002 Petition, and the 2019 Generic
Approval collectively as FDA’s “Pre-2021 Actions.” Similarly, the Court refers to FDA’s April 2021 letter and
December 2021 Response as FDA’s “2021 Actions.”
16
  Courts have even applied the doctrine where agencies decide not to engage in rulemaking and then revisit and
reaffirm that decision. See Pub. Citizen v. Nuclear Regul. Comm’n, 901 F.2d 147, 152 (D.C. Cir. 1990).


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                                                                                                      23-10362.4325
     Case: 23-10362   Document: 223 Page: 103                   Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                Page 20 of 67 PageID 4442



to proceed where an agency has — either explicitly or implicitly — undertaken to reexamine its

former choice.”) (internal marks omitted); CTIA-Wireless Ass’n v. F.C.C., 466 F.3d 105, 112 (D.C.

Cir. 2006) (agency “reconsidered” policy by reaffirming policy and offering “two new

justifications” not found in prior orders).

       In the rulemaking context, courts have identified four non-exhaustive factors to apply the

doctrine where the agency: (1) proposed to make some change in the rules or policies; (2) called

for comment on new or changed provisions, but at the same time; (3) explained the unchanged,

republished portions; and (4) responded to at least one comment aimed at the previously decided

issue. Tripoli Rocketry Ass’n, Inc. v. U.S. Bureau of Alcohol, Tobacco & Firearms, No.

00CV0273(RBW), 2002 WL 33253171, at *6 (D.D.C. June 24, 2002) (internal marks omitted).

But a court “cannot stop there” — it “must look to the entire context of the rulemaking including

all relevant proposals and reactions of the agency to determine whether an issue was in fact

reopened.” Pub. Citizen, 901 F.2d at 150. For example, an agency can reopen a prior action if it

removes restrictions or safeguards related to the first action or affects a “sea change” in the

regulatory scheme. See Sierra Club v. EPA, 551 F.3d 1019, 1025 (D.C. Cir. 2008); Nat’l Biodiesel,

843 F.3d at 1017 (declining to apply doctrine when “the basic regulatory scheme remain[ed]

unchanged”); Pub. Citizen, 901 F.2d at 152 (agency reopens decision when it reiterates a policy in

such a way as to render the policy “subject to renewed challenge on any substantive grounds”).

       In the adjudication context, an agency need not solicit or respond to comments to reopen a

decision because adjudication does not require notice and comment procedures. See 5 U.S.C. §§

553(c), 554. The reopening doctrine has been applied in the adjudication context where an agency

undertakes a “serious, substantive reconsideration” of “a prior administrative decision.”

Chenault v. McHugh, 968 F. Supp. 2d 268, 275 (D.D.C. 2013); see also Battle v. Sec’y U.S. Dep’t




                                               20
                                                                                       23-10362.4326
     Case: 23-10362   Document: 223 Page: 104                         Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                      Page 21 of 67 PageID 4443



of Navy, 757 Fed. Appx. 172, 175 (3d Cir. 2018) (a petition for reconsideration can restart Section

2401(a)’s limitation period if the agency reopens the action based on a finding of “new evidence”

or that the petition reflects some “changed circumstances”); Peavey v. United States, 128 F. Supp.

3d 85, 100 (D.D.C. 2015), aff’d, No. 15-5290, 2016 WL 4098768 (D.C. Cir. 2016) (reopening in

2011 occurred where agency “elected to conduct a substantive review” of servicemember’s 1968

application to correct military records). For formal agency adjudications, even an order stating

“only that it is denying reconsideration” is not conclusive if the agency has “altered its original

decision.” Sendra Corp. v. Magaw, 111 F.3d 162, 167 (D.C. Cir. 1997).

        The standard for reopening is satisfied here. FDA’s requirements for distribution in its 2000

Approval originally included:

              In-person dispensing from the doctor to the patient;

              Secure shipping procedures;

              Tracking system ability;

              Use of authorized distributors and agents; and

              Provision of the drug through direct, confidential physician distribution systems that
               ensures only qualified physicians will receive the drug for patient dispensing.

See ECF No. 1 at 40. FDA’s 2016 Changes to this regulatory scheme included the following

alterations:

              Extending the maximum gestational age at which a woman or girl can abort her unborn
               child from 49 days to 70 days;

              Altering the mifepristone dosage from 600 mg to 200 mg, the misoprostol dosage from
               400 mcg to 800 mcg, and misoprostol administration from oral to buccal;

              Eliminating the requirement that administration of misoprostol occur in-clinic;

              Broadening the window for misoprostol administration to include a range of 24–48
               hours after taking mifepristone, instead of 48 hours afterward;




                                                   21
                                                                                           23-10362.4327
      Case: 23-10362   Document: 223 Page: 105                           Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                        Page 22 of 67 PageID 4444



           Adding a repeat 800 mcg buccal dose of misoprostol in the event of incomplete
            chemical abortion;

           Removing the requirement for an in-person follow-up examination after an abortion;

           Allowing “healthcare providers” other than physicians to dispense and administer the
            chemical abortion drugs; and

           Eliminating the requirement for prescribers to report all non-fatal serious adverse
            events from chemical abortion drugs.

Id. at 53–54. And in 2021, FDA removed the “in-person dispensing requirement” and signaled that

it will soon allow pharmacies to dispense chemical abortion drugs. Id. at 68. Plaintiffs warn that

without this requirement, “there is a dramatically reduced chance that the prescriber can confirm

pregnancy and gestational age, discover ectopic pregnancies, and identify a victim of abuse or

human trafficking being coerced into having a chemical abortion.” ECF No. 120 at 19.

        FDA’s 2016 and 2021 Changes thus significantly departed from the agency’s original

approval of the abortion regimen. FDA repeatedly altered its original decision by removing

safeguards and changing the regulatory scheme for chemical abortion drugs. Sierra Club, 551 F.3d

at 1025; Nat’l Biodiesel, 843 F.3d at 1017. Additionally, FDA’s response to the 2019 Petition

explicitly states FDA “undertook a full review of the Mifepristone REMS Program” in 2021. ECF

No. 1-44 at 7 (emphasis added); 17 see also Peavey, 128 F. Supp. 3d at 100–02 (agency reopened

decision by conducting “thorough review” of the merits, even where the order did not state it was

a “reconsideration” and did not reference prior decision). And FDA even granted the 2019 Petition

in part. ECF No. 1-44 at 3. A “full review” of a REMS for a drug with known serious risks

necessarily considers the possibility that a drug is too dangerous to be on the market, any mitigation



17
  See also Questions and Answers on Mifepristone for Medical Termination of Pregnancy Through Ten Weeks
Gestation, FDA (Jan. 4, 2023), https://www.fda.gov/drugs/postmarket-drug-safety-information-patients-and-
providers/questions-and-answers-mifepristone-medical-termination-pregnancy-through-ten-weeks-gestation
(describing the 2021 review as “comprehensive”).


                                                     22
                                                                                                   23-10362.4328
      Case: 23-10362   Document: 223 Page: 106                               Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                            Page 23 of 67 PageID 4445



strategy notwithstanding. FDA has the authority to withdraw an approved drug application on this

basis. See 21 U.S.C. § 355(e). Because the agency reaffirmed its prior actions after undertaking a

substantive reconsideration of those actions, the limitations period for those actions starts in 2021.

See Pub. Citizen, 901 F.2d at 152 (an agency reconsidering and reaffirming original policy

“necessarily raises the lawfulness of the original policy, for agencies have an everpresent duty to

insure that their actions are lawful”). 18

        Alternatively, the Court finds Plaintiffs’ claims are not time-barred under the equitable

tolling doctrine. See United States v. Patterson, 211 F.3d 927, 931 (5th Cir. 2000) (courts “must

be cautious not to apply the statute of limitations too harshly”); P & V Enters. v. U.S. Army Corps

of Engr’s, 466 F. Supp. 2d 134, 149 (D.D.C. 2006), aff’d, 516 F.3d 1021 (D.C. Cir. 2008) (a

“rebuttable presumption of equitable tolling” applies to lawsuits governed by the six-year

limitations period of Section 2401(a)); Bornholdt v. Brady, 869 F.2d 57, 64 (2d Cir. 1989) (“The

existence of § 2401 as a catchall provision . . . does not necessarily mean that Congress intended

the six-year period to be applied whenever a substantive statute does not specify a limitations

period.”). “[A] litigant is entitled to equitable tolling of a statute of limitations only if the litigant

establishes two elements: (1) that he has been pursuing his rights diligently, and (2) that some

extraordinary circumstance stood in his way and prevented timely filing.” Menominee Indian Tribe

of Wis. v. United States, 577 U.S. 250, 255 (2016) (internal marks omitted); see also Holland v.

Florida, 560 U.S. 631, 650 (2010) (“The flexibility inherent in equitable procedure enables courts




18
  To date, it is unclear whether the reopening doctrine has been applied in the precise context of FDA’s approval of
an NDA. However, much of the rationale courts have applied in both the rulemaking and adjudication context
applies here. And the Court is unaware of any legal principle that would preclude the doctrine from being applied to
these facts. Assuming arguendo Plaintiffs’ allegations are true, a contrary holding would mean there is no judicial
remedy to FDA’s insistence on keeping an unsafe drug on the market, so long as enough time has passed.


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                                                                                                        23-10362.4329
      Case: 23-10362   Document: 223 Page: 107                            Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                         Page 24 of 67 PageID 4446



to meet new situations that demand equitable intervention, and to accord all the relief necessary to

correct particular injustices.”) (cleaned up).

        Equitable tolling is appropriate here in large part because of FDA’s unreasonable delay in

responding to Plaintiff’s 2002 and 2019 Petitions. See WildEarth Guardians v. U.S. Dep’t of Just.,

181 F. Supp. 3d 651, 670 (D. Ariz. 2015) (it is “grossly inappropriate” to apply a statute of

limitations where the agency unreasonably delayed a claim because the agency “could immunize

its allegedly unreasonable delay from judicial review simply by extending that delay for six years”)

(internal marks omitted). It took FDA 13 years, 7 months, and 9 days to respond to the 2002

Petition. FDA then moved the goalposts by substantially changing the regulatory scheme on the

same day it issued its Response. And it took FDA 2 years, 8 months, and 17 days to respond to the

2019 Petition which challenged those changes. Thus, in the 20 years between the 2002 Petition

and the filing of this suit, Plaintiffs were waiting on FDA for over 16 of those years. See Hill

Dermaceuticals, Inc. v. U.S. Food & Drug Admin., 524 F. Supp. 2d 5, 9 (D.D.C. 2007) (“Once

citizen petitions are submitted, the FDA Commissioner is required to respond in one of three

manners ‘within 180 days of receipt of the petition.’”) (quoting 21 C.F.R. § 10.30(e)(2)). 19

        Additionally, statutes of limitations “are primarily designed to assure fairness to

defendants,” and “to promote justice by preventing surprises through the revival of claims that

have been allowed to slumber until evidence is lost, memories have faded, and witnesses have

disappeared.” Clymore v. United States, 217 F.3d 370, 376 (5th Cir. 2000), as corrected on reh’g

(Aug. 24, 2000) (internal marks omitted). But it “has not been argued, and cannot seriously be,

that the government was unfairly surprised” when Plaintiffs filed this suit. Id. Plaintiffs have been



19
   Incidentally, the delayed FDA Response is extreme but not unprecedented. See, e.g., Bayer HealthCare, LLC v.
U.S. Food & Drug Admin., 942 F. Supp. 2d 17, 22 (D.D.C. 2013) (FDA had yet to respond to a 2006 petition when
it approved a related ANDA in 2013).


                                                      24
                                                                                                     23-10362.4330
     Case: 23-10362   Document: 223 Page: 108                     Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                  Page 25 of 67 PageID 4447



reasonably diligent in pursuing their claims. See, e.g., ECF No. 1-4 at 6 (after years of waiting for

FDA to respond to the Petition, Plaintiff “called upon” FDA to issue a response in 2005 and again

in 2015). And the public interest in this case militates toward resolving Plaintiffs’ claims on the

merits. Accordingly, Plaintiffs’ challenges to FDA’s Pre-2021 Actions concerning chemical

abortion drugs are not time-barred.

       2. FDA’s April 2021 Decision on In-Person Dispensing Requirements is not
          “Committed to Agency Discretion by Law”

       Defendants also argue any challenge to FDA’s decision regarding the in-person dispensing

requirement is foreclosed under Heckler v. Chaney, 470 U.S. 821, 832 (1985). ECF No. 28 at 30.

In Heckler, the Supreme Court held that FDA’s decision not to recommend civil or criminal

enforcement action to prevent violations of the FFDCA was “committed to agency discretion by

law.” 470 U.S. at 837–38; see also Texas v. Biden, 20 F.4th at 982 (“In other words, a litigant may

not waltz into court, point his finger, and demand an agency investigate (or sue, or otherwise

enforce against) ‘that person over there.’”). “[T]he Supreme Court and the Fifth Circuit have

consistently read Heckler as sheltering one-off nonenforcement decisions rather than decisions to

suspend entire statutes.” Texas v. Biden, 20 F.4th at 983. The “committed to agency discretion by

law” exception to judicial review is a “very narrow exception” that applies only where “statutes

are drawn in such broad terms that in a given case there is no law to apply.” Citizens to Pres.

Overton Park, Inc. v. Volpe, 401 U.S. 402, 410 (1971), overruled on other grounds by Califano v.

Sanders, 430 U.S. 99 (1977).

       That is not the case here. The Secretary has the authority to determine that drugs with

“known serious risks” may be dispensed “only in certain health care settings, such as hospitals.”

See 21 U.S.C. § 355-1(f)(3)(C); Gomperts v. Azar, No. 1:19-CV-00345-DCN, 2020 WL 3963864,

at *1 (D. Idaho July 13, 2020) (“[T]hese restrictions mandate that Mifeprex be dispensed only in



                                                 25
                                                                                          23-10362.4331
      Case: 23-10362   Document: 223 Page: 109                           Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                        Page 26 of 67 PageID 4448



certain healthcare settings”). 20 The statute also provides other “elements to assure safe use” of

dangerous drugs. 21 U.S.C. § 355-1(f)(1), (3). The Secretary must publicly explain “how such

elements will mitigate the observed safety risk.” 21 U.S.C. § 355-1(f)(2). The Secretary must also

consider whether the elements would “be unduly burdensome on patient access to the drug” and

must “minimize the burden on the health care delivery system.” Id. Additionally, the elements

“shall include [one] or more goals to mitigate a specific serious risk listed in the labeling of the

drug.” 21 U.S.C. § 355-1(f)(3). And as the Court will later explain, federal law prohibits the

mailing of chemical abortion drugs. Thus, unlike in Heckler, there is “law to apply” to FDA’s

decision. See Texas v. Biden, 20 F.4th at 982 (“[T]he executive cannot look at a statute, recognize

that the statute is telling it to enforce the law in a particular way or against a particular entity, and

tell Congress to pound sand.”). And even if Defendants have significant discretion in how they

administer Section 355-1, that does not mean all related actions are immune to judicial review

under Section 701(a)(2) of the APA.

        In sum, Defendants cannot shield their decisions from judicial review merely by

characterizing the challenged action as exercising “enforcement discretion.” ECF No. 28 at 15; see

also Texas v. Biden, 20 F.4th at 987 (“The Government is still engaged in enforcement — even if

it chooses to do so in a way that ignores the statute. That’s obviously not nonenforcement.”); id.

at 985 (“Heckler cannot apply to agency actions that qualify as rules under 5 U.S.C. § 551(4).”);

Heckler, 470 U.S. at 833 n.4 (a decision to consciously and expressly adopt a general policy that

is “so extreme as to amount to abdication of its statutory responsibilities” is not “committed to

agency discretion”) (emphasis added). Furthermore, the suggestion that FDA has full discretion


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  See also Frequently Asked Questions (FAQS) about REMS, FDA (Jan. 26, 2018), https://www.fda.gov/drugs/risk-
evaluation-and-mitigation-strategies-rems/frequently-asked-questions-faqs-about-rems (“A REMS is required to
ensure the drug is administered only in a health care facility with personnel trained to manage severe allergic
reactions and immediate access to necessary treatments and equipment to managing such events.”).


                                                      26
                                                                                                    23-10362.4332
     Case: 23-10362   Document: 223 Page: 110                     Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                  Page 27 of 67 PageID 4449



under Section 355-1 to not require any REMS for dangerous drugs would likely present

nondelegation problems even under a modest view of that doctrine. See, e.g., Gundy v. United

States, 139 S. Ct. 2116, 2123 (2019). So too the notion that FDA could exercise its non-

enforcement discretion in violation of other federal laws. Therefore, FDA’s decision to not enforce

the in-person dispensing requirement is reviewable because the decision is not committed to

agency discretion by law.

       3. Plaintiffs’ Failure to Exhaust Certain Claims is Excusable

       Plaintiffs allege FDA’s 2021 Decision to dispense mifepristone through the mail did not

acknowledge or address federal criminal laws that “expressly prohibit[] such downstream

distribution.” ECF No. 7 at 26. Defendants maintain Plaintiffs’ argument is unexhausted because

they failed to present it at any stage of any administrative proceeding. ECF No. 28 at 38. Similarly,

Plaintiffs have not exhausted their challenge to FDA’s approval of the supplemental NDA for

generic mifepristone. Id. at 26. These failures to exhaust claims do not preclude judicial review.

       “The general rule of nonreviewability is not absolute.” Myron v. Martin, 670 F.2d 49, 52

(5th Cir. 1982). To begin, exhaustion is not required where the agency action is “in excess of” the

agency’s authority. Id. And a court will review for the first time “a particular challenge to an

agency’s decision which was not raised during the agency proceedings” where the agency action

is “likely to result in individual injustice” or is “contrary to an important public policy extending

beyond the rights of the individual litigants.” Id.; see also Mathews v. Eldridge, 424 U.S. 319, 330

(1976) (“[C]ases may arise where a claimant’s interest in having a particular issue resolved

promptly is so great that deference to the agency’s judgment is inappropriate.”); Abbott

Laboratories v. Gardner, 387 U.S. 136, 149 (1967) (injunctive remedies applied to administrative

determinations should evaluate “both the fitness of the issues for judicial decision and the hardship




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                                                                                          23-10362.4333
     Case: 23-10362   Document: 223 Page: 111                     Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                  Page 28 of 67 PageID 4450



to the parties of withholding court consideration”); Dawson Farms, LLC v. Farm Serv. Agency,

504 F.3d 592, 606 (5th Cir. 2007) (exhaustion may be excused when “irreparable injury will result

absent immediate judicial review”); Bd. of Pub. Instruction of Taylor Cnty., Fla. v. Finch, 414

F.2d 1068, 1072 (5th Cir. 1969) (exceptional circumstances include “where injustice might

otherwise result”).

       Courts have also excused a claimant’s failure to exhaust administrative remedies where

exhaustion “would be futile because the administrative agency will clearly reject the claim.”

Gulf Restoration Network v. Salazar, 683 F.3d 158, 176 (5th Cir. 2012) (internal marks omitted);

see also Oregon Nat. Desert Ass’n v. McDaniel, 751 F. Supp. 2d 1151, 1159 (D. Or. 2011)

(exceptional circumstances include evidence of administrative bias). Additionally, courts will

consider any issue that was “raised with sufficient clarity to allow the decision maker to understand

and rule on the issue raised, whether the issue was considered sua sponte by the agency or was

raised by someone other than the petitioning party.” Pac. Choice Seafood Co. v. Ross, 976 F.3d

932, 942 (9th Cir. 2020). In short, “there is no bright-line standard as to when this requirement has

been met.” Nat’l Parks & Conservation Ass’n v. Bureau of Land Mgmt., 606 F.3d 1058, 1065 (9th

Cir. 2010). Finally, “[a]dministrative remedies that are inadequate need not be exhausted.”

Coit Indep. Joint Venture v. Fed. Sav. & Loan Ins. Corp., 489 U.S. 561, 587 (1989) (a lack of

reasonable time limits in the claims procedure renders the procedure inadequate).

               a. Contrary to Public Policy

       Judicial review of Plaintiffs’ unexhausted claims is appropriate for several reasons.

First, Defendants’ alleged violation of the Comstock Act would be “contrary to an important public

policy.” Myron, 670 F.2d at 52. As a case Defendants rely upon explains, the word “abortion” in

the statute “indicates a national policy of discountenancing abortion as inimical to the national




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                                                                                          23-10362.4334
      Case: 23-10362   Document: 223 Page: 112                                Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                             Page 29 of 67 PageID 4451



life.” See Bours, 229 F. at 964; ECF No. 28-1 at 206. And twenty-two states filed an amicus brief

arguing FDA’s decision to permit mail-in chemical abortion harms the public interest by

undermining states’ ability to enforce laws regulating abortion. 21 ECF No. 100 at 17.

                  b. Individual Injustice and Irreparable Injury

         Second, the agency’s actions are “likely to result in individual injustice” or cause

“irreparable injury.” Myron, 670 F.2d at 52; Dawson, 504 F.3d at 606. Plaintiffs allege “many

intense side effects” and “significant complications requiring medical attention” resulting from

Defendants’ actions. 22 ECF No. 7 at 13. Many women also experience intense psychological

trauma and post-traumatic stress from excessive bleeding and from seeing the remains of their

aborted children. See ECF No. 96 at 25–29; Pauline Slade et al., Termination of pregnancy:

Patient’s perception of care, J. OF FAMILY PLANNING & REPRODUCTIVE HEALTH CARE Vol. 27,

No. 2, 72–77 (2001) (“Seeing the foetus, in general, appears to be a difficult aspect of the medical

termination process which can be distressing, bring home the reality of the event and may influence

later emotional adaptation.”). Parenthetically, said “individual justice” and “irreparable injury”

analysis also arguably applies to the unborn humans extinguished by mifepristone — especially in




21
  See David S. Cohen et al., Abortion Pills, 76 STAN. L. REV. 1, 9 (forthcoming 2024) (“Despite state laws, mailed
medication abortion can cross borders in ways that undermine state laws . . . A new organization, Mayday Health,
for example, focuses on those who live in states with abortion bans, giving users step-by-step instructions on how to
set up temporary addresses in an abortion permissive state and forward the mail into the banned state.”) (internal
marks omitted).
22
   At least 4,213 adverse events from chemical abortion drugs have been reported. See ECF No. 96 at 12 n.16.
But the actual number is likely far higher because non-fatal adverse events are no longer required to be reported, and
because more than 60 percent of women and girls’ emergency room visits after chemical abortions are miscoded as
miscarriages. See James Studnicki et al., A Post Hoc Exploratory Analysis: Induced Complications Mistaken for
Miscarriage in the Emergency Room are a Risk Factor for Hospitalization, 9 HEALTH SERV. RSCH. MGMT.
EPIDEMIOLOGY 1, 1 (2022); see also ECF No. 1-8 at 7 (describing Plaintiffs’ difficulty in submitting adverse event
reports to mifepristone manufacturer Danco). Other data sources such as the Center for Disease Control and
Prevention Abortion Surveillance Reports are “profoundly flawed” because state reporting “is voluntary, with many
states reporting intermittently and some not at all.” Studnicki et al., supra note 9, at 2. One Plaintiff physician
alleges that when she reported an adverse event to her state’s health department, the “report was rejected because the
State said it was not a ‘true’ adverse event because the patient ultimately recovered.” ECF No. 1-10 at 7.


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                                                                                                          23-10362.4335
      Case: 23-10362   Document: 223 Page: 113                          Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                       Page 30 of 67 PageID 4452



the post-Dobbs era. See Dobbs, 142 S. Ct. at 2261 (“Nothing in the Constitution or in our Nation’s

legal traditions authorizes the Court to adopt [the] theory of life” that States are required “to regard

a fetus as lacking even the most basic human right — to live — at least until an arbitrary point in

a pregnancy has passed.”) (internal marks omitted); Brief of Amici Curiae Scholars of

Jurisprudence John M. Finnis and Robert P. George in Support of Petitioners, Dobbs, 142 S. Ct.

2228 (2022) (arguing unborn humans are constitutional “persons” entitled to equal protection).

                c. Administrative Procedures are Inadequate

        Third, FDA’s combined response time of over sixteen years to Plaintiffs’ two petitions

shows their procedures have been inadequate. See Coit, 489 U.S. at 587; Bowen v. City of New

York, 476 U.S. 467, 476 (1986) (“[T]he harm imposed by exhaustion would be irreparable.”).

FDA slow-walked — or rather, snail-walked — its response to the 2002 Petition by waiting nearly

fourteen years to deny the petition. ECF No. 7 at 9. Requiring Plaintiffs to exhaust their

administrative remedies may equate to another decade-plus of waiting for the agency to give them

the time of day.

                d. Exhaustion would be Futile

        Alternatively, any attempt by Plaintiffs to challenge Defendants’ actions would likely be

futile. Even if Plaintiffs did not endure sixteen years of delay, dawdle, and dithering, their efforts

would surely “be futile because the administrative agency will clearly reject the claim.”

Gulf Restoration Network, 683 F.3d at 176. “President Biden has emphasized the need to protect

access to mifepristone” since the day of the Supreme Court’s decision in Dobbs. 23 President Biden

stated that “protecting reproductive rights is essential to our Nation’s health, safety, and


23
  See FACT SHEET: President Biden to Sign Memorandum on Ensuring Safe Access to Medication Abortion,
THE WHITE HOUSE (Jan. 22, 2023), https://www.whitehouse.gov/briefing-room/statements-releases/2023/01/22/fact-
sheet-president-biden-to-sign-presidential-memorandum-on-ensuring-safe-access-to-medication-abortion/.



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                                                                                                  23-10362.4336
      Case: 23-10362   Document: 223 Page: 114                                Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                             Page 31 of 67 PageID 4453



progress.” 24 He also criticized States’ efforts to impose restrictions on mifepristone because such

efforts “have stoked confusion, sowed fear, and may prevent patients from accessing safe and

effective FDA-approved medication.” 25 Thus, it is unlikely FDA would reverse course on its

“mail-order” abortion regimen. ECF No. 7 at 7. Defendants’ position on the Comstock Act in this

litigation only confirms that fact. See ECF No. 28 at 38 (“Plaintiffs misconstrue the Comstock

Act.”). 26

                  e. The Comstock Act was raised with Sufficient Clarity

           Finally, the Comstock Act issue was “raised with sufficient clarity.” Ross, 976 F.3d at 942.

This is because: (1) the 2019 Petition requested FDA to retain the in-person requirement for

dispensing of chemical abortion drugs; and (2) the Comstock Act issue was also raised by the

United States Postal Service and the Department of Health & Human Services on July 1, 2022,

“[i]n the wake of” Dobbs. 27 The Office of Legal Counsel specifically mentioned FDA’s regimen

for chemical abortion drugs when concluding “the mere mailing of such drugs to a particular

jurisdiction is an insufficient basis for concluding that the sender intends them to be used

unlawfully.” OLC Memo at *1. This shows not only that the issue was raised with sufficient

clarity, but also the futility of raising the issue before the agency. Therefore, Plaintiffs’ failure to

exhaust their claims does not preclude judicial review.


24
  Memorandum on Further Efforts to Protect Access to Reproductive Healthcare Services, THE WHITE HOUSE (Jan.
22, 2023), https://www.whitehouse.gov/briefing-room/presidential-actions/2023/01/22/memorandum-on-further-
efforts-to-protect-access-to-reproductive-healthcare-services/.
25
     Id.
26
  The D.C. Circuit has hinted that the futility doctrine is ordinarily predicated on the “worthlessness of an argument
before an agency that has rejected it in the past” rather than the likelihood that “the agency would reject it in the
future.” Tesoro Refin. & Mktg. Co. v. FERC, 552 F.3d 868, 874 (D.C. Cir. 2009). But in this case, there is no
principled distinction between the two scenarios. Defendants do not even pretend the agency might have accepted
Plaintiffs’ arguments. Other cases may involve uncertainty about future agency rejection, but it is not this case.
27
 See Application of the Comstock Act to the Mailing of Prescription Drugs That Can Be Used for Abortions, 2022
WL 18273906 (O.L.C. Dec. 23, 2022) (“OLC Memo”).


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                                                                                                          23-10362.4337
     Case: 23-10362   Document: 223 Page: 115                      Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                   Page 32 of 67 PageID 4454



       C. Plaintiffs’ Challenges to FDA’s 2021 Actions Have a Substantial Likelihood of
          Success on the Merits

       “To satisfy the first element of likelihood of success on the merits,” Plaintiffs “must present

a prima facie case but need not show that [they are] certain to win.” Janvey v. Alguire¸ 647 F.3d

585, 595–96 (5th Cir. 2011) (internal marks omitted). Under the APA, courts must “hold unlawful

and set aside agency action, findings, and conclusions found to be . . . arbitrary, capricious, an

abuse of discretion, or otherwise not in accordance with law,” or “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right.” 5 U.S.C. § 706(2)(A) & (C).

       The Court will first address FDA’s 2021 Actions that eliminated the in-person dispensing

requirement and announced that FDA would allow abortionists to dispense chemical abortion

drugs by mail or mail-order pharmacy. Plaintiffs have a substantial likelihood of success on their

claims that these actions violate federal law.

       1. The Comstock Act prohibits the Mailing of Chemical Abortion Drugs

       The Comstock Act declares “[e]very obscene, lewd, lascivious, indecent, filthy or vile

article, matter, thing, device, or substance” to be “nonmailable matter” that “shall not be conveyed

in the mails or delivered from any post office or by any letter carrier.” 18 U.S.C. § 1461. The next

clauses declare nonmailable “[e]very article or thing designed, adapted, or intended for producing

abortion, or for any indecent or immoral use; and [e]very article, instrument, substance, drug,

medicine, or thing which is advertised or described in a manner calculated to lead another to use

or apply it for producing abortion, or for any indecent or immoral purpose.” Id. Similarly, Section

1462 forbids the use of “any express company or other common carrier” to transport chemical

abortion drugs “in interstate or foreign commerce.”

       Defendants’ argument that the Comstock Act does not prohibit the mailing of chemical

abortion drugs relies on the “reenactment canon.” That is, courts may distill a statute’s meaning



                                                 32
                                                                                           23-10362.4338
      Case: 23-10362   Document: 223 Page: 116                                Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                             Page 33 of 67 PageID 4455



when “federal courts of appeals settled upon a consensus view” and “Congress never modified the

relevant statutory text to reject or displace this settled construction.” ECF No. 28 at 39.

This purported “consensus view” is that the Comstock Act does not prohibit the mailing of items

designed to produce abortions “where the sender does not intend them to be used unlawfully.” Id.

This argument is unpersuasive for several reasons.

         “Congress is presumed to be aware of an administrative or judicial interpretation of a

statute and to adopt that interpretation when it re-enacts a statute without change.” Lorillard v.

Pons, 434 U.S. 575, 580 (1978). But “[t]here is an obvious trump to the reenactment argument”:

“‘[w]here the law is plain, subsequent reenactment does not constitute an adoption of a previous

administrative construction.’” Brown v. Gardner, 513 U.S. 115, 121 (1994) (quoting Demarest v.

Manspeaker, 498 U.S. 184, 190 (1991)); see also Milner v. Dep’t of Navy, 562 U.S. 562, 576

(2011) (“[W]e have no warrant to ignore clear statutory language on the ground that other courts

have done so.”). Additionally, the presumption only applies when the judicial or administrative

gloss “represented settled law when Congress reenacted the [language in question].” Keene Corp.

v. United States, 508 U.S. 200, 212 (1993); see also Jama v. Immigr. & Customs Enf’t, 543 U.S.

335, 349 (2005) (presumption applies only when the supposed judicial consensus at the time of

reenactment was “so broad and unquestioned that we must presume Congress knew of and

endorsed it”); Davis v. United States, 495 U.S. 472, 482 (1990); Fed. Deposit Ins. Corp. v. Phila.

Gear Corp., 476 U.S. 426, 437 (1986); United States v. Powell, 379 U.S. 48, 55 n.13 (1964). 28




28
  See also ANTONIN SCALIA & BRYAN A. GARNER, READING LAW: THE INTERPRETATION OF LEGAL TEXTS 325
(2012) (“But how numerous must the lower-court opinions be, or how prominent and long-standing the
administrative interpretation, to justify the level of lawyerly reliance that justifies the canon? What about two
intermediate-court decisions? (We doubt it — though some cases have relied on just a single intermediate-court
decision.) Or seven courts of first instance? (Perhaps.)”).


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                                                                                                          23-10362.4339
     Case: 23-10362   Document: 223 Page: 117                       Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                    Page 34 of 67 PageID 4456



       The canon is easily overcome for one simple reason: it is a dubious means of ascertaining

congressional intent. “There are plenty of reasons to reenact a statute that have nothing to do with

codifying the glosses that courts have already put on the statute.” CALEB NELSON, STATUTORY

INTERPRETATION 481 (2011). For example, perhaps the original statute contained a “sunset”

provision. Maybe Congress wanted to change the statute in some other respects but found it easier

to communicate those changes by reenacting a modified version of the complete statute “than by

casting each discrete change as an amendment to the existing language.” Id. at n.14. Or Congress

was perhaps conducting “a more general codification or reorganization of the statutes in a

particular field, for the sake of making the structure of its statutes easier to follow.” Id. “Or maybe

Congress simply wanted to enact the relevant title of the United States Code into positive law.” Id.

“To the extent that Congress reenacts statutory language for one of those other reasons, members

of Congress may well not mean to be expressing any view at all about the glosses that have piled

up in the meantime.” Id.; see also HENRY M. HART, JR., & ALBERT M. SACKS, THE LEGAL

PROCESS: BASIC PROBLEMS IN THE MAKING AND APPLICATION OF LAW 1367 (William N. Eskridge,

Jr., & Philip P. Frickey eds., 1994) (tent. ed. 1958) (criticizing the canon for adding to the costs of

the legislative process in counterproductive ways).

       Here, the plain text of the Comstock Act controls. See Bostock v. Clayton Cnty., Ga., 140

S. Ct. 1731, 1749 (2020) (“[W]hen the meaning of the statute’s terms is plain, our job is at an

end.”); Lawson v. FMR LLC, 571 U.S. 429, 441 (2014) (“Absent any textual qualification, we

presume the operative language means what it appears to mean.”). The Comstock Act declares

“nonmailable” every “article, instrument, substance, drug, medicine, or thing which is advertised

or described in a manner calculated to lead another to use it or apply it for producing abortion.”

18 U.S.C. § 1461 (emphasis added). It is indisputable that chemical abortion drugs are both




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                                                                                            23-10362.4340
      Case: 23-10362   Document: 223 Page: 118                               Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                            Page 35 of 67 PageID 4457



“drug[s]” and are “for producing abortion.” Therefore, federal criminal law declares they are

“nonmailable.” See Texas v. Becerra, No. 5:22-CV-185-H, 2022 WL 3639525, at *26 n.21 (N.D.

Tex. Aug. 23, 2022) (“[F]ederal law bar[s] the importation or delivery of any device or medicine

designed to produce an abortion.”).

         The statute plainly does not require intent on the part of the seller that the drugs be used

“unlawfully.” To be sure, the statute does contain a catch-all provision that prohibits the mailing

of such things “for producing abortion, or for any indecent or immoral purpose.” 18 U.S.C. § 1461

(emphasis added). But “or” is “almost always disjunctive.” Encino Motorcars, LLC v. Navarro,

138 S. Ct. 1134, 1141 (2018) (internal marks omitted). Additionally, the “or” in Section 1461 is

preceded by a comma, further disjoining the list of nonmailable matter. Thus, the Court does not

read the “or” as an “and.” Similarly, the Act requires that the defendant “knowingly uses the mails

for the mailing” of anything declared by the Act “to be nonmailable.” 18 U.S.C. § 1461. A

defendant could satisfy this mens rea requirement by mailing mifepristone and knowing it is for

producing abortion. The statute does not require anything more. See, e.g., United States v. Lamott,

831 F.3d 1153, 1157 (9th Cir. 2016) (where Congress “intends to legislate a specific intent crime,”

the statute typically uses the phrase “with the intent to”) (internal marks omitted).

         Even if the statute were ambiguous, the legislative history also supports this

interpretation. 29 See H.R. Rep. No. 91-1105, at 2 (1970) (“Existing statutes completely prohibit

the importation, interstate transportation, and mailing of contraceptive materials, or the mailing of

advertisement or information concerning how or where such contraceptives may be obtained or

how conception may be prevented.”). Congress unsuccessfully tried to modify Section 1461 to



29
  This Court reviews the legislative history as mere evidence of the ordinary public meaning of the current statutory
language. See ANTONIN SCALIA, A MATTER OF INTERPRETATION 17 (1997) (“It is the law that governs, not the intent
of the lawgiver . . . Men may intend what they will; but it is only the laws that they enact which bind us.”).


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                                                                                                         23-10362.4341
      Case: 23-10362   Document: 223 Page: 119                                  Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                               Page 36 of 67 PageID 4458



prohibit mailing drugs “intended by the offender . . . to be used to produce an illegal abortion.”

See REP. OF THE SUBCOMM. ON CRIM. JUST., 95TH CONG., REP. ON RECODIFICATION OF FED. CRIM.

LAW 40 (Comm. Print 1978) (emphasis added); Bostock, 140 S. Ct. at 1824 (Kavanaugh, J.,

dissenting) (“In the face of the unsuccessful legislative efforts . . . judges may not rewrite the law

simply because of their own policy views.”). 30 In fact, the House Subcommittee Report on the

proposed amendment acknowledged the plain meaning of the statute: “[U]nder current law, the

offender commits an offense whenever he ‘knowingly’ mails any of the designated abortion

materials,” and the proposed amendment would “require proof that the offender specifically

intended that the mailed materials be used to produce an illegal abortion.” 31 If Congress believed

the statute already contained the “intentionality” requirement gloss in prior reenactments, there is

little reason why Congress would amend the provision to include that requirement.

         Defendants aver Plaintiffs’ interpretation of the Comstock Act is foreclosed by the Food

and Drug Administration Amendments Act of 2007 (“FDAAA”) for one reason: “Congress was

well aware that it was directing mifepristone’s preexisting distribution scheme to continue” in

enacting the FDAAA. ECF No. 28 at 40. But neither “critics [of FDA’s 2000 Approval of

mifepristone] nor anyone else in the congressional debate mentioned the Comstock Act.”

OLC Memo at *7 n.18; see also In re Lively, 717 F.3d 406, 410 (5th Cir. 2013) (“Repeals by

implication are disfavored and will not be presumed unless the legislature’s intent is ‘clear and

manifest.’”) (internal marks omitted). Because the Comstock Act is not even implicitly mentioned



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  Bostock’s majority opinion warns that “speculation about why a later Congress declined to adopt new legislation
offers a ‘particularly dangerous’ basis on which to rest an interpretation of an existing law a different and earlier
Congress did adopt.” 140 S. Ct. at 1747. But the opinion does not suggest judges can “rewrite the law.” Instead,
Bostock’s stated rationale was that the disputed term was implicit in the statutory text all along. No such “textualist”
analysis could plausibly justify Defendants’ interpretation of the Comstock Act, and Defendants offer none.
31
  REP. OF THE SUBCOMM. ON CRIM. JUST., 95TH CONG., REP. ON RECODIFICATION OF FED. CRIM. LAW 40 (Comm.
Print 1978) (emphasis added).


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                                                                                                            23-10362.4342
     Case: 23-10362   Document: 223 Page: 120                      Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                   Page 37 of 67 PageID 4459



in the FDAAA’s enactment, there is no repeal by implication. And in any case, Defendants’

arguments based on legislative history cannot overcome clear statutory text.

       Consequently, reenactment of the Comstock Act does not constitute an adoption of prior

constructions because “the law is plain.” Brown, 513 U.S. at 121 (1994). Even if that were not the

case, the reenactment canon does not apply here because the relevant judicial glosses do not

represent a “broad and unquestioned” consensus. Jama, 543 U.S. at 349. Defendants rely heavily

on the OLC Memo that purports to establish this “consensus.” But none of the cases cited in the

OLC Memo support the view that the Comstock Act bars the mailing of abortion drugs only when

the sender has the specific intent that the drugs be used unlawfully.

       On the contrary, the Seventh Circuit reasoned that the word “abortion” in the context of

the Act indicates “a national policy of discountenancing abortion as inimical to the national life.”

Bours, 229 F. at 964. Bours further declared “it is immaterial what the local statutory definition of

abortion is, what acts of abortion are included, or what excluded.” Id. Similarly, the Sixth Circuit’s

decision in Davis v. United States only suggests that legitimate uses of drugs should not fall within

the scope of the statute “merely because they are capable of illegal uses.” 62 F.2d 473, 474 (6th

Cir. 1933). In other words, the Davis holding reflects the position that legitimate uses — uses

beyond the purposes the statute condemns — should be excluded from the scope of the statute, not

that whatever uses are lawful under state law should be. ECF No. 114 at 10. Likewise, the Second

Circuit interpreted the statute to embrace articles the 1873 Congress “would have denounced as

immoral if it had understood all the conditions under which they were to be used.” United States

v. One Package, 86 F.2d 737, 739 (2d Cir. 1936). The court further observed that “[t]he word

‘unlawful’ would make this clear as to articles for producing abortion.” Id.; see also James S.

Witherspoon, Reexamining Roe: Nineteenth-Century Abortion Statutes and the Fourteenth




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                                                                                           23-10362.4343
     Case: 23-10362   Document: 223 Page: 121                      Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                   Page 38 of 67 PageID 4460



Amendment, 17 ST. MARY’S L.J. 29, 33 (1985) (explaining that thirty of thirty-seven states had

statutory abortion prohibitions in 1868 — just five years before Congress enacted the Comstock

Act).

        Defendants maintain “the legality of the agency actions needs to be judged at the time of

the decision, all of which occurred when Roe and Casey were still good law.” ECF No. 136 at 109.

Even assuming that is true in all cases, Roe did not prohibit all restrictions on abortions. And it is

not obvious that enforcement of the Comstock Act post-Casey would have necessarily run afoul

of Casey’s “arbitrary ‘undue burden’ test.” Dobbs, 142 S. Ct. at 2266. Therefore, there is no reason

why the Act should not have at least been considered. In any case, the Comstock Act plainly

forecloses mail-order abortion in the present, and Defendants have stated no present or future

intention of complying with the law. Defendants cannot immunize the illegality of their actions by

pointing to a small window in the past where those actions might have been legal.

        In sum, the reenactment canon is inapplicable here because the law is plain. Even if that

were not true, the cases relied on in the OLC Memo do not support Defendants’ interpretation.

And even if they did, a small handful of cases cannot constitute the “broad and unquestioned”

consensus required under the reenactment canon. Therefore, Plaintiffs have a substantial likelihood

of prevailing on their claim that Defendants’ decision to allow the dispensing of chemical abortion

drugs through mail violates unambiguous federal criminal law.

        2. FDA’s 2021 Actions violate the Administrative Procedure Act

        Because FDA’s 2021 Actions violate the Comstock Act, they are “otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A). Additionally, the actions were likely “arbitrary and

capricious.” Id. FDA relied on FDA Adverse Event Reporting System data despite the agency’s

2016 decision to eliminate the requirement for abortionists to report non-fatal “adverse events.”




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                                                                                           23-10362.4344
     Case: 23-10362   Document: 223 Page: 122                       Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                    Page 39 of 67 PageID 4461



ECF No. 7 at 25. Defendants maintain that “Plaintiffs offer no explanation for why it was

impermissible to rely on the reported data.” ECF No. 28 at 33. The explanation should be obvious

— it is circular and self-serving to practically eliminate an “adverse event” reporting requirement

and then point to a low number of “adverse events” as a justification for removing even more

restrictions than were already omitted in 2000 and 2016. In other words, it is a predetermined

conclusion in search of non-data — a database designed to produce a null set. But even if FDA’s

explanation were well-reasoned, the actions would still run afoul of the Comstock Act and

therefore violate the APA.

       D. Plaintiffs’ Challenges to FDA’s Pre-2021 Actions Have a Substantial Likelihood
          of Success on the Merits

       1. FDA’s 2000 Approval violated Subpart H

       In 1992, FDA issued regulations “needed to assure safe use” of new drugs designed to treat

life-threatening diseases like HIV and cancer. See 57 Fed. Reg. 58,942, 58,958 (Dec. 11, 1992)

(codified at 21 C.F.R. § 314.520). Subpart H — titled “Accelerated Approval of New Drugs for

Serious or Life-Threatening Illnesses” — applies to drugs that satisfy two requirements. First, the

drug must have been “studied for [its] safety and effectiveness in treating serious or life-threatening

illnesses.” 21 C.F.R. § 314.500. And second, the drug must “provide [a] meaningful therapeutic

benefit to patients over existing treatments.” Id. “These rules were promulgated by FDA . . . as

part of an attempt to correct perceived deficiencies in FDA’s approval process made apparent by

the need to quickly develop drugs for HIV/AIDS patients.” ECF No. 1-13 at 20.

       “When FDA originally approved Mifeprex, the agency relied upon Subpart H to place

certain restrictions on the manufacturer’s distribution of the drug product to assure its safe use.”

ECF No. 28 at 14; see also ECF No. 1-13 at 9 (the American Medical Association explained that

“[Mifepristone] poses a severe risk to patients unless the drug is administered as part of a complete



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                                                                                            23-10362.4345
     Case: 23-10362   Document: 223 Page: 123                     Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                  Page 40 of 67 PageID 4462



treatment plan under the supervision of a physician”). Thus, to satisfy Subpart H, FDA deemed

pregnancy a “serious or life-threatening illness[]” and concluded that mifepristone “provide[d] [a]

meaningful therapeutic benefit to patients over existing treatments.” See 21 C.F.R. §§ 314.500;

314.560. FDA was wrong on both counts.

                  a. Pregnancy is not an “Illness”

           Pregnancy is a normal physiological state most women experience one or more times

during their childbearing years — a natural process essential to perpetuating human life.

Defendants even admit pregnancy is not an “illness.” FDA claims the Final Rule explained Subpart

H was available for serious or life-threatening “conditions,” whether or not they were understood

colloquially to be “illnesses.” ECF No. 28 at 36. But the Final Rule says no such thing. “One

comment asserted that neither depression nor psychosis is a disease, nor is either one serious or

life-threatening.” 57 Fed. Reg. 58,946. FDA responded to the comment that “signs of these

diseases are readily studied” and that its reference to depression and psychosis “was intended to

give examples of conditions or diseases that can be serious for certain populations or in some or

all of their phases.” Id. In other words, FDA’s response to this comment was not that depression

and psychosis qualify because they are “conditions” even though they are not colloquially

understood as “illnesses.” Rather, FDA simply disagreed with the comment’s characterization of

these conditions and explained that they were examples of “diseases” that can be “serious.”

Nothing in the Final Rule supports the interpretation that pregnancy is a serious or life-threatening

illness.

           FDA’s 2016 Denial of the 2002 Petition is similarly unpersuasive. For example, FDA noted

that approximately fifty percent of pregnancies in the United States are unintended and that

unintended pregnancies may cause depression and anxiety. ECF No. 1-28 at 5. But categorizing




                                                  40
                                                                                          23-10362.4346
     Case: 23-10362   Document: 223 Page: 124                       Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                    Page 41 of 67 PageID 4463



complications or negative psychological experiences arising from pregnancy as “illnesses” is

materially different than classifying pregnancy itself as a serious or life-threatening illness per se.

Tellingly, FDA never explains how or why a “condition” would not qualify as a “serious or life-

threatening illness.” Suppose that a woman experiences depression because of lower back pain

that inhibits her mobility. Under FDA’s reading, a new drug used to treat lower back pain — which

can cause depression, just like unplanned pregnancy — could obtain accelerated approval under

Subpart H.

       Defendants cite zero cases reading Subpart H like FDA reads Subpart H. On the contrary,

courts have read “serious or life-threatening illnesses” to mean what it says. See, e.g., Tummino v.

Hamburg, 936 F. Supp. 2d 162, 182 (E.D.N.Y. 2013) (“Whether an illness is ‘serious or life-

threatening’ ‘is based on its impact on such factors as survival, day-to-day functioning, or the

likelihood that the disease, if left untreated, will progress from a less severe condition to a more

serious one.’”) (quoting 57 Fed. Reg. at 13235). The preamble to the final rule also clarified the

terms “would be used as FDA has defined them in the past.” 57 Fed. Reg. at 13235.

       Likewise, the Final Rule expressly stated this nomenclature “is the same as FDA defined

and used the terms” in two rulemakings: the first in 1987; the second in 1988. 57 Fed. Reg. at

58,945. In the 1988 rulemaking, FDA defined “life-threatening” to include diseases or conditions

“where the likelihood of death is high unless the course of the disease is interrupted (e.g., AIDS

and cancer), as well as diseases or conditions with potentially fatal outcomes where the end point

of clinical trial analysis is survival (e.g., increased survival in persons who have had a stroke or

heart attack).” See 53 Fed. Reg. at 41517; id. at 41516 (referencing “AIDS, cancer, Parkinson’s

disease, and other serious conditions”); CSX Transp., Inc. v. Ala. Dep’t of Revenue, 562 U.S. 277,

294 (2011) (the canon of ejusdem generis “limits general terms that follow specific ones to matters




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                                                                                            23-10362.4347
     Case: 23-10362   Document: 223 Page: 125                      Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                   Page 42 of 67 PageID 4464



similar to those specified”) (internal marks omitted). Therefore, “diseases” and “conditions” are

used interchangeably, and even “conditions” must be “serious” or “life-threatening” as defined.

       Food and Drug scholars have understood Subpart H’s scope the same way. See, e.g.,

Charles Steenburg, The Food and Drug Administration’s Use of Postmarketing (Phase IV) Study

Requirements: Exception to the Rule?, 61 FOOD & DRUG L.J. 295, 323 (2006) (Subpart H

“extend[s] only to drugs and biological products that target[] ‘serious or life-threatening illnesses’

and offer[] a ‘meaningful’ benefit over existing treatments”). Even the Population Council argued

to FDA that “the imposition of Subpart H is unlawful” because “[t]he plain meaning of these terms

does not comprehend normal, everyday occurrences such as pregnancy and unwanted pregnancy.”

ECF No. 1-14 at 21. This reading is also consistent with the fact that aside from mifepristone, FDA

had approved fewer than forty NDAs under Subpart H by early 2002. See id. at 20. And of those

other approvals, twenty were for the treatment of HIV and HIV-related diseases, nine were for the

treatment of various cancers and their symptoms, four were for severe bacterial infections, one

was for chronic hypertension, and one was for leprosy. Id. “One of these things is not like the

others, one of these things just doesn’t belong.” See Sesame Street.

               b. Defendants are not entitled to Auer Deference

       Courts sometimes extend Auer deference “to agencies’ reasonable readings of genuinely

ambiguous regulations.” Kisor v. Wilkie, 139 S. Ct. 2400, 2408 (2019). Auer deference is rooted

in an “always rebuttable” presumption “that Congress would generally want the agency to play the

primary role in resolving regulatory ambiguities.” Id. at 2412. “Auer deference is sometimes

appropriate and sometimes not.” Id. at 2408. “First and foremost, a court should not afford Auer

deference unless the regulation is genuinely ambiguous.” Id. at 2415. “And before concluding that

a rule is genuinely ambiguous, a court must exhaust all the traditional tools of construction.” Id.




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                                                                                           23-10362.4348
      Case: 23-10362   Document: 223 Page: 126                                 Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                              Page 43 of 67 PageID 4465



(internal marks omitted). “That means a court cannot wave the ambiguity flag just because it found

the regulation impenetrable on first read.” Id. If genuine ambiguity remains, the agency’s reading

must still be “reasonable.” Id. And even if the regulation is genuinely ambiguous, the agency’s

interpretation “must in some way implicate its substantive expertise.” Id. at 2417. Finally, an

agency’s reading of a rule must reflect “fair and considered judgment” to receive Auer deference.

Id. (internal marks omitted).

           Here, Auer deference is not appropriate because “the language of [the] regulation is plain

and unambiguous.” McCann v. Unum Provident, 907 F.3d 130, 144 (3d Cir. 2018). As explained,

FDA’s definitions in prior rulemakings foreclose its interpretation of Subpart H. If there is any

ambiguity in “serious or life-threatening illnesses,” the ordinary meaning principle resolves that

ambiguity. See Bostock, 140 S. Ct. at 1825 (Kavanaugh, J, dissenting) (“The ordinary meaning

principle is longstanding and well settled.”). “[C]ommon parlance matters in assessing the

ordinary meaning” of a statute or regulation “because courts heed how most people would have

understood the text.” Id. at 1828 (internal marks omitted). The word “illness” refers to “poor

health; sickness,” or “a specific sickness or disease, or an instance of such.” 32 Merriam-

Webster invokes the definition for “sickness” — “an unhealthy condition of body or mind.” 33

Likewise, a Wikipedia search for “illness” re-directs to the entry for “Disease,” which is defined

as “a particular abnormal condition that negatively affects the structure or function of all or part

of an organism, and that is not immediately due to any external injury.” 34 Pregnancy, on the other



32
  Illness, Dictionary.com, https://www.dictionary.com/browse/illness (last visited Mar. 22, 2023); see also
Bostock,140 S. Ct. at 1766 (Alito, J, dissenting) (“Dictionary definitions are valuable because they are evidence of
what people at the time of a statute’s enactment would have understood its words to mean.”).
33
     Illness, Merriam-Webster.com, https://www.merriam-webster.com/dictionary/illness (last visited Mar. 22, 2023).
34
     Disease, Wikipedia, https://en.wikipedia.org/wiki/Disease (emphasis added) (last visited Mar. 22, 2023).



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                                                                                                          23-10362.4349
      Case: 23-10362   Document: 223 Page: 127                                Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                             Page 44 of 67 PageID 4466



hand, is defined as “the time during which one or more offspring develops (gestates) inside a

woman’s uterus (womb).” 35

           Most readers would not define pregnancy to be a serious or life-threatening illness.

Even FDA does not earnestly defend that position. True, complications can arise during

pregnancy, and said complications can be serious or life-threatening. But that does not make

pregnancy itself an illness. See ECF No 1-13 at 21. And even if the regulation were genuinely

ambiguous after exhausting all traditional tools of statutory construction, Defendants’

interpretation: (1) is not reasonable; (2) does not implicate their substantive expertise; and (3) does

not reflect fair and considered judgment. Accordingly, Defendants are not entitled to Auer

deference on their interpretations of “serious or life-threatening illnesses.” By interpreting Subpart

H’s scope as reaching any state or side effect that can be considered an undefined “condition,”

Defendants broaden the regulation on accelerated approval of new drugs farther than the text of

the regulation would ever suggest. Therefore, FDA’s approval of chemical abortion drugs under

Subpart H exceeded its authority under the regulation’s first requirement.

                    c. Chemical Abortion Drugs do not provide a “Meaningful Therapeutic Benefit”

           FDA also exceeded its authority under the second requirement of Subpart H. In addition to

treating a serious or life-threatening illness, chemical abortion drugs must also provide a

“meaningful therapeutic benefit” to patients over surgical abortion. 21 C.F.R. § 314.500.

As explained, this cannot be the case because chemical abortion drugs do not treat “serious or life-

threatening illnesses” — a prerequisite to reaching the second requirement. Id. Similarly, chemical

abortion drugs cannot be “therapeutic” because the word relates to the treatment or curing of

disease. 36 But even putting that aside, chemical abortion drugs do not provide a meaningful


35
     Pregnancy, Wikipedia, https://en.wikipedia.org/wiki/Pregnancy (last visited Mar. 22, 2023).
36
     Therapeutic, Dictionary.com, https://www.dictionary.com/browse/illness (last visited Mar. 28, 2023).


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                                                                                                            23-10362.4350
      Case: 23-10362   Document: 223 Page: 128                                    Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                                 Page 45 of 67 PageID 4467



therapeutic benefit over surgical abortion. See 21 C.F.R. § 314.500 (examples include where the

benefit is the “ability to treat patients unresponsive to, or intolerant of, available therapy, or

improved patient response over available therapy”). To the extent surgical abortion can be

considered a “therapy,” the clinical trials did not compare chemical abortion with surgical abortion

to find such a benefit. ECF No. 1 at 44.

           Defendants argue just one “meaningful therapeutic benefit”: chemical abortion drugs

avoided “an invasive surgical procedure and anesthesia in 92 percent of” patients in the trial. ECF

No. 28 at 37. But “[b]y defining the ‘therapeutic benefit’ solely as the avoidance of the current

standard of care’s delivery mechanism, FDA effectively guarantees that a drug will satisfy this

second prong of Subpart H as long as it represents a different method of therapy.” ECF No. 1-14

at 22. And even if that were a benefit, chemical abortions are over fifty percent more likely than

surgical abortion to result in an emergency room visit within thirty days. ECF No. 7 at 21. 37

Consequently, the number of chemical abortion-related emergency room visits increased by over

five hundred percent between 2002 and 2015. ECF No. 1 at 19.

           One study revealed the overall incidence of adverse events is “fourfold higher” in chemical

abortions when compared to surgical abortions. 38 Women who underwent chemical abortions also

experienced far higher rates of hemorrhaging, incomplete abortion, and unplanned surgical

evacuation. 39 Chemical abortion patients “reported significantly higher levels of pain, nausea,



37
     Some studies report that the exact number is fifty-three percent. See Studnicki et al., supra note 22.
38
  See Maarit Niinimäki et al., Immediate Complications After Medical Compared with Surgical Termination of
Pregnancy, 114 OBSTETRICS & GYNECOLOGY 795 (2009). FDA agrees with this study but finds it “not surprising”
given that chemical abortion “is associated with longer uterine bleeding.” ECF No. 1-44 at 38. See also ECF No 1-
13 at 15, n.68–72 (collecting studies demonstrating the far higher rates of adverse events in chemical abortion over
surgical abortion).
39
     Id.



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                                                                                                              23-10362.4351
      Case: 23-10362   Document: 223 Page: 129                           Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                        Page 46 of 67 PageID 4468



vomiting and diarrhea during the actual abortion than did surgical patients . . . Post-abortion pain

occurred in 77.1% of mifepristone patients compared with only 10.5% of surgical patients.”

ECF No 1-13 at 24. And before the approval, an FDA medical officer recognized the “medical

regimen had more adverse events, particularly bleeding, than did surgical abortion. Failure rates

exceeded those for surgical abortion . . . This is a serious potential disadvantage of the medical

method.” Id. at 23 (emphasis added).

           Other studies show eighty-three percent of women report that chemical abortion “changed”

them — and seventy-seven percent of those women reported a negative change. 40 Thirty-

eight percent of women reported issues with anxiety, depression, drug abuse, and suicidal thoughts

because of the chemical abortion. 41 Bleeding from a chemical abortion, unlike surgical abortion,

can last up to several weeks. 42 And the mother seeing the aborted human “appears to be a difficult

aspect of the medical termination process which can be distressing, bring home the reality of the

event and may influence later emotional adaptation.” 43 “For example, one woman was surprised

and saddened to see that her aborted baby ‘had a head, hands, and legs’ with ‘[d]efined fingers and

toes.’” ECF No. 1 at 21. The entire abortion process takes place within the mother’s home, without

physician oversight, potentially leading to undetected ectopic pregnancies, failure of rH factor

incompatibility detection, and misdiagnosis of gestational age — all leading to severe or even fatal




40
  See Katherine A. Rafferty & Tessa Longbons, #AbortionChangesYou: A Case Study to Understand the
Communicative Tensions in Women’s Medication Abortion Narratives, 36 HEALTH COMM. 1485, 1485–94 (2021),
https://www.tandfonline.com/doi/full/10.1080/10410236.2020.1770507.
41
     Id.
42
  After Mifepristone: When bleeding will start and how long will it last?, WOMEN ON WEB,
https://www.womenonweb.org/en/page/484/when-will-you-start-bleeding-and-howlong-will-it-last. See also ECF
No. 1-28 at 25 (“Up to 8% of all subjects may experience some type of bleeding for 30 days or more.”).
43
 Pauline Slade et al., Termination of Pregnancy: Patient’s Perception of Care, 27 J. OF FAMILY PLANNING &
REPRODUCTIVE HEALTH CARE 72, 76 (2001).


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      Case: 23-10362   Document: 223 Page: 130                              Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                           Page 47 of 67 PageID 4469



consequences. See ECF No. 96 at 15–17. Contrary to popular belief and talking points, the

evidence shows chemical abortion is not “as easy as taking Advil.” Id. at 20.

            Compelling evidence suggests the statistics provided by FDA on the adverse effects of

chemical abortion understate the negative impact the chemical abortion regimen has on women

and girls. When women seek emergency care after receiving the chemical abortion pills, the

abortionist that prescribed the drugs is usually not the provider to manage the mother’s

complications. 44 Consequently, the treating physician may not know the adverse event is due to

mifepristone. Id. at 13. Studies support this conclusion by finding over sixty percent of women and

girls’ emergency room visits after chemical abortions are miscoded as “miscarriages” rather than

adverse effects to mifepristone. 45 Simply put, FDA’s data are incomplete and potentially

misleading, as are the statistics touted by mifepristone advocates.

            Lastly, chemical abortion does not “treat patients unresponsive to, or intolerant of,

available therapy.” See 21 C.F.R. § 314.500. “To the contrary, because ‘medical abortion failures

should be managed with surgical termination’ the option for surgical abortion must be available

for any Mifeprex patient.” ECF No. 1-14 at 23 (quoting the Mifeprex “Warnings” label). One study

showed that 18.3 percent of women required surgical intervention after the chemical abortion

regimen failed. Id. Hence, “any patient who would be intolerant of surgical abortion, if such a class

of patients exists, cannot use the Mifeprex Regimen.” Id. at 24. On balance, the data reflect little

to no benefit over surgical abortion — much less a “meaningful therapeutic” benefit.




44
  Kathi Aultman et al., Deaths and Severe Adverse Events after the use of Mifepristone as an Abortifacient from
September 2000 to February 2019, 36 ISSUES IN LAW & MED., 3–26 (2021).
45
     Studnicki et al., supra note 9.


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                                                                                                       23-10362.4353
     Case: 23-10362   Document: 223 Page: 131                     Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                  Page 48 of 67 PageID 4470



               d. Defendants’ Misapplication of Subpart H has not been Cured by Congress

       Defendants contend “Plaintiffs’ arguments about Subpart H have been overtaken by

congressional action.” ECF No. 28 at 35. In the FDAAA, “Congress specifically directed” that

drugs with elements to assure safe use “in effect on the effective date on this Act” would be

“deemed to have in effect an approved” REMS. Id. (citing Pub. L. No. 110-85, § 909(b)(1)).

But the sponsors of such drugs were also required to submit a proposed REMS within 180 days.

See Pub. L. No. 110-85, § 909(b)(3). Hence, Congress “deemed” preexisting safety requirements

to be a sufficient REMS until a new REMS was approved. The FDAAA did not affect, however,

whether an NDA was properly approved or authorized under Subpart H in the first place.

Rather, the FDAAA required that such drugs needed continued restrictions in place to mitigate

risks. Implementation of a REMS under the FDAAA does not somehow repeal or supplant the

approval process under Subpart H or 21 U.S.C. § 355(d). The FDAAA only eased the regulatory

transition from Subpart H to the REMS provision. Simply stated, Congress’s general reiteration

that dangerous drugs should carry a REMS did not codify FDA’s specific approval of the

mifepristone NDA. It did not consider the chemical abortion approval at all.

       In sum, Subpart H doubly forecloses FDA’s approval of mifepristone. At most, FDA might

have lawfully approved mifepristone under Subpart H for cases where a pregnant woman’s life or

health is in danger. But even a limited approval of this sort would still not render pregnancy an

“illness.” And surgical abortion — a statistically far safer procedure — would still be available to

her. But in any case, that is not what FDA did. Instead, FDA manipulated and misconstrued the

text of Subpart H to greenlight elective chemical abortions on a wide scale. Therefore, Plaintiffs

have a substantial likelihood of prevailing on their claim that Defendants violated Subpart H.




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                                                                                         23-10362.4354
      Case: 23-10362   Document: 223 Page: 132                                 Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                              Page 49 of 67 PageID 4471



         2. FDA’s Pre-2021 Actions were Arbitrary and Capricious

         Under the FFDCA, a pharmaceutical company seeking to market a new drug must first

obtain FDA approval via an NDA. See 21 U.S.C. § 355(a), (b). The NDA must include “adequate

tests by all methods reasonably applicable to show whether or not such drug is safe for use under

the conditions prescribed, recommended, or suggested in the proposed labeling thereof.” 21 U.S.C.

§ 355(d).     The     trials    must     “provide      an      adequate     basis    for    physician      labeling.”

21 C.F.R. § 312.21(c). In those trials, “the drug is used the way it would be administered when

marketed.” 46 The Secretary must deny the NDA if “he has insufficient information to determine

whether such drug is safe for use under such conditions.” 21 U.S.C. § 355(d)(4).

         Here, the U.S. trials FDA relied upon when approving mifepristone required that: (1) each

woman receive an ultrasound to confirm gestational age and exclude an ectopic pregnancy; 47 (2)

physicians have experience in performing surgical abortions and admitting privileges at medical

facilities that provide emergency care; (3) all patients be within one hour of emergency facilities

or the facilities of the principal investigator; and (4) women be monitored for four hours to check

for adverse events after taking misoprostol. ECF No. 7 at 23. However, FDA included none of

these requirements — which were explicitly stated in the clinical trial FDA relied on most — in

the 2000 Approval. Id. Likewise, FDA’s 2016 Changes omitted the requirements of the underlying

tests: (1) gestational age confirmed by ultrasounds; (2) participants required to return for clinical

assessment; and (3) surgical intervention if necessary. Id. at 24.


46
   Glossary, WEILL CORNELL MEDICINE, https://research.weill.cornell.edu/compliance/human-subjects-research
/institutional-review-board/glossary-faqs-medical-terms-lay-3 (last visited Mar. 22, 2023) (emphasis added).
47
   The 2016 Denial of the 2002 Petition briefly notes the two French clinical trials did not require an ultrasound but
instead left the decision to the investigator’s discretion. ECF No. 1-28 at 19 n.47. Defendants do not explain how
many investigators chose to perform an ultrasound. The higher that number is, the more it supports Plaintiffs’
argument. But in any case, the U.S. trial was larger than the two French trials combined and is therefore the more
reliable study. Id. at 9.



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                                                                                                           23-10362.4355
      Case: 23-10362   Document: 223 Page: 133                               Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                            Page 50 of 67 PageID 4472



         Defendants maintain “there is no legal basis for Plaintiffs’ contention that the approved

conditions of use of a drug must duplicate the protocol requirements for the clinical trials

supporting its approval.” ECF No. 28 at 35. But FDA’s actions must not be arbitrary and

capricious. 48 See 5 U.S.C. § 706(2)(A); United States v. An Article of Device . . . Diapulse, 768

F.2d 826, 832–33 (7th Cir. 1985) (concluding FDA’s denial was not arbitrary and capricious

because the proposed labeling did not “specify conditions of use that are similar to those followed

in the studies”). “The scope of review under the arbitrary and capricious standard is narrow and a

court is not to substitute its judgment for that of the agency.” Motor Vehicle Mfrs. Ass’n of U.S.,

Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (internal marks omitted).

“Nevertheless, the agency must examine the relevant data and articulate a satisfactory explanation

for its action including a rational connection between the facts found and the choice made.” Id.

(internal marks omitted); see also Sw. Elec. Power Co. v. EPA, 920 F.3d 999, 1013 (5th Cir. 2019)

(judicial review of agency action “is not toothless”). Courts must “consider whether the decision

was based on a consideration of the relevant factors and whether there has been a clear error of

judgment.” Id. (internal marks omitted). An agency’s action is “arbitrary and capricious” if it

“entirely failed to consider an important aspect of the problem, offered an explanation for its

decision that runs counter to the evidence before the agency, or is so implausible that it could not

be ascribed to a difference in view or the product of agency expertise.” Id. Defendants fail this test.




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  Plaintiffs also frame what the Court characterized as the “study-match problem” as a statutory violation of the
FFDCA. See ECF No. 7 at 22. The Court does not read 21 U.S.C. § 355(d) as necessarily requiring an exact
“match” between trial conditions and the conditions on the approved labeling of a new drug. But Section 355(d)
does mandate the Secretary “issue an order refusing to approve the application” if he finds the investigations do not
show the drug is safe for use under the suggested conditions in the proposed labeling. FDA made such a finding yet
did not deny the Application. See ECF No. 1-24 at 6 (“We have concluded that adequate information has not been
presented to demonstrate that the drug, when marketed in accordance with the terms of distribution proposed, is safe
and effective for use as recommended.”). Thus, even if Defendants could survive “arbitrary and capricious” analysis
of the “study-match problem,” Defendants still violated Section 355(d) on their own terms.


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                                                                                                         23-10362.4356
      Case: 23-10362   Document: 223 Page: 134                            Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                         Page 51 of 67 PageID 4473



                 a. The 2000 Approval

        To begin, FDA “entirely failed to consider an important aspect of the problem” by omitting

any evaluation of the psychological effects of the drug or an evaluation of the long-term medical

consequences of the drug. State Farm, 463 U.S. at 43; ECF No. 84 at 12. Considering the intense

psychological trauma and post-traumatic stress women often experience from chemical abortion,

this failure should not be overlooked or understated. Nor was the drug tested for under-18 girls

undergoing reproductive development. 49 But that is not all. Clinical trial protocols in the United

States for the 2000 Approval required a transvaginal ultrasound for each patient to accurately date

pregnancies and identify ectopic pregnancies. ECF No. 1-28 at 19. But FDA ultimately concluded

that “a provider can accurately make such a determination by performing a pelvic examination and

obtaining a careful history.” Id. Thus, FDA determined it was inappropriate “to mandate how

providers clinically assess women for duration of pregnancy and for ectopic pregnancy.” ECF No.

1-28 at 19. FDA believed “it is reasonable to expect that the women’s providers would not have

prescribed Mifeprex if a pelvic ultrasound examination had clearly identified an ectopic

pregnancy.” Id. at 20.

        FDA thus assumes physicians will ascertain gestational age. But put another way, there is

simply no requirement that any procedure is done to rule out an ectopic pregnancy — which is a

serious and life-threatening situation. This is arbitrary and capricious. The mere fact that other

clinical methods can be used to date pregnancies does not support the view that it should be the



49
   In 1998, FDA issued the “Pediatric Rule,” which “mandated that drug manufacturers evaluate the safety and
effectiveness of their products on pediatric patients, absent an applicable exception.” Ass’n of Am. Physicians &
Surgeons, Inc. v. U.S. Food & Drug Admin., 391 F. Supp. 2d 171, 173–74 (D.D.C. 2005). Two years after approving
mifepristone, FDA was enjoined from enforcing the Pediatric Rule because it lacked statutory authority in issuing
the rule. See Ass’n of Am. Physicians & Surgeons v. FDA, 226 F. Supp. 2d 204, 222 (D.D.C. 2002). In response,
Congress enacted the Pediatric Research Equity Act of 2003 to codify the Pediatric Rule. See 21 U.S.C. § 355c.
In the 2000 Approval, FDA clarified that the Mifeprex NDA was covered by the Pediatric Rule. See ECF No. 1-26
at 4. However, FDA fully waived the rule’s requirements without explanation. ECF No. 1-28 at 30.


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                                                                                                     23-10362.4357
      Case: 23-10362   Document: 223 Page: 135                               Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                            Page 52 of 67 PageID 4474



provider’s decision to decide which method — if any — is used to make this determination. FDA

has never denied that an ultrasound is the most accurate method to determine gestational age and

identify ectopic pregnancies. See ECF No. 1-14 at 62. And the fact that other clinical methods can

be used does not mean that all such methods are equal in their accuracy and reliability. 50 FDA did

rely on a study showing that clinicians rarely underestimate gestational age. ECF No. 1-28 at 19

n.49. But this study does nothing to support FDA’s view that a transvaginal ultrasound is not

necessary to diagnose ectopic pregnancies. To this point, FDA merely argues that even

transvaginal ultrasounds do not guarantee an existing ectopic pregnancy will be identified. Id. at

19. If that is the case, it does not follow that it should be left to the provider’s discretion to employ

less reliable methods — or no methods at all.

         Correct diagnosis of gestational age and ectopic pregnancies is vital. The error in FDA’s

judgment is borne out by myriad stories and studies brought to the Court’s attention. One woman

alleged she did not receive an ultrasound or any other physical examination before receiving

chemical abortion drugs from Planned Parenthood. ECF No. 1 at 22. “The abortionist misdated

the baby’s gestational age as six weeks, resulting in the at-home delivery of a ‘lifeless, fully-

formed baby in the toilet,’ later determined to be around 30-36 weeks old.” Id.; see also Patel v.

State, 60 N.E.3d 1041, 1043 (Ind. Ct. App. 2016) (woman who used chemical abortion drugs

“delivered a live baby of approximately twenty-five to thirty weeks gestation who died shortly

after birth”). Another woman was given chemical abortion drugs during an ectopic pregnancy

because her ultrasound “was not even that of a uterus but was of a bladder.” 51 ECF No. 31 at 5.


50
  Studies reflect that women recurrently miscalculate their unborn child’s gestational age. See P. Taipale & V.
Hiilesmaa, Predicting delivery date by ultrasound and last menstrual period in early gestation, 97 OBSTETRICS
GYN. 189 (2001); David A. Savitz et al., Comparison of pregnancy dating by last menstrual period, ultrasound
scanning, and their combination, 187 AM. J. OBSTETRICS GYN. 1660 (2002).
51
  This incident also demonstrates that even where ultrasounds are used, only a qualified provider can assure they are
done properly.


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                                                                                                         23-10362.4358
      Case: 23-10362   Document: 223 Page: 136                             Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                          Page 53 of 67 PageID 4475



The resulting rupture “led to massive infection and a collapse of her vital systems.” Id.

Amicus Human Coalition identified four of their clients who were unknowingly ectopic when they

arrived at their clinic “with abortion pills in hand.” ECF No. 96 at 20. And at least two women

died from chemical abortion drugs last year. See ECF No. 120 at 30 n.5. One of those women was

an estimated twenty-one weeks pregnant. See id. Presumably, the fact that the woman obtained

chemical abortion drugs more than two months past FDA’s gestational age cutoff suggests that no

adequate procedures confirmed the gestational age in her case.

           FDA has also reported at least ninety-seven cases where women with ectopic pregnancies

took mifepristone. 52 But these data are likely incomplete because FDA now only requires reporting

on deaths. See ECF No. 1 at 4. And as noted above, hospitals often miscode complications from

chemical abortions as miscarriages. Studies show that women are thirty percent more likely to die

from a ruptured ectopic pregnancy while seeking abortions if the condition remains undiagnosed. 53

A woman may interpret the warning signs of an ectopic pregnancy — cramping and severe

bleeding — as side effects of mifepristone. In reality, the symptoms indicate her life is in danger. 54

Another study revealed that of 5,619 chemical abortion visits, 452 patients had a pregnancy of

“unknown location” and 31 were treated for ectopic pregnancy — including 4 that were ruptured. 55

Yet another study examined 3,197 unique, U.S.-only adverse event reports dated September 2000




52
  FDA, Mifepristone US. Post-Marketing Adverse Events Summary Through 6/30/2022, http://www.fda.gov/media/
164331/download.
53
 H.K. Atrash et al., Ectopic pregnancy concurrent with induced abortion: incidence and mortality, 162 AM. J.
OBSTETRICS GYN. 726 (1990).
54
     Id.
55
 Alisa B. Goldberg et al., Mifepristone and Misoprostol for Undesired Pregnancy of Unknown Location, 139
OBSTETRICS GYN. 771, 775 (2022).



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                                                                                                     23-10362.4359
      Case: 23-10362   Document: 223 Page: 137                               Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                            Page 54 of 67 PageID 4476



to February 2019. 56 That study noted 20 deaths, 529 life-threatening events, and 1,957 severe

adverse events before concluding that a pre-abortion ultrasound “should be required to rule out

ectopic pregnancy and confirm gestational age.” 57

           The record confirms FDA once shared these concerns. After all, many tragedies could be

avoided by auditing physician qualifications and requiring ultrasounds. In 1996, the FDA

Advisory Committee expressed to the Population Council “serious reservations” on how the drugs

were described “in terms of assuring safe and adequate credentialing of providers.” ECF No. 1-14

at 51. Population Council initially committed to conducting post-approval studies in 1996, and

FDA reiterated these requirements mere months before the September 2000 approval. See ECF

No. 1-24 at 6 (“We remind you of your commitments dated September 16, 1996, to perform the . . .

Phase 4 studies.”). Those protocols would have required, inter alia, that the Population Council:

(1) assess the long-term effects of multiple uses of mifepristone; (2) ascertain the frequency with

which women follow the regimen and outcomes of those that do not; (3) study the safety and

efficacy of chemical abortion in girls under the age of eighteen; and (4) ascertain the regimen’s

effects on children born after treatment failure. 58 ECF No. 1-28 at 32.




56
     Aultman et al., supra note 44.

57
     Id.
58
   See 153 Cong. Rec. S5765 (daily ed. May 9, 2007) (statement of Sen. Coburn) (“I recently learned of a woman
who was given RU-486 after she had a seizure. Her physicians assumed that the seizure was life-threatening to the
baby she was carrying and gave her RU-486 for a therapeutic abortion. RU–486 was not effective in her case and the
woman carried the baby to term. When the baby was born at a low birth weight, it also suffered from failure to
thrive. That baby has had three subsequent brain surgeries due to hydrocephalus. The baby also suffers from
[idiopathic lymphocytic colitis] — an inflammatory disease of the colon, which is extremely rare in children. It is
clear that RU-486 not only is unsafe in women, but it is also not completely effective. And when it is not effective,
the results are devastating.”).


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                                                                                                         23-10362.4360
      Case: 23-10362   Document: 223 Page: 138                          Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                       Page 55 of 67 PageID 4477



           Similarly, on February 18, 2000 — months before chemical abortion approval — FDA

informed the Population Council that “adequate information ha[d] not been presented to

demonstrate that the drug, when marketed in accordance with the terms of distribution proposed,

is safe and effective for use as recommended.” ECF No. 1-24 at 6 (emphasis added). FDA then

stated the “restrictions on distribution will need to be amended.” Id. Accordingly, FDA informed

the Population Council that it would proceed under Subpart H — the only provision that could

implement the requisite restrictions on distribution. Id. But as explained above, that was the

improper regulation for the approval of chemical abortion. Regardless, the restrictions were

insufficient to ensure safe use.

           On June 1, 2000, FDA privately delivered to the Population Council a set of proposed

restrictions to rectify the safety issues. Said proposal required physicians who were: (1) “trained

and authorized by law” to perform surgical abortions; (2) trained in administering mifepristone

and treating adverse events; and (3) allowed “continuing access (e.g., admitting privileges) to a

medical facility equipped for instrumental pregnancy termination, resuscitation procedures, and

blood transfusion at the facility or [one hour’s] drive from the treatment facility.” See ECF No. 1-

14 at 53–54. When FDA’s proposal was leaked to the press, a political and editorial backlash

ensued. 59 In response, the Population Council rejected the proposal and repudiated the restrictions

the sponsor itself proposed in 1996 — what FDA deemed a “very significant change” in the

sponsor’s position. Id. at 50. Because “[t]he whole idea of mifepristone was to increase access,”

abortion advocates argued that restrictions on mifepristone “would effectively eliminate” the

drug’s “main advantage” and would “kill[] the drug.” 60


59
  Sheryl Gay Stolberg, FDA Adds Hurdles in Approval of Abortion Pill, THE NEW YORK TIMES (June 8, 2000),
https://www.nytimes.com/2000/06/08/us/fda-adds-hurdles-in-approval-of-abortion-pill.html.
60
     Id.


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                                                                                                 23-10362.4361
     Case: 23-10362   Document: 223 Page: 139                    Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                 Page 56 of 67 PageID 4478



          In September 2000, FDA abandoned its safety proposals and acquiesced to the objections

of the Population Council and Danco. Despite its “serious reservations” about mifepristone’s

safety, FDA approved a regimen that relied on a self-certification that a prescribing physician has

the ability to diagnose ectopic pregnancies. Id. at 51, 62; see also ECF No. 1-28 at 21 (“[W]e

concluded that there was no need for special certification programs or additional restrictions.”).

FDA later released the applicant entirely from its Phase 4 duties — twelve years after the 1996

commitment. ECF Nos. 1-24 at 6, 1-28 at 32; see also 21 C.F.R. § 314.510 (“Approval under this

section will be subject to the requirement that the applicant study the drug further, to verify and

describe its clinical benefit, where there is uncertainty . . . of the observed clinical benefit to

ultimate outcome. Postmarketing studies would usually be studies already underway.”) (emphasis

added).

          FDA must refuse to approve a drug if the agency determines there is “insufficient

information to determine whether such drug is safe for use” or a “lack of substantial evidence that

the drug will have the effect it purports or is represented to have” under the conditions of use in

the proposed label. 21 U.S.C. § 355(d)(4)–(5); see also 21 C.F.R. § 314.125(b). FDA is therefore

required to deny an NDA if it makes the exact findings FDA made in its 2000 review. “[A]n

agency’s decision to change course may be arbitrary and capricious if the agency ignores or

countermands its earlier factual findings without reasoned explanation for doing so.” F.C.C. v. Fox

Television Stations, Inc., 556 U.S. 502, 537 (2009). The agency must ordinarily “display awareness

that it is changing position,” and “must show that there are good reasons for the new policy.” Id.

at 515. And “if the agency’s decision was in any material way influenced by political concerns it

should not be upheld.” Earth Island Inst. v. Hogarth, 494 F.3d 757, 768 (9th Cir. 2007). FDA’s

only acknowledgments of its prior proposals were that “FDA and the applicant were not always in




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                                                                                        23-10362.4362
      Case: 23-10362   Document: 223 Page: 140                                Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                             Page 57 of 67 PageID 4479



full agreement about the distribution restrictions” and that fulfilling the Phase 4 commitments

“would not be feasible.” ECF No. 1-28 at 18, 32–33.

           The Court does not second-guess FDA’s decision-making lightly. But here, FDA

acquiesced on its legitimate safety concerns — in violation of its statutory duty — based on plainly

unsound reasoning and studies that did not support its conclusions. There is also evidence

indicating FDA faced significant political pressure to forego its proposed safety precautions to

better advance the political objective of increased “access” to chemical abortion — which was the

“whole idea of mifepristone.” 61 As President Clinton’s Secretary for Health & Human Services

(“HHS”) explained to the White House, it was FDA that arranged the meeting between the French

pharmaceutical firm — who owned the mifepristone patent rights — and the eventual drug sponsor

Population Council. The purpose of the FDA-organized meeting was “to facilitate an agreement

between those parties to work together to test [mifepristone] and file a new drug application.” ECF

No. 95 at 14. HHS also “initiated” another meeting “to assess how the United States Government”

— i.e., the Clinton Administration — “might facilitate successful completion of the negotiations”

between the French firm and the American drug sponsor to secure patent rights and eventual FDA

approval. Id. at 16. In fact, for their “negotiations [to be] successfully concluded,” the HHS

Secretary believed American pressure on the French firm was necessary. 62 Id.

           Whether FDA abandoned its proposed restrictions because of political pressure or not, one

thing is clear: the lack of restrictions resulted in many deaths and many more severe or life-


61
     Stolberg, supra note 59.
62
  See also Lars Noah, A Miscarriage in the Drug Approval Process?: Mifepristone Embroils the FDA in Abortion
Politics, 36 WAKE FOREST L. REV. 571, 576 (2001) (“The Clinton administration went to great lengths to bring
mifepristone into the United States. From pressuring the hesitant manufacturer to apply for approval, and utilizing a
specialized review procedure normally reserved for life-saving drugs, to imposing unusual restrictions on
distribution, and promising to keep the identity of the manufacturer a secret, the FDA’s approval process deviated
from the norm in several respects.”).



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                                                                                                          23-10362.4363
      Case: 23-10362   Document: 223 Page: 141                                 Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                              Page 58 of 67 PageID 4480



threatening adverse reactions. Due to FDA’s lax reporting requirements, the exact number is not

ascertainable. But it is likely far higher than its data indicate for reasons previously mentioned.

Whatever the numbers are, they likely would be considerably lower had FDA not acquiesced to

the pressure to increase access to chemical abortion at the expense of women’s safety.

FDA’s failure to insist on the inclusion of its proposed safety restrictions was not “the product of

reasoned decisionmaking.” State Farm, 463 U.S. at 52. To hold otherwise would be “tantamount

to abdicating the judiciary’s responsibility under the [APA] to set aside agency actions that are

‘arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law.’”

A.L. Pharma, Inc. v. Shalala, 62 F.3d 1484, 1491 (D.C. Cir. 1995) (quoting 5 U.S.C. § 706(2)(A)).

Finally, the 2000 Approval was also arbitrary and capricious because it violated Subpart H. 63

                  b. The 2016 Changes

         FDA made numerous substantial changes to the chemical abortion regimen in 2016. These

changes include but are not limited to: (1) eliminating the requirement for prescribers to report all

nonfatal serious adverse events; (2) extending the maximum gestational age from 49 days to 70

days; (3) eliminating the requirement that administration of misoprostol occurs in-clinic; (4)

removing the requirement for an in-person follow-up exam; and (5) allowing “healthcare

providers” other than physicians to dispense chemical abortion drugs. ECF No. 1 at 53–54.

Plaintiffs allege the 2016 Changes were also arbitrary and capricious “because none of the studies

on which FDA relied were designed to evaluate the safety and effectiveness of chemical abortion



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  As one scholar noted, “the agency took this route so that it could better justify imposing otherwise unauthorized
restrictions on the use and distribution of the drug.” See Noah, supra note 62, at 582. And “while agency action may
generally be ‘entitled to a presumption of regularity,’ here FDA itself acknowledges that its action has not been
regular: it failed to respond to the Citizen Petition for years.” Bayer, 942 F. Supp. 2d at 25 (internal marks omitted).
At the hearing, Defendants’ leading argument for Subpart H was that “none of it really matters” because of the
FDAAA. See ECF No. 136 at 100. “This is not the argument of an agency that is confident in the legality of its
actions.” ECF No. 100 at 15.



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                                                                                                            23-10362.4364
      Case: 23-10362   Document: 223 Page: 142                       Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                    Page 59 of 67 PageID 4481



drugs for use under the conditions prescribed, recommended, or suggested in the proposed

labeling.” ECF No. 7 at 24.

           For similar reasons as the 2000 Approval, the Court agrees. Unlike the crucial studies FDA

relied upon to extend the maximum gestational age, change the dosing regimen, and authorize a

repeat dose of misoprostol, the labeling approved by FDA in 2016 did not require: (1) an

ultrasound; (2) an in-person follow-up exam; or (3) the ability of abortionists to personally perform

a surgical abortion if necessary. Id. Simply put, FDA built on its already-suspect 2000 Approval

by removing even more restrictions related to chemical abortion drugs that were present during the

final phase of the investigation. And it did so by relying on studies that included the very conditions

FDA refused to adopt. 64 None of the studies compared the safety of the changes against the then-

current regimen, nor under the labeled conditions of use. Moreover, FDA shirked any

responsibility for the consequences of its actions by eliminating any requirement that non-fatal

adverse events be reported. Thus, FDA took its chemical abortion regimen — which had already

culminated in thousands of adverse events suffered by women and girls — and removed what little

restrictions protected these women and girls, systematically ensuring that almost all new adverse

events would go unreported or underreported.

           Defendants aver that “Plaintiffs point to no statutory provision requiring the conditions of

use in a drug’s approved labeling to duplicate the protocol requirements used in the studies

supporting its approval.” ECF No. 28 at 32. “The [FFDCA] thus requires FDA to apply its

scientific expertise in determining whether a drug has been shown to be safe and effective under

particular conditions of use, and the application of that expertise is owed substantial deference.”

Id. But FDA does not have unfettered discretion to approve dangerous drugs under substantially



64
     See ECF No. 1-35.


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                                                                                            23-10362.4365
     Case: 23-10362   Document: 223 Page: 143                     Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                  Page 60 of 67 PageID 4482



different conditions than the tests, trials, and studies cited. To be clear, the Court does not hold

that any difference between approval conditions and testing conditions — no matter how well-

justified — means the approval fails as a matter of law. But the agency “must cogently explain

why it has exercised its discretion in a given manner,” and that explanation must be “sufficient to

enable [the Court] to conclude that the [agency’s action] was the product of reasoned

decisionmaking.” A.L. Pharma, 62 F.3d at 1491 (quoting State Farm, 463 U.S. at 52). Defendants

have not done so here. FDA’s 2016 Actions were not the product of reasoned decision-making.

               c. The 2019 Generic Approval

       The FFDCA allows a generic drug manufacturer to submit an ANDA for premarket review

and approval. 21 U.S.C. § 355(j); 21 C.F.R. § 314.94. The generic sponsor must show that: (1) the

conditions of use prescribed, recommended, or suggested in the labeling have been previously

approved; and (2) the drug product is chemically the same as the already approved drug —

allowing it to rely on FDA’s previous finding of safety and effectiveness for the approved drug.

Id. On April 11, 2019, FDA approved GenBioPro, Inc.’s ANDA for a generic version of

mifepristone. ECF No. 7 at 10. In doing so, FDA relied on Mifeprex’s safety data. Id.

       Plaintiffs argue the 2019 Approval was unlawful because FDA relied on the unlawful 2000

Approval and its unlawful 2016 Changes when approving generic mifepristone. ECF No. 7 at 27.

If FDA withdraws the listed drug on which the ANDA-approved generic drug is based, the agency

is generally required to withdraw the generic drug as well. 21 U.S.C. § 355(j)(6); 21 C.F.R. §

314.151. Because the Court agrees that Plaintiffs have a substantial likelihood of success in their

challenges to the 2000 and 2016 Actions, the Court is inclined to agree with Plaintiffs on this claim

as well.




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                                                                                          23-10362.4366
      Case: 23-10362   Document: 223 Page: 144                            Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                         Page 61 of 67 PageID 4483



        E. There Is a Substantial Threat of Irreparable Harm

        To satisfy the second element of the preliminary injunction standard, Plaintiffs “must

demonstrate that if the district court denied the grant of a preliminary injunction, irreparable harm

would result.” Janvey, 647 F.3d at 600 (internal marks omitted). “In general, a harm is irreparable

where there is no adequate remedy at law, such as monetary damages.” Id. (internal marks

omitted). “When determining whether injury is irreparable, it is not so much the magnitude but the

irreparability that counts.” Texas v. U.S. Env’t Prot. Agency, 829 F.3d 405, 433–34 (5th Cir. 2016)

(internal marks omitted). Where “the likelihood of success on the merits is very high, a much

smaller quantum of injury will sustain an application for preliminary injunction.” Mova Pharm.

Corp. v. Shalala, 955 F. Supp. 128, 131 (D.D.C. 1997), aff’d, 140 F.3d 1060 (D.C. Cir. 1998)

(citing Cuomo v. U.S. Nuclear Regul. Comm’n, 772 F.2d 972, 974 (D.C.Cir. 1985) (per curiam)).

Plaintiffs’ Motion satisfies this standard.

        For reasons already stated, Plaintiffs are likely to suffer irreparable harm if the Motion is

not granted. At least two women died from chemical abortion drugs just last year. See ECF No.

120 at 30 n.5; 65 Deerfield Med. Ctr. v. City of Deerfield Beach, 661 F.2d 328, 338 (5th Cir. 1981)

(finding irreparable harm to third-party pregnant women). “The physical and emotional trauma

that chemical abortion inflicts on women and girls cannot be reversed or erased.” ECF No. 7 at 28;

see also E.E.O.C. v. Chrysler Corp., 733 F.2d 1183, 1186 (6th Cir. 1984) (affirming irreparable

harm for plaintiffs’ “emotional distress”). “The crucial time that doctors need to treat these injured

women and girls cannot be replaced.” Id. “The mental and monetary costs to these doctors cannot

be repaid.” Id. “And the time, energy and resources that Plaintiff medical associations expend in



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  One of those women was reportedly twenty-one weeks pregnant, which is well past the cutoff for gestational age
even after the 2016 Changes. See id. The other maternal death occurred while the woman was seven weeks pregnant,
which falls within FDA’s current restrictions. Id.


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                                                                                                    23-10362.4367
      Case: 23-10362   Document: 223 Page: 145                             Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                          Page 62 of 67 PageID 4484



response to FDA’s actions on chemical abortion drugs cannot be recovered.” Id.; see also

Whitman-Walker Clinic, Inc. v. U.S. Dep’t of Health & Hum. Servs., 485 F. Supp. 3d 1, 56 (D.D.C.

2020) (obstacles that make it more difficult for an organization to accomplish its mission provide

injury for both standing and irreparable harm).

        Defendants’ respond that the drugs at issue have been on the market for more than twenty

years. ECF No. 28 at 41. This argument ignores that many restrictions and safeguards — which

no longer exist — were in place for most of that time. Defendants also argue “Plaintiffs’ extreme

delay” in filing suit shows they face no irreparable harm. Id. at 42. But the time between the

allegedly unlawful actions and the filing of a suit “is not determinative” of whether relief should

be granted. Boire v. Pilot Freight Carriers, Inc., 515 F.2d 1185, 1193 (5th Cir. 1975). Here, eleven

months does not constitute an “extreme” delay. See, e.g., Optimus Steel, LLC v. U.S. Army Corps

of Eng’rs, 492 F. Supp. 3d 701, 720 (E.D. Tex. 2020) (eleven-month delay did not militate against

equitable relief because “the Court can presume that Plaintiff needed ample time to evaluate its

claims”). 66 “[T]emporary injunctive relief may still be of great value to protect against ongoing

harms, even if the initial harm is in the distant past.” N.L.R.B. v. Hartman & Tyner, Inc., 714 F.3d

1244, 1252 (11th Cir. 2013).

        The Court also disagrees that Plaintiffs’ theories of injury “are too speculative to even show

standing.” ECF No. 28 at 42. Plaintiffs have credibly alleged past and future harm resulting from

the removal of restrictions for chemical abortion drugs. “Although a court’s analysis of likelihood

of success in the context of an injunctive relief request is governed by the deferential APA’s

arbitrary and capricious standard, a court does not always owe deference to federal agencies’

positions concerning irreparable harm, balance of hardships, or public interest.” San Luis & Delta-


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 To clarify, the eleven months referenced here is the approximate time between FDA’s “final agency action” in the
December 2021 Denial of the 2019 Petition and the commencement of this case.


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                                                                                                     23-10362.4368
      Case: 23-10362   Document: 223 Page: 146                        Date Filed: 04/26/2023
 Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                     Page 63 of 67 PageID 4485



Mendota Water Auth. v. Jewell, 969 F. Supp. 2d 1211, 1215 (E.D. Cal. 2013); see also R.J.

Reynolds Vapor Co. v. FDA, No. 23-60037 (5th Cir. Mar. 23, 2023) 67 (noting FDA’s public interest

argument was “obviously colored by the FDA’s view of the merits”); Sierra Forest Legacy v.

Sherman, 646 F.3d 1161, 1186 (9th Cir. 2011) (“If the federal government’s experts were always

entitled to deference concerning the equities of an injunction, substantive relief against federal

government policies would be nearly unattainable, as government experts will likely attest that the

public interest favors the federal government’s preferred policy.”).

           F. Preliminary Injunction Would Serve the Public Interest

           The third and fourth factors — assessing the harm to the opposing party and weighing the

public interest — “merge when the Government is the opposing party.” Nken v. Holder, 556 U.S.

418, 435 (2009). “[T]he public interest weighs strongly in favor of preventing unsafe drugs from

entering the market.” Hill Dermaceuticals, 524 F. Supp. 2d at 12. “[T]here is generally no public

interest in the perpetuation of unlawful agency action.” State v. Biden, 10 F.4th 538, 560 (5th Cir.

2021) (internal marks omitted). And “there is a strong public interest in meticulous compliance

with the law by public officials.” Fund for Animals, Inc. v. Espy, 814 F. Supp. 142, 152 (D.D.C.

1993); see also State v. Biden, 10 F.4th at 559. “Indeed, the Constitution itself declares a prime

public interest that the President and, by necessary inference, his appointees in the Executive

Branch ‘take Care that the Laws be faithfully executed.’” Id. (internal marks omitted).

Additionally, Defendants’ actions harm States’ efforts to regulate chemical abortion “in the

interests of life, health, and liberty.” ECF No. 100 at 21. “The Court appreciates FDA’s

institutional interest but, given its long-standing disregard of [Plaintiffs’] Citizen Petition[s], its

argument has a hollow center.” Bayer HealthCare, 942 F. Supp. 2d at 26. To the extent Defendants



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     https://www.ca5.uscourts.gov/opinions/pub/23/23-60037-CV0.pdf.


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                                                                                            23-10362.4369
     Case: 23-10362   Document: 223 Page: 147                      Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                   Page 64 of 67 PageID 4486



and third parties would be harmed by an injunction, the Court still balances these factors in favor

of ensuring that women and girls are protected from unnecessary harm and that Defendants do not

disregard federal law.

       For these reasons, a preliminary injunction would serve the public interest.

Defendants maintain that unaborted children of the women “who seek but are unable to obtain an

abortion” are “expected to do worse in school,” “to have more behavioral and social issues, and

ultimately to attain lower levels of completed education.” ECF No. 28-2 at 7. “They are also

expected to have lower earnings as adults, poorer health, and an increased likelihood of criminal

involvement.” Id. But “[u]sing abortion to promote eugenic goals is morally and prudentially

debatable.” Planned Parenthood of Ind. & Ky., Inc. v. Comm’r of Ind. State Dep’t of Health, 917

F.3d 532, 536 (7th Cir. 2018) (Easterbrook, J., dissenting); see also Box v. Planned Parenthood of

Ind. & Ky., Inc., 139 S. Ct. 1780, 1790 (2019) (Thomas, J., concurring) (“[A]bortion has proved

to be a disturbingly effective tool for implementing the discriminatory preferences that undergird

eugenics.”). Though eugenics were once fashionable in the Commanding Heights and High Court,

they hold less purchase after the conflict, carnage, and casualties of the last century revealed the

bloody consequences of Social Darwinism practiced by would-be Übermenschen. Cf. Buck v. Bell,

274 U.S. 200, 207 (1927) (“It is better for all the world, if instead of waiting to execute degenerate

offspring for crime, or to let them starve for their imbecility, society can prevent those who are

manifestly unfit from continuing their kind. The principle that sustains compulsory vaccination is

broad enough to cover cutting the Fallopian tubes.”).

       Defendants are correct that one purpose of injunctive relief is to preserve the status quo.

See, e.g., City of Dallas v. Delta Air Lines, Inc., 847 F.3d 279, 285 (5th Cir. 2017). But the “status

quo” to be restored is “the last peaceable uncontested status existing between the parties before the




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                                                                                           23-10362.4370
     Case: 23-10362   Document: 223 Page: 148                        Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                     Page 65 of 67 PageID 4487



dispute developed.” Texas v. Biden, No. 2:21-CV-067-Z, 2022 WL 17718634, at *9 (N.D. Tex.

Dec. 15, 2022) (internal marks omitted); see also Texas v. United States, 40 F.4th 205, 220 (5th

Cir. 2022) (the relevant status quo is the one “absent the unlawful agency action”); Wages & White

Lion, 16 F.4th at 1144 (“In other words, ‘the relief sought here would simply suspend

administrative alteration of the status quo.’”) (quoting Nken, 556 U.S. at 430 n.1); Callaway, 489

F.2d at 576 (“If the currently existing status quo itself is causing one of the parties irreparable

injury, it is necessary to alter the situation so as to prevent the injury.”). “[P]arties could otherwise

have no real opportunity to seek judicial review except at their peril.” Mila Sohoni, The Power to

Vacate a Rule, 88 GEO. WASH. L. REV. 1121, 1157–58 (2020). Chemical abortion is only the status

quo insofar as Defendants’ unlawful actions and their delay in responding to Plaintiffs’ petitions

have made it so. The fact that injunctive relief could upset this “status quo” is therefore an

insufficient basis to deny injunctive relief.

        G. A Stay Under Section 705 of the APA Is More Appropriate Than Ordering
           Withdrawal or Suspension of FDA’s Approval

        The Motion asks for injunctive relief but goes as far as requesting the Court to order

Defendants to “withdraw or suspend the approvals of chemical abortion drugs, and remove them

from the list of approved drugs.” ECF No. 7 at 7. Singular equitable relief is “commonplace” in

APA cases and is often “necessary to provide the plaintiffs” with “complete redress.” E. Bay

Sanctuary Covenant v. Biden, 993 F.3d 640, 681 (9th Cir. 2021) (internal marks omitted).

Although the Court finds Plaintiffs have a substantial likelihood of prevailing on the merits, the

Court instead exercises its authority under the APA to order less drastic relief. Section 705 of the

APA provides:




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                                                                                              23-10362.4371
     Case: 23-10362   Document: 223 Page: 149                        Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                     Page 66 of 67 PageID 4488



        When an agency finds that justice so requires, it may postpone the effective date of
        action taken by it, pending judicial review. On such conditions as may be required
        and to the extent necessary to prevent irreparable injury, the reviewing court,
        including the court to which a case may be taken on appeal from or on application
        for certiorari or other writ to a reviewing court, may issue all necessary and
        appropriate process to postpone the effective date of an agency action or to
        preserve status or rights pending conclusion of the review proceedings.

5 U.S.C. § 705 (emphasis added).

        The Fifth Circuit has acknowledged “meaningful differences between an injunction, which

is a ‘drastic and extraordinary remedy,’ and vacatur, which is ‘a less drastic remedy.’” Texas v.

Biden, 2022 WL 17718634 at *7 (quoting Texas v. United States, 40 F.4th at 219). Whereas an

injunction “tells someone what to do or not to do,” a vacatur only reinstates “the status quo absent

the unlawful agency action and neither compels nor restrains further agency decision-making.” Id.

(internal marks omitted). A Section 705 stay can “be seen as an interim or lesser form of vacatur

under Section 706.” Id. “Just as a preliminary injunction is often a precursor to a permanent

injunction, a stay under Section 705 can be viewed as a precursor to vacatur under Section 706.”

Id.; see also Nken, 556 U.S. at 428–29 (a stay “temporarily suspend[s] the source of authority to

act — the order or judgment in question — not by directing an actor’s conduct”). “Motions to stay

agency action pursuant to [Section 705] are reviewed under the same standards used to evaluate

requests for interim injunctive relief.” Id. at *10 (citing Affinity Healthcare Servs., Inc. v. Sebelius,

720 F. Supp. 2d 12, 15 n.4 (D.D.C. 2010)); see also Nken, 556 U.S. at 434; Texas v. U.S. Env’t

Prot. Agency, 829 F.3d at 435. Because the Court finds injunctive relief is generally appropriate,

Section 705 plainly authorizes the lesser remedy of issuing “all necessary and appropriate process”

to postpone the effective date of the challenged actions. “Courts — including the Supreme Court

— routinely stay already-effective agency action under Section 705.” Id. at *8 (emphasis added)

(collecting cases).




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                                                                                              23-10362.4372
     Case: 23-10362   Document: 223 Page: 150                    Date Filed: 04/26/2023
Case 2:22-cv-00223-Z Document 137 Filed 04/07/23                 Page 67 of 67 PageID 4489



       Accordingly, the Court hereby STAYS the effective date of FDA’s September 28, 2000,

Approval of mifepristone and all subsequent challenged actions related to that approval — i.e., the

2016 Changes, the 2019 Generic Approval, and the 2021 Actions. This Court acknowledges that

its decision in Texas v. Biden has been appealed to the Fifth Circuit. See 2:21-CV-067-Z, ECF No.

184 (Feb. 13, 2023). If the Fifth Circuit reverses this Court’s Section 705 analysis, the Court

clarifies that it alternatively would have ordered Defendants to suspend the chemical abortion

approval and all subsequent challenged actions related to that approval until the Court can render

a decision on the merits.

       CONCLUSION

       For the foregoing reasons, the Court GRANTS the Motion IN PART. FDA’s approval of

mifepristone is hereby STAYED. The Court STAYS the applicability of this opinion and order

for seven (7) days to allow the federal government time to seek emergency relief from the United

States Court of Appeals for the Fifth Circuit.

       SO ORDERED.

       April 7, 2023

                                                      ________________________________
                                                      MATTHEW J. KACSMARYK
                                                      UNITED STATES DISTRICT JUDGE




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                                                                                        23-10362.4373
Case: 23-10362     Document: 223   Page: 151   Date Filed: 04/26/2023




                             TAB 5
                 Fifth Circuit Stay Decision
 Case:
    Case:
       23-10362
           23-10362Document:
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                             00516710351
                                223 Page: Page:
                                            152 1DateDate
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                                                             04/26/2023
                                                                 04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 1 of 42 PageID 4494




            United States Court of Appeals
                 for the Fifth Circuit
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                                 No. 23-10362
                               ____________

    Alliance for Hippocratic Medicine; American
    Association of Pro-Life Obstetricians &
    Gynecologists; American College of Pediatricians;
    Christian Medical & Dental Associations; Shaun
    Jester, D.O.; Regina Frost-Clark, M.D.; Tyler Johnson,
    D.O.; George Delgado, M.D.,

                                                       Plaintiffs—Appellees,

                                    versus

    Food & Drug Administration; Robert M. Califf,
    Commissioner of Food and Drugs; Janet Woodcock, M.D., in her
    official capacity as Principal Deputy Commissioner, U.S. Food and Drug
    Administration; Patrizia Cavazzoni, M.D., in her official capacity as
    Director, Center for Drug Evaluation and Research, U.S. Food and Drug
    Administration; United States Department of Health and
    Human Services; Xavier Becerra, Secretary, U.S. Department of
    Health and Human Services,

                                                    Defendants—Appellants,

                                    versus

    Danco Laboratories, L.L.C.,

                                                      Intervenor—Appellant.




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       23-10362
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                                                                 04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 2 of 42 PageID 4495
                                           No. 23-10362


                      ______________________________

                      Appeal from the United States District Court
                          for the Northern District of Texas
                                USDC No. 2:22-CV-223
                      ______________________________

                                UNPUBLISHED ORDER
    Before Haynes, ∗ Engelhardt, and Oldham, Circuit Judges.
    Per Curiam:
            For the reasons given below, IT IS ORDERED that defendants’
    motions for a stay pending appeal are GRANTED IN PART. At this
    preliminary stage, and based on our necessarily abbreviated review, it appears
    that the statute of limitations bars plaintiffs’ challenges to the Food and Drug
    Administration’s approval of mifepristone in 2000. In the district court,
    however, plaintiffs brought a series of alternative arguments regarding
    FDA’s actions in 2016 and subsequent years. And the district court
    emphasized that its order separately applied to prohibit FDA’s actions in and
    after 2016 in accordance with plaintiffs’ alternative arguments. As to those
    alternative arguments, plaintiffs’ claims are timely. Defendants have not
    shown that plaintiffs are unlikely to succeed on the merits of their timely
    challenges. For that reason, and as more fully explained below, defendants’
    motions for a stay pending appeal are DENIED IN PART. Defendants’
    alternative motions for an administrative stay are DENIED AS MOOT.
    Plaintiffs’ motion to dismiss the appeal is DENIED. The appeal is
    EXPEDITED to the next available Oral Argument Calendar.


            _____________________
            ∗
               Judge Haynes concurs only in part: she concurs in the grant of the expedited
    appeal and the denial of the motion to dismiss. With respect to the request for a stay of the
    district court’s order, as a member of the motions panel, she would grant an administrative
    stay for a brief period of time and defer the question of the stay pending appeal to the oral
    argument merits panel which receives this case.




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 3 of 42 PageID 4496


                                     No. 23-10362


                                          I.
                                         A.
           Congress delegated to the Food and Drug Administration (“FDA”)
    the responsibility to ensure that “new drugs” are “safe and effective.” 21
    U.S.C. §§ 321(p), 355; see also id. § 393(b)(2)(B). When making its approval
    determination, FDA evaluates whether a new drug application (“NDA”)
    includes scientific evidence demonstrating that the drug is safe and effective
    for its intended uses. Id. § 355(d); see also 21 C.F.R. §§ 314.50, 314.105(c).
    Similarly, when a sponsor submits a supplemental new drug application
    (“SNDA”) proposing changes to the conditions of approval for a drug (such
    as changes to a drug’s labeling or FDA-imposed restrictions), FDA reviews
    the scientific evidence to support the changes. See 21 C.F.R. § 314.70. To
    approve a generic version of a previously approved drug, FDA reviews
    whether an abbreviated new drug application (“ANDA”) contains
    information showing that the proposed generic drug is materially the “same”
    as the approved drug. 21 U.S.C. § 355(j)(2).
           In 1992, FDA promulgated the so-called “Subpart H” regulations.
    Subpart H accelerates approval of drugs “that have been studied for their
    safety and effectiveness in treating serious or life-threatening illnesses and
    that provide meaningful therapeutic benefit to patients over existing
    treatments (e.g., ability to treat patients unresponsive to, or intolerant of,
    available therapy, or improved patient response over available therapy).” 21
    C.F.R. § 314.500. Originally, Subpart H was intended to promote rapid
    approval for life-saving HIV-AIDS drugs. But given that Subpart H approvals
    were accelerated, FDA recognized that it would need post-approval safety
    measures. These post-approval safety measures would “assure safe use” of
    the quickly approved Subpart H drugs. Id. § 314.520. In 2007, Congress
    ratified these post-approval safety measures as “risk evaluation and




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                                                                 04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 4 of 42 PageID 4497


                                         No. 23-10362


    mitigation strategies” (“REMS”), which “ensure that the benefits of the
    drug outweigh the risks.” 21 U.S.C. § 355-1(a)(1)–(2).
                                              B.
           In 2000, FDA approved mifepristone to be marketed with the brand
    name Mifeprex under Subpart H (the “2000 Approval”). See 21 C.F.R.
    § 314.500; FDA Add. 181. 1 In the 2000 Approval, FDA concluded that
    pregnancy is a “life-threatening illness,” triggering an accelerated approval
    of mifepristone under Subpart H. FDA Add. 186. FDA also concluded that a
    variety of post-approval restrictions on Mifeprex were required “to assure
    safe use.” 21 C.F.R. § 314.520. As noted in the previous section, today we
    call such post-approval restrictions “REMS.” The 2000 Approval imposed
    several REMS, including: (1) limiting the drug to pregnant women and girls
    for use through 49 days gestation; (2) requiring three in-person office visits,
    the first to administer mifepristone, the second to administer misoprostol,
    and the third to assess any complications and ensure there were no fetal
    remains in the womb; (3) requiring the supervision of a qualified physician;
    and (4) requiring the reporting of all adverse events from the drugs. FDA
    Add. 181–91. FDA granted Danco Laboratories, LLC, an exclusive license to
    manufacture, market, and distribute Mifeprex in the United States. FDA
    Add. 109.
            In 2002, two of the plaintiff associations in this case filed a citizen
    petition challenging the 2000 Approval (the “2002 Citizen Petition”). See
    21 C.F.R. § 10.25(a); PI App. 280–375. Roughly fourteen years later, FDA
    denied the 2002 Citizen Petition (the “2016 Petition Denial”). FDA Add.

           _____________________
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             Citations to the addendum to FDA’s emergency motion for a stay pending appeal
    are denoted “FDA Add.” Citations to the appendix to plaintiffs’ motion for a preliminary
    injunction are denoted “PI App.”




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                                                             04/26/2023
                                                                 04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 5 of 42 PageID 4498


                                     No. 23-10362


    804–36. And on the very same day in March 2016, FDA approved several
    major changes to mifepristone’s approved conditions of use, including its
    REMS. Specifically, FDA removed four of the original safety restrictions by
    (1) increasing the maximum gestational age at which a woman can use the
    drug from 49 to 70 days; (2) reducing the number of required in-person office
    visits from three to one; (3) allowing non-doctors to prescribe and administer
    the chemical abortions drugs; and (4) eliminating the requirement for
    prescribers to report non-fatal adverse events from chemical abortion (the
    “2016 Major REMS Changes”). FDA Add. 777–802.
           In March 2019, one of the plaintiff associations filed a second citizen
    petition challenging the 2016 Major REMS Changes (the “2019 Citizen
    Petition”). FDA Add. 192–217. That petition asked FDA to “restore” the
    2000 Approval’s REMS and “retain” a requirement that mifepristone be
    dispensed to patients in person. FDA Add. 192.
           In April 2019, FDA approved GenBioPro, Inc’s ANDA for a generic
    version of mifepristone (the “2019 Generic Approval”). PI App. 694–708.
    GenBioPro’s generic version of mifepristone has the same labeling and
    REMS requirements as Danco’s Mifeprex.
           In April 2021, FDA announced that it would “exercise enforcement
    discretion” to allow “dispensing mifepristone through the mail . . . or
    through a mail-order pharmacy” during the COVID-19 pandemic (the “2021
    Mail-Order Decision”). PI App. 713–15. FDA took this action in response to
    a letter from the American College of Obstetricians and Gynecologists and
    the Society for Maternal-Fetal Medicine. PI App. 710–11.
           Later that year, in December 2021, FDA denied almost all of the 2019
    Citizen Petition (the “2021 Petition Denial”). FDA Add. 837–76. In
    particular, FDA expressly rejected the 2019 Citizen Petition’s request to
    keep the in-person dispensing requirements and announced that the agency




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    Case:
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                                                                 04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 6 of 42 PageID 4499


                                        No. 23-10362


    had concluded that “the in-person dispensing requirement is no longer
    necessary.” FDA Add. 842.
             Finally, in January 2023, FDA approved a modified REMS for
    mifepristone lifting the in-person dispensing requirement. See REMS Single
    Shared System for Mifepristone 200 mg (Jan. 2023), https://perma.cc/MJT5-
    35LF (the “2023 Mail-Order Decision”). 2
                                              C.
             In November 2022, plaintiffs (physicians and physician organizations)
    filed this suit against FDA, HHS, and a several agency heads in the official
    capacities. Plaintiffs first challenged FDA’s 2000 Approval of the drug. But
    they also requested multiple grounds of alternative relief for FDA’s
    subsequent actions. Immediately after filing, plaintiffs moved for a
    preliminary injunction ordering FDA to withdraw or suspend (1) FDA’s
    2000 Approval and 2019 Generic Approval, (2) FDA’s 2016 Major REMS
    Changes, and (3) FDA’s 2021 Mail-Order Decision and its 2021 Petition
    Denial of the 2019 Citizen Petition. If that’s confusing, we hope this chart
    helps:




             _____________________
             2
              Danco suggests the 2023 Mail-Order Decision moots part of plaintiffs’ claims.
    See Danco Stay App. 22. We disagree. The Supreme Court has explicitly instructed this
    court to review a new agency action finalized after litigation commenced and while the
    appeal was pending because this decision was a “final agency action” for purposes of 5
    U.S.C. § 704. Biden v. Texas, 142 S. Ct. 2528, 2544-45 (2022) (quotation omitted).




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    Case:
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           23-10362Document:
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                                                             04/26/2023
                                                                 04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 7 of 42 PageID 4500


                                   No. 23-10362


            Event             Citation                Description
                                              Approved mifepristone with
                                              these REMS: (1) pregnancies
                                              under 50 days gestation;
     2000 Approval     FDA Add. 181–91        (2) three in-person office visits;
                                              (3) supervision of a qualified
                                              physician; and (4) reporting of
                                              all adverse events
     2002 Citizen                             Plaintiffs’ challenge to 2000
                       PI App. 280–375
     Petition                                 Approval
     2016 Petition                            FDA denial of 2002 Citizen
                       FDA Add. 804–36
     Denial                                   Petition
                                              FDA changed four of the 2000
                                              Approval’s REMS:
                                              (1) increased maximum
                                              gestational age to 70 days;
     2016 Major                               (2) reduced required in-person
                       FDA Add. 768, 777–802
     REMS Changes                             office visits to one; (3) allowed
                                              non-doctors to prescribe and
                                              administer mifepristone; and
                                              (4) eliminated reporting of non-
                                              fatal adverse events
     2019 Citizen                             Plaintiffs’ challenge to 2016
                       FDA Add. 192–217
     Petition                                 Major REMS Changes
                                              FDA ANDA Approval Letter
     2019 Generic
                       PI App. 694–708        for mifepristone generic to
     Approval
                                              GenBioPro, Inc.
                                              FDA announces “enforcement
                                              discretion” to allow
     2021 Mail-Order
                       PI App. 713–15         mifepristone to be dispensed
     Decision
                                              through the mail during
                                              COVID-19
                                              FDA denial of almost all of the
                                              2019 Citizen Petition, including
     2021 Petition
                       FDA Add. 837–76        plaintiffs’ request to keep the
     Denial
                                              in-person dispensing
                                              requirements
     2023 Mail-Order   https://perma.cc/MJT5- FDA permanently removed the
     Decision          35LF                   in-person dispensing REMS




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 8 of 42 PageID 4501


                                           No. 23-10362


            On April 7, 2023, the district court entered an order staying the
    effective date of the 2000 Approval and each of the subsequent challenged
    actions. 3 The district court stayed its own order for seven days to allow the
    defendants time to appeal.
                                                 II.
            FDA and Danco (“stay applicants” or “applicants”) ask us to stay
    the district court’s order pending appeal. Our power to grant a stay is
    inherent. See In re McKenzie, 180 U.S. 536, 551 (1901); Scripps-Howard Radio
    v. FCC, 316 U.S. 4, 10–14 (1942). It’s also statutory. See Fed. R. App. P.
    8; 28 U.S.C. § 1651; 5th Cir. R. 27.3; see also 16A Charles Alan
    Wright & Arthur R. Miller, Federal Practice &
    Procedure § 3954 (5th ed. Apr. 2022 update).
            But we grant stays “only in extraordinary circumstances.” Williams v.
    Zbaraz, 442 U.S. 1309, 1311 (1979) (Stevens, J., in chambers); see also Graves
    v. Barnes, 405 U.S. 1201, 1203 (1972) (Powell, J., in chambers) (same);
    Ruckelshaus v. Monsanto Co., 463 U.S. 1315, 1316 (1983) (Blackmun, J., in
    chambers) (same). This rule reflects the fact that “a stay is not a matter of
    right, even if irreparable injury might otherwise result.” Virginian Ry. Co. v.
    United States, 272 U.S. 658, 672 (1926). Instead, a stay requires “an exercise
    of judicial discretion.” Ibid. A “decree creates a strong presumption of its
    own correctness,” which often counsels against a stay. Id. at 673.

            _____________________
            3
               As both parties recognize, this order would have the practical effect of an
    injunction because it would remove mifepristone from the market. Plaintiffs filed a motion
    to dismiss applicants’ appeal on the theory that § 705 stays are not sufficient to trigger our
    interlocutory appellate jurisdiction under 28 U.S.C. § 1292(a). We disagree. See Abbott v.
    Perez, 138 S. Ct. 2305, 2319–20 (2018) (explaining that the “practical effect” test of 28
    U.S.C. §§ 1292(a)(1) and 1293 “prevents [the] manipulation” that could occur “if the
    availability of interlocutory review depended on the district court’s use of the term
    ‘injunction’”).




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                                                             04/26/2023
                                                                 04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 9 of 42 PageID 4502


                                      No. 23-10362


           The Supreme Court has prescribed “four traditional stay factors”
    that govern this equitable discretion in most civil cases. Ala. Ass’n of Realtors
    v. HHS, 141 S. Ct. 2485, 2487 (2021) (quotation omitted); see also Hilton v.
    Braunskill, 481 U.S. 770, 776–77 (1987); Rose v. Raffensperger, 143 S. Ct. 58,
    59 (2022) (reversing stay of an injunction after the court of appeals failed to
    analyze the traditional stay factors). Those factors are:
           (1) whether the stay applicant has made a strong showing that
           he is likely to succeed on the merits; (2) whether the applicant
           will be irreparably injured absent a stay; (3) whether issuance
           of the stay will substantially injure the other parties interested
           in the proceeding; and (4) where the public interest lies.
    Nken v. Holder, 556 U.S. 418, 426 (2009) (quoting Hilton, 481 U.S. at 776);
    see also Whole Woman’s Health v. Jackson, 141 S. Ct. 2494, 2495 (2021).
    Although no factor is dispositive, the likelihood of success and irreparable
    injury factors are “the most critical.” Nken, 556 U.S. at 434. Success on
    either factor requires that the stay seeker make a strong not merely
    “possib[le]” showing. Ibid.
           In these respects, stays might appear identical to preliminary
    injunctions. Similar factors govern both and both require an “extraordinary”
    deployment of judicial discretion. Winter v. Nat. Res. Def. Council, 555 U.S.
    7, 24 (2008). But the two are not “one and the same.” Nken, 556 U.S. at 434.
    A stay “operates upon the judicial proceeding itself,” not on the conduct of
    a particular actor. Id. at 428. And, once one party has won an injunction,
    proof burdens reverse. It is the enjoined party who seeks a stay, or FDA and
    Danco here, who must carry the burden of proving that the Nken factors
    command us to issue one. See Landis v. N. Am. Co., 299 U.S. 248, 255 (1936).
           If the stay applicants show that circumstances require a stay of some
    but not all of the district court’s order, we may, in our discretion, “tailor a
    stay so that it operates with respect to only some portion of the proceeding.”




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                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 10 of 42 PageID 4503


                                            No. 23-10362


     Trump v. Int’l Refugee Assistance Project, 137 S. Ct. 2080, 2087 (2017) (per
     curiam) (quoting Nken, 556 U.S. at 428).
             We find that FDA and Danco succeed only in part.
                                                 III.
             Regarding likelihood to succeed on the merits, the stay applicants
     raise four arguments. They contend (A) plaintiffs are unlikely to defend the
     district court’s stay because they lack standing. They next contend
     (B) plaintiffs’ claims are untimely. Then they claim (C) plaintiffs’ claims are
     unexhausted. Finally, applicants contend (D) FDA’s actions are not
     arbitrary, capricious, or otherwise contrary to law. We consider each in turn.
                                                  A.
             We begin with Article III standing. To bring their claims in federal
     court, plaintiffs must satisfy the familiar tripartite test: they must show they
     suffered an injury in fact, that’s fairly traceable to the defendants, and that’s
     likely redressable by a favorable decision. See Lujan v. Nat’l Wildlife Fed’n,
     497 U.S. 871 (1990). Importantly, only one plaintiff needs to have standing to
     present a valid case or controversy. See Rumsfeld v. Forum for Acad. &
     Institutional Rts., Inc., 547 U.S. 47, 52 n.2 (2006).
             Plaintiffs and the district court offered numerous theories of standing.
     At this preliminary, emergency stage, we are unpersuaded by applicants’
     contentions that all of these theories fail to create a justiciable case or
     controversy. We need only consider two: (1) injuries to doctors and
     (2) injuries to the plaintiff medical associations. 4



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               We are cognizant of the fact that the Supreme Court has disavowed the theories
     of third-party standing that previously allowed doctors to raise patients’ claims in abortion




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 11 of 42 PageID 4504


                                          No. 23-10362


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            First, it appears that the individual plaintiffs and doctors in plaintiff
     associations have standing to challenge FDA’s actions.
            To allege an injury in fact, these doctors must show they have suffered
     an “invasion of a legally protected interest” that is both “concrete and
     particularized” and “actual or imminent, not conjectural or hypothetical.”
     Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (quotation omitted). Plaintiffs
     must identify specific injuries that go beyond “general averments” or
     “conclusory allegations.” Friends of the Earth, Inc. v. Laidlaw Env’t Servs.
     (TOC), Inc., 528 U.S. 167, 184 (2000) (quoting Lujan, 497 U.S. at 888).
     Where a plaintiff seeks prospective relief and hence points to future injuries,
     the Supreme Court has emphasized that “threatened injury must be certainly
     impending to constitute injury in fact, and that allegations of possible future
     injury are not sufficient.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409
     (2013) (quotation omitted).
            Here, FDA-approved the “Patient Agreement Form,” which is part
     of the REMS for mifepristone, provides:




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     cases. See Dobbs v. Jackson Women’s Health Org., 142 S. Ct. 2228, 2275 & n.61 (2022). So
     we express no opinion on plaintiffs’ third-party standing theories.




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 12 of 42 PageID 4505


                                   No. 23-10362




     2023 Mail-Order Decision at 10. FDA thus cannot deny that serious
     complications   from   mifepristone are      certainly impending.   Those
     complications are right there on the “Patient Agreement Form” that FDA
     itself approved and that Danco requires every mifepristone user to sign.
     According to the applicants, more than 5,000,000 women have taken this
     drug since the 2000 Approval. FDA Stay App. 1. That means that, again
     according to the applicants’ own information, between 100,000 (2%) and



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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 13 of 42 PageID 4506


                                        No. 23-10362


     350,000 (7%) of mifepristone users had unsuccessful chemical abortions and
     had to “talk with [their] provider[s] about a surgical procedure to end [their]
     pregnanc[ies].” 2023 Mail-Order Decision at 10. And where did those
     hundreds of thousands of women go for their “surgical procedures”? Again,
     we need not speculate because the 2016 Major REMS Changes, the 2021
     Petition Denial, and the 2023 Mail-Order Decision all allow non-doctors to
     prescribe mifepristone. The women who use this drug cannot possibly go
     back to their non-doctor-prescribers for surgical abortions, so again, as the
     “Patient Agreement Form” itself says, they must instead seek “emergency
     care” from a qualified physician.
            The plaintiff emergency room doctors have a concrete, particularized
     injury since they have provided—and with certainty will continue to
     provide—the “emergency care” that applicants specified in the “Patient
     Agreement Form.” PI App. 167, 169, 194, 206. Mifepristone users who
     present themselves to the plaintiffs have required blood transfusions,
     overnight hospitalization, intensive care, and even surgical abortions. PI App.
     205–06. As one doctor testified:
            For example, in one month while covering the emergency
            room, my group practice admitted three women to the hospital.
            Of the three women admitted in one month due to chemical
            abortion complications, one required admission to the
            intensive care unit for sepsis and intravenous antibiotics, one
            required a blood transfusion for hemorrhage, and one required
            surgical completion for the retained products of conception
            (i.e., the doctors had to surgically finish the abortion with a
            suction aspiration procedure).
     PI App. 206.
            Another doctor testified:
            [O]ne of my patients had obtained mifepristone and
            misoprostol from a website, without an in-person



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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 14 of 42 PageID 4507


                                      No. 23-10362


            visit. . . . After taking the chemical abortion drugs, she began
            having very heavy bleeding followed by significant abdominal
            pain and a fever. When I saw her in the emergency room, she
            had evidence of retained pregnancy tissue along with
            endometritis, an infection of the uterine lining. She also had
            acute kidney injury, with elevate creatinine. She required a
            dilation and curettage (D&C) surgery to finish evacuating her
            uterus of the remaining pregnancy tissue and hospitalization
            for intravenous (IV) antibiotics, IV hydration, and a blood
            transfusion. I spent several hours with her the day of her
            surgery/hospital admission, keeping me from my primary
            patient responsibilities in the labor and delivery unit and
            requiring me to call in an additional physician to help cover
            those responsibilities.
     PI App. 194–95. As a result of FDA’s failure to regulate this potent drug,
     these doctors have had to devote significant time and resources to caring for
     women experiencing mifepristone’s harmful effects. This harm is sufficiently
     concrete.
            A second independent injury from the adverse effects of mifepristone
     is the “enormous stress and pressure” physicians face in treating these
     women. PI App. 215. One doctor said the strain “is some of the most
     emotionally taxing work I have done in my career.” PI App. 880. Thus, this
     is an independent injury because FDA’s actions “significantly affect[]” the
     doctors’ “quality of life.” Sierra Club v. Morton, 405 U.S. 727, 734–35 (1972).
            The doctors offered specific facts to explain this stress. Women who
     take these drugs are susceptible to “torrential bleeding.” PI App. 170, 215. In
     fact, “the risk of severe bleeding with chemical abortion is five times higher
     than from surgical abortion.” PI App. 879. And these situations can quickly
     go from bad to worse. As one doctor testified:
            One of my patients, who was about nine weeks pregnant, had
            previously been treated by hospital staff for a pulmonary




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 15 of 42 PageID 4508


                                      No. 23-10362


           embolism with anti-coagulants. She was advised that she could
           not seek a chemical abortion because it was contraindicated
           due to the medications; yet the woman left the hospital and
           sought an abortion at Planned Parenthood of Indiana. The
           woman was given mifepristone by the doctor at Planned
           Parenthood and took the drug. The woman called an Uber for
           a ride home from Planned Parenthood. The woman began to
           experience bleeding and other adverse effects from the
           mifepristone. The woman’s Uber driver did not take her home
           because she was so ill and instead brought her to the hospital’s
           emergency department. At the hospital, the woman came
           under my care. The woman had not yet taken the second
           abortion drug, misoprostol. I treated the patient for the adverse
           effects she suffered and told her not to take the misoprostol
           given to her by Planned Parenthood because of the grave risk
           that she could bleed out and die.
     PI App. 216–17. Another doctor recounted an experience where he treated a
     patient—who “suffered from two weeks of moderate to heavy bleeding, and
     then developed a uterine infection”—by providing her “with intravenous
     antibiotics” and performing a D&C procedure. PI App. 886. If the patient
     waited a few more days to go to the hospital, the doctor predicted that “she
     could have been septic and died.” PI App. 886. Another doctor testified that
     he has encountered “at least a dozen cases of life-threatening complications”
     from these drugs, and the frequency of these emergency situations has only
     increased over time. PI App. 865.
           The risks are only exacerbated for women who have ectopic
     pregnancies. PI App. 207. This occurs in approximately two percent of
     pregnancies. PI App. 539. As one doctor explained:
            Chemical abortion drugs will not effectually end an ectopic
            pregnancy because they exert their effects on the uterus, which
            leaves women at risk of severe harm from hemorrhage due to
            tubal rupture, in need of emergent surgery or potentially at risk




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 16 of 42 PageID 4509


                                      No. 23-10362


            of death. Failure to perform an ultrasound prior to prescribing
            abortion drugs will cause some women to remain undiagnosed
            and at high risk for these adverse outcomes.
     PI App. 208. The risks are greater under FDA’s relaxed standards. That is
     because “without an in-person examination, it is impossible to rule out an
     ectopic pregnancy,” placing a woman “at an increased risk of rupture or even
     death.” PI App. 886.
            The doctors also face an injury from the irreconcilable choice between
     performing their jobs and abiding by their consciences. These doctors
     structured their careers so they would not have to administer abortions. And
     yet, because women often come to hospitals when they experience
     complications from these drugs, these doctors sometimes have no other
     choice but to perform surgical abortions. As one doctor testified:
            The FDA’s expansion of chemical abortions also harms my
            conscience rights because it could force me to have to surgically
            finish an incomplete elective chemical abortion. I object to
            abortion because it ends a human life. My moral and ethical
            obligation to my patients is to promote human life and health.
            But the FDA’s actions may force me to end the life of a human
            being in the womb for no medical reason.
     PI App. 209–10. And this harm is not speculative. Several doctors confirmed
     that they have had to surgically complete an abortion or remove an unborn
     child. PI App. 886, 205. As one doctor testified: “In my practice, I have cared
     for at least a dozen women who have required surgery to remove retained
     pregnancy tissue after a chemical abortion. Sometimes this includes the
     embryo or fetus, and sometimes it is placental tissue that has not been
     completely expelled.” PI App. 205. That same doctor described how she had
     to “perform[] a suction aspiration procedure” on one patient who took the
     pill but needed surgery to complete the abortion. PI App. 206. Others have
     seen it firsthand. One doctor recounted a time where a woman came to the




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                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 17 of 42 PageID 4510


                                       No. 23-10362


     emergency room “with heavy vaginal bleeding and unstable vital signs as a
     result of taking chemical abortion drugs.” PI App. 195. When the woman
     arrived in the emergency room, the baby in her womb was not dead; the
     doctors were “able to detect a fetal heartbeat.” PI App. 195. But due to the
     mother’s unstable condition, the doctors “had no choice but to perform an
     emergency D&C.” PI App. 196. The doctor testified that her colleague “felt
     as though she was forced to participate in something that she did not want to
     be a part of—completing the abortion.” PI App. 196.
            And not only have these doctors suffered injuries in the past, but it’s
     also inevitable that at least one doctor in one of these associations will face a
     harm in the future. Cf. City of Los Angeles v. Lyons, 461 U.S. 95 (1983). Here,
     the plaintiff-doctors have “‘set forth’ by affidavit or other evidence ‘specific
     facts’” that they are certain to see more patients. Clapper, 568 U.S. at 411
     (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 561 (1992)). That’s because
     FDA has removed almost all of mifepristone’s REMS and thus enabled
     women to (1) get the drug without ever talking to a physician, (2) take the
     drug without ever having a physical exam to ensure gestational age and/or an
     ectopic pregnancy, and (3) attempt to complete the chemical abortion
     regimen at home; FDA has also (4) directed the hundreds of thousands of
     women who have complications to seek “emergency care” from the plaintiffs
     and plaintiffs’ hospitals. Several doctors testified that they have seen an
     increasing number of women coming to the emergency room with
     complications from chemical abortions due to FDA’s virtual elimination of
     controls on the dispensing and administration of the drugs. PI App. 194, 205,
     215, 866. And given how many women these doctors have seen in emergency
     departments in the past, these doctors quite reasonably know with statistical
     certainty—again, a statistic estimated on Mifeprex’s own “Patient
     Agreement Form”—that women will continue needing plaintiffs’
     “emergency care.” See PI App. 205, 215, 868. The crisis is “concededly




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                                                              04/26/2023
                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 18 of 42 PageID 4511


                                        No. 23-10362


     ongoing.” Friends of the Earth, 528 U.S. at 184. Accordingly, plaintiffs face a
     “substantial risk” of recurrence. Susan B. Anthony List v. Driehaus, 573 U.S.
     149, 158 (2014) (quotation omitted).
            And even if one of the named doctors never sees another patient, it’s
     inevitable that one of the thousands of doctors in plaintiff associations will.
     For example, one of the plaintiff associations, the American Association of
     Pro-Life Obstetricians & Gynecologists, “is the largest organization of pro-
     life obstetricians and gynecologists” and has “more than 7,000 medical
     professionals nationwide.” PI App. 165. The Christian Medical and Dental
     Association has “more than 600 physicians and approximately 35
     OBGYNs.” PI App. 179. The American College of Pediatricians has a
     membership of “more than 600 physicians and other healthcare
     professionals.” PI App. 187. These associations presented affidavits from
     individual members, elucidating the various harms discussed herein. See
     Friends of the Earth, 528 U.S. at 183–84. Thus, they have associational
     standing to sue on behalf of their members. See N.Y. State Club Ass’n, Inc. v.
     City of New York, 487 U.S. 1, 9 (1988); Hunt v. Wash. State Apple Advertising
     Comm’n, 432 U.S. 333, 343 (1977). That means that so long as one doctor
     among the thousands of members in these associations faces an injury,
     Article III is satisfied. See Rumsfeld, 547 U.S. at 52 n.2.
            The doctors can also show that these injuries are traceable to FDA
     regulations and redressable by this court. See Defs. of Wildlife, 504 U.S. at
     560–61. That’s because the 2016 Major REMS Changes, the 2021 Petition
     Denial, and the 2023 Mail-Order Decision all empower non-doctors to
     prescribe mifepristone and thus shift the costs of the drug onto the plaintiff
     physicians who must manage the aftermath. See, e.g., PI App. 218 (“I spent a
     significant amount of time that day working to save her life from unnecessary
     complications due to the irresponsible administration and use of mifepristone
     and misoprostol. As a result of the significant time that I devoted to that



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     Case:
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           23-10362Document:
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                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 19 of 42 PageID 4512


                                       No. 23-10362


     patient, my time and attention was taken away from other patients, who also
     need my care.”); PI App. 867 (“Because more women [who take
     mifepristone] are unnecessarily presenting in the emergency department,
     more of my time and attention is taken away from other patients who need
     it.”). In this way, “[t]he FDA’s actions have created a culture of chaos for
     emergency room physicians.” PI App. 867. And we’re capable of redressing
     plaintiffs’ injuries by restoring the 2000 Approval’s REMS. Accordingly, at
     this stage, applicants have not shown that all of the plaintiffs lack standing.
            We hasten to emphasize the narrowness of this holding. We do not
     hold that doctors necessarily have standing to raise their patients’ claims. See
     supra n.4. We do not hold that doctors have constitutional standing whenever
     they’re called upon to do their jobs. And we do not hold that doctors have
     standing to challenge FDA’s actions whenever the doctor sees a patient
     experiencing complications from an FDA-approved drug. Rather, we hold
     that on the record before us applicants know that hundreds of thousands of
     women will—with applicants’ own statistical certainty—need emergency
     care on account of applicants’ actions. And because applicants chose to cut
     out doctors from the prescription and administration of mifepristone,
     plaintiff doctors and their associations will necessarily be injured by the
     consequences. This is an exceedingly unusual regime. In fact, as far as the
     record before us reveals, FDA has not structured the distribution of any
     comparable drug in this way.
            FDA’s principal contention to the contrary is that mifepristone is
     comparable to “ibuprofen.” FDA Stay App. 1. The theory appears to be that
     we cannot recognize plaintiffs’ standing here without opening a pandora’s
     box in which doctors have standing to litigate everything at all times,
     including the banalities of over-the-counter Advil.




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     Case:
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           23-10362Document:
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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 20 of 42 PageID 4513


                                     No. 23-10362


           We disagree because FDA’s own documents show that mifepristone
     bears no resemblance to ibuprofen. In the 2000 Approval, FDA imposed a
     “Black Box” warning on mifepristone. FDA requires “Black Box” warnings
     when a drug “may lead to death or serious injury.” 21 C.F.R. § 201.57(c)(1).
     In its 2000 Approval, FDA conditioned its approval of mifepristone on the
     inclusion of this “Black Box” warning:




     FDA Add. 182. The 2016 Major REMS Changes relaxed many of the
     requirements for marketing and using mifepristone. But it retained this
     “Black Box” warning:




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 21 of 42 PageID 4514


                                     No. 23-10362




     https://perma.cc/R56J-BHW4.
           Ibuprofen’s label, which FDA helpfully provided in its stay
     addendum, obviously bears no resemblance to the “Black Box” warning on
     mifepristone’s label. FDA Add. 465–68. To the contrary, FDA has a special
     regulation regarding ibuprofen so all manufacturers of that over-the-counter
     medicine include the same information on their labels. See 21 C.F.R.
     § 201.326. It says nothing about REMS, surgery, emergencies, Emergency
     Rooms, or death.
           In sum, applicants’ own documents—from the “Patient Agreement
     Form” to the “Black Box” warning that have accompanied mifepristone




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                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 22 of 42 PageID 4515


                                        No. 23-10362


     ever since the 2000 Approval up to and including today—prove that
     emergency room care is statistically certain in hundreds of thousands of
     cases. Plaintiff doctors have provided that emergency room care and are
     statistically certain to provide it in the future.
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            Second, the associations have standing. As previously discussed, they
     have associational standing to sue on behalf of their members. See N.Y. State
     Club Ass’n, Inc., 487 U.S. at 9; Hunt, 432 U.S. at 343. The associations
     presented affidavits from individual member doctors who have suffered
     harms. See Friends of the Earth, 528 U.S. at 183–84. Accordingly, they have
     standing to sue on their members’ behalf.
            Plaintiff associations have also suffered independent injuries because
     FDA’s actions have frustrated their organizational efforts to educate their
     members and the public on the effects of mifepristone. See Havens Realty
     Corp. v. Coleman, 455 U.S. 363, 379 (1982) (holding that housing non-profit
     had standing to challenge racial steering practices that impaired its ability “to
     provide counseling and referral services for low-and-moderate-income
     homeseekers”). As a result, plaintiff associations have expended “time,
     energy, and resources to compensate for this lack of information by
     conducting their own studies and analyses of available data” to “the
     detriment of other advocacy and educational efforts.” PI App. 174. The
     Supreme Court has previously stated that such a “concrete and
     demonstrable injury to the organization’s activities—with the consequent
     drain on the organization’s resources—constitutes far more than simply a
     setback to the organization’s abstract social interests,” Havens, 455 U.S. at
     379, even where the organizational interest is purely “noneconomic,” id. at
     379 n.20. Rather, under these circumstances, “there can be no question that
     the organization has suffered an injury in fact.” Id. at 379.




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                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 23 of 42 PageID 4516


                                       No. 23-10362


            This injury is also traceable to FDA’s elimination of non-fatal adverse
     events in the 2016 Major REMS Changes. And it’s redressable by an order
     vacating those changes. Accordingly, these associations also have standing.
                                            B.
            Next we turn to timeliness.
            Everyone acknowledges that 28 U.S.C. § 2401(a)’s six-year
     limitations period applies to all of this case’s challenged actions. And
     plaintiffs’ right of action against the lion’s share of the challenged actions are
     squarely within the six-year window. That includes all of plaintiffs’
     alternative arguments challenging the 2016 Major REMS Changes, the 2019
     Generic Approval, the 2021 Mail-Order Decision, and the 2021 Petition
     Denial of the 2019 Citizen Petition.
            True, FDA’s March 2016 Major REMS Changes were promulgated
     more than six years before plaintiffs filed suit in November 2022. But Section
     2401(a) instructs that the six-year period begins when “the right of action
     first accrues.” “And ‘[t]he right of action first accrues on the date of the final
     agency action.’” Texas v. Biden, 20 F.4th 928, 951 n.3 (5th Cir. 2021), rev’d
     on other grounds, 142 S. Ct. 2528 (2022) (quoting Wash. All. of Tech. Workers
     v. DHS, 892 F.3d 332, 342 (D.C. Cir. 2018)). Though FDA promulgated the
     Major REMS Changes in 2016, the Agency didn’t respond to plaintiffs’ 2019
     Petition challenging those changes until December 16, 2021. So plaintiffs’
     right of action against FDA’s final decision first accrued in December of
     2021. See 21 C.F.R. § 10.45. That’s less than a year before plaintiffs sued,
     which is well within the limitations period.
            Next, applicants claim that plaintiffs’ primary challenges to the 2000
     Approval and FDA’s 2016 Petition Denial to their 2002 Citizen Petition are
     time-barred. Though admittedly a close question, we ultimately agree with
     applicants at this preliminary juncture.




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                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 24 of 42 PageID 4517


                                       No. 23-10362


            Plaintiffs’ right of action against the 2000 Approval and 2016 Petition
     Denial first accrued on March 29, 2016—the date FDA issued its final
     decision rejecting their 2002 Petition challenging the 2000 Approval. See 21
     C.F.R. § 10.45. But plaintiffs didn’t file suit until November 18, 2022, more
     than six months beyond the statute of limitations. The district court
     nevertheless found timely the plaintiffs’ challenges to the 2000 Approval and
     the 2016 Petition Denial. How? First, the district court held that FDA
     “reopened” those decisions in 2016 and 2021, thus restarting the statute of
     limitations. Second—and alternatively—the district court decided plaintiffs
     were entitled to equitable tolling.
            We consider each justification in turn.
            First, reopening. “The reopen[ing] doctrine allows an otherwise
     untimely challenge to proceed where an agency has—either explicitly or
     implicitly—undertaken to reexamine its former choice.” Nat’l Biodiesel Bd.
     v. EPA, 843 F.3d 1010, 1017 (D.C. Cir. 2016) (quotation omitted). Put simply,
     the purpose of the reopening doctrine is “to pinpoint an agency’s final action
     in cases where the agency has addressed the same issue multiple times.”
     Texas v. Biden, 20 F.4th at 951. The limitations period runs from the agency’s
     earlier decision unless the later decision “opened the issue up anew.” Ibid.
     (quotation omitted). This makes good sense: Because a key step in the
     timeliness inquiry is determining when an agency action became final, it’s
     sometimes necessary to determine whether an agency’s subsequent action
     “actually reconsidered” its former action, Growth Energy v. EPA, 5 F.4th 1,
     21 (D.C. Cir. 2021) (per curiam) (quotation omitted), or merely
     “reaffirm[ed] its prior position,” Sierra Club v. EPA, 551 F.3d 1019, 1024
     (D.C. Cir. 2008) (quotation omitted); see also Texas v. Biden, 20 F.4th at 951
     (“If the agency opened the issue up anew, and then reexamined and
     reaffirmed its prior decision, the agency’s second action (the reaffirmance)
     is reviewable. . . . But if the agency merely reaffirmed its decision without



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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 25 of 42 PageID 4518


                                       No. 23-10362


     really opening the decision back up and reconsidering it, the agency’s initial
     action is the only final agency action to review.” (quotation omitted)).
            Courts have articulated various tests for determining whether an
     agency has reopened a prior decision. These tests fall into two general
     categories.
            Under the first, courts look “to the entire context of the [relevant
     agency action] including all relevant proposals and reactions of the agency to
     determine whether an issue was in fact reopened.” Pub. Citizen v. Nuclear
     Regul. Comm’n, 901 F.2d 147, 150 (D.C. Cir. 1990); see also, e.g., id. at 150–
     53; Growth Energy, 5 F.4th at 21–22; Nat’l Ass’n of Reversionary Prop. Owners
     v. Surface Transp. Bd., 158 F.3d 135, 141–46 (D.C. Cir. 1998). An agency can
     reopen an earlier decision in many ways, but the quintessential example of
     this type of reopening is when an agency “hold[s] out [its prior rule] as a
     proposed regulation, offer[s] an explanation for its language, solicit[s]
     comments on its substance, and respond[s] to the comments in promulgating
     the regulation in its final form.” Am. Iron & Steel Inst. v. EPA, 886 F.2d 390,
     397 (D.C. Cir. 1989). Under the second reopening category, courts consider
     whether an agency “constructively reopened” its prior decision. Kennecott
     Utah Copper Corp. v. DOI, 88 F.3d 1191, 1214–15 (D.C. Cir. 1996). They do
     so by evaluating whether “the revision of accompanying regulations
     significantly alters the stakes of judicial review as the result of a change that
     could have not been reasonably anticipated.” NRDC v. EPA, 571 F.3d 1245,
     1266 (D.C. Cir. 2009) (quotation omitted).
            Although a close call, we are unsure at this preliminary juncture and
     after truncated review that FDA reopened the 2000 Approval in its 2016
     Major REMS Changes and its 2021 Petition Denial.
            As for the first reopening test, neither the 2016 Major REMS Changes
     nor the 2021 Petition Denial appears to “substantive[ly] reconsider[]”




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 26 of 42 PageID 4519


                                      No. 23-10362


     FDA’s 2000 Approval. Growth Energy, 5 F.4th at 21. FDA’s 2016 decision to
     relax many of the REMS was issued in response to Danco’s supplemental
     application requesting as much. See PI App. 615–52. And FDA’s 2021
     Petition Denial was issued in response to plaintiffs’ 2019 Citizen Petition
     asking FDA to “restore” the pre-2016 REMS—not revoke or reconsider
     FDA’s underlying 2000 Approval. See PI App. 667–93. Therefore neither of
     the “relevant proposals” prompted FDA to reopen and reconsider its 2000
     Approval. Pub. Citizen, 901 F.2d at 150.
            That said, the district court correctly noted that FDA nevertheless
     “undertook a full review of the Mifepristone REMS Program” when it
     reviewed plaintiffs’ 2019 Citizen Petition—even though the plaintiffs only
     asked FDA to restore the pre-2016 status quo ante. See PI App. 735–76; FDA
     Add. 22. In FDA’s words:
            In 2021, FDA also undertook a full review of the Mifepristone
            REMS Program. In conducting this review, FDA reviewed
            multiple different sources of information, including published
            literature, safety information submitted to the Agency during
            the COVID-19 PHE, FDA Adverse Event Reporting System
            (FAERS) reports, the first REMS assessment report for the
            Mifepristone REMS Program, and information provided by
            advocacy groups, individuals, and the Plaintiffs in ongoing
            litigation, as well as information submitted by the sponsors of
            the NDA and the ANDA[.]
     PI App. 735. And after conducting this unrequested “full review” of the
     REMS Program, FDA (inter alia) added two modifications to the REMS
     Program that plaintiffs never even mentioned in their 2019 Citizen Petition,
     including “a requirement that pharmacies that dispense the drug be specially
     certified.” PI App. 736; see also id. at 735 n.11 (acknowledging that “this was
     not raised in your Petition”). All of this suggests FDA went back to the
     beginning, including its very first REMS report, and conducted an




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 27 of 42 PageID 4520


                                       No. 23-10362


     independent review that far exceeded the issues raised in the 2019 Citizen
     Petition.
             Especially because the dangerousness of a drug is grounds to withdraw
     its approval, see 21 U.S.C. § 355(e)—and REMS are required to “ensure that
     the benefits of the drug outweigh the risks,” id. § 355-1(a)(1)–(2)—plaintiffs
     reasonably argue that FDA’s 2021 “full review” of the entire REMS
     Program was in effect a reconsideration of FDA’s 2000 Approval. Indeed,
     plaintiffs might very well prevail on that claim later in this litigation. But at
     this early juncture—and in light of our necessarily truncated review—we are
     not yet confident enough to say that viewed in “the entire context,” FDA
     “has undertaken a serious, substantive reconsideration of the [2000
     Approval]” rather than “incremental adjustments to existing regulations.”
     Texas v. Biden, 20 F.4th at 952–93 (quotation omitted).
             The result is the same under the second reopening test. Recall that
     under the second test, “[a] constructive reopening occurs if the revision of
     accompanying regulations significantly alters the stakes of judicial review as
     the result of a change that could have not been reasonably anticipated.”
     Sierra Club, 551 F.3d at 1025 (quotation omitted).
             Sierra Club is the seminal case. In 1994, EPA adopted a rule that
     exempted major sources of air pollution from the Clean Air Act’s emission
     standards during startups, shutdowns, and malfunctions (the “SSM
     exemption”). Id. at 1022. But the 1994 rule also required sources to develop
     an SSM plan in order to receive the benefit of the SSM exemption. Ibid. An
     SSM plan required “the source to demonstrate how it will do its reasonable
     best to maintain compliance with the standards, even during SSMs.” Ibid.
     (quotation omitted). SSM plans were publicly available and were
     incorporated into the sources’ permits under Title V of the Clean Air Act.
     Ibid.




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 28 of 42 PageID 4521


                                      No. 23-10362


            In a series of rulemakings between 2002 and 2006, EPA substantially
     weakened the requirement that sources maintain and follow an SSM plan in
     order to benefit from the SSM exemption. It removed the requirement that a
     source’s Title V permit incorporate its SSM plan; it stopped making SSM
     plans publicly available; and it ultimately retracted the requirement that
     sources implement their SSM plans during SSM periods. Id. at 1023.
            The Sierra Club filed suit in 2007. But the Sierra Club did not
     challenge the changes to the SSM plan requirements that EPA had adopted
     in its 2002, 2003, and 2006 rulemakings. Instead, it challenged the legality of
     the SSM exemption itself. Id. at 1024. EPA had adopted that exception in
     1994 and had not considered rescinding it in any of its rulemakings during the
     2000s. Rather, those rulemakings had treated the SSM exemption as a
     given—in fact, they had strengthened it by weakening the SSM plan
     requirements. See id. at 1022–23.
            The D.C. Circuit nonetheless held that the Sierra Club’s challenge to
     the SSM exemption was timely. Even though EPA had not expressly
     reopened its decision to create a SSM exemption, it had constructively
     reopened that decision “by stripping out virtually all of the SSM plan
     requirements that it created to contain that exemption.” Id. at 1025
     (quotation omitted). Because EPA had allegedly abandoned these “necessary
     safeguards” limiting the SSM exemption, its rulemakings had “changed the
     calculus for petitioners in seeking judicial review and thereby constructively
     reopened consideration of the exemption.” Id. at 1025–26 (quotation
     omitted).
            Sierra Club thus establishes that an agency can constructively reopen
     a decision if it removes essential safeguards that had previously limited or
     contained the impact of that decision. In making this determination, the D.C.
     Circuit looks to the extent to which the agency has “alter[ed] th[e] regulatory




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 29 of 42 PageID 4522


                                       No. 23-10362


     framework” and whether the agency has “work[ed] a change that [plaintiffs]
     could not have reasonably anticipated.” Nat’l Biodiesel Bd., 843 F.3d at 1017.
            Under Sierra Club and its progeny, FDA’s 2016 Major REMS
     Changes and 2021 Petition Denial seemingly reopened its 2000 Approval
     decision. Of course, FDA did not expressly reconsider its mifepristone
     approval. But it eliminated the “necessary safeguards,” Sierra Club, 551 F.3d
     at 1025, that had accompanied and limited the impact of that approval for two
     decades. The in-person dispensing requirement, for example, was critical to
     FDA’s initial approval of mifepristone in 2000, which relied on the in-person
     dispensing requirement to dismiss concerns about provider qualifications,
     improper use, illicit distribution, and detection of adverse events. See PI App.
     519–23. And the in-person dispensing requirement was also the cornerstone
     of the REMS for mifepristone that FDA approved in 2011 and then relied on
     in its 2016 rejection of plaintiffs’ 2002 Citizen Petition. See PI App. 578–82,
     605, 608.
            Thus FDA’s elimination of the in-person distribution requirement—
     not to mention various other REMS—arguably worked a “sea change” in the
     legal framework governing mifepristone distribution that plaintiffs “could
     not have reasonably anticipated” and that “significantly alters the stakes of
     judicial review.” Nat’l Biodiesel Bd., 843 F.3d at 1017 (quotation omitted).
     That’s because the in-person dispensing requirement was FDA’s primary
     tool for ensuring the safe distribution and use of mifepristone, so plaintiffs
     arguably had little reason to anticipate this important change before 2021.
     FDA does not argue otherwise, appearing to concede that its 2021
     announcement was a stark departure from previous regulatory approaches.
     And because this change eliminates a major safeguard against complications
     and adverse effects arising from improper mifepristone use, it can be said to
     “significantly alter[] the stakes of judicial review” for plaintiff doctors who
     treat patients with these complications. Ibid. (quotation omitted).



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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 30 of 42 PageID 4523


                                       No. 23-10362


            Even so, we ultimately hold at this early and emergency stage that
     these alterations didn’t constructively reopen the 2000 Approval for review.
     That’s because there’s at least a colorable argument that plaintiffs “could
     have . . . reasonably anticipated” changes like those in 2016 and 2021 by dint
     of the statutorily defined supplemental application process and other similar
     revision mechanisms. NRDC v. EPA, 571 F.3d at 1266 (quotation omitted);
     see, e.g., 21 C.F.R. § 314.71(b). We also recognize that it’s somewhat of a
     strain to say that the 2016 Major REMS Changes and 2021 Petition Denial
     (and related changes) altered the regulatory landscape to such a degree that
     the prior rule is only now “worth challenging” when it otherwise might “not
     have been.” Sierra Club, 551 F.3d at 1025–26 (quotation omitted). After all,
     plaintiffs did challenge the 2000 Approval well before the 2016 and 2021
     changes were even proposed. But again, plaintiffs could very well prevail on
     this reopening claim.
            In the alternative, the district court held that plaintiffs were entitled
     to equitable tolling of the statute of limitations. FDA Add. 23–25. We are
     unpersuaded. “[A] litigant is entitled to equitable tolling of a statute of
     limitations only if the litigant establishes two elements: ‘(1) that he has been
     pursuing his rights diligently, and (2) that some extraordinary circumstance
     stood in his way and prevented timely filing.’” Menominee Indian Tribe of Wis.
     v. United States, 577 U.S. 250, 255 (2016) (quoting Holland v. Florida, 560
     U.S. 631, 649 (2010)). Here, no “extraordinary circumstance” prevented
     plaintiffs from filing within six years of FDA’s 2016 Petition Denial. The
     district court is of course correct that FDA took “13 years, 7 months, and 9
     days” to render that March 2016 ruling, FDA Add. 24, but that delay had no
     impact on the length of the statute-of-limitations period or plaintiffs’ capacity
     to challenge the 2016 Petition Denial.




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 31 of 42 PageID 4524


                                       No. 23-10362


                                            C.
            Next exhaustion. Stay applicants contend they are likely to succeed on
     the merits because plaintiffs failed to exhaust their claims before FDA. We
     disagree.
            “As a general rule, claims not presented to the agency may not be
     made for the first time to a reviewing court.” Wash. Ass’n for Television &
     Child. v. FCC, 712 F.2d 677, 680 (D.C. Cir. 1983); cf. United States v. L.A.
     Tucker Truck Lines, 344 U.S. 33, 37 (1952). For challenges to FDA actions,
     the general administrative exhaustion requirement is codified at 21 C.F.R.
     § 10.45(b). Section 10.45(b) states that a “request that the [FDA]
     Commissioner take or refrain from taking any form of administrative action
     must first be the subject of a final administrative decision based on a petition
     submitted under § 10.25(a).” See id. § 10.25(a) (“An interested person may
     petition the [FDA] Commissioner to issue, amend, or revoke a regulation or
     order, or to take or refrain from taking any other form of administrative
     action.”).
            No one disputes that every argument the plaintiffs raised in their 2019
     Citizen Petition is exhausted. That includes all of plaintiffs’ challenges to the
     2016 Major REMS Changes and everything fairly embraced by those
     challenges. For example, the 2019 Citizen Petition argued explicitly that
     FDA should “[c]ontinue limiting the dispensing of Mifeprex to patients in
     clinics, medical offices, and hospitals.” FDA Add. 193, 209–16. When FDA
     rejected that request in the 2021 Petition Denial, it expressly reaffirmed its
     commitment to mail-order abortion drugs. As such, plaintiffs have properly
     exhausted their challenge to FDA’s by-mail distribution regime by raising it
     in the 2019 Citizen Petition.
            Even if plaintiffs failed to exhaust their claims, courts retain
     “discretion to waive exhaustion” where one of the “traditionally




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 32 of 42 PageID 4525


                                       No. 23-10362


     recognized” exceptions applies. Wash. Ass’n for Television & Child., 712 F.2d
     at 681–82. Two exceptions are relevant here: futility and administrative abuse
     of process.
            Start with futility. Plaintiffs need not exhaust claims where they can
     demonstrate “the futility or inadequacy of administrative review.” Gardner
     v. Sch. Bd. Caddo. Par., 958 F.2d 108, 112 (5th Cir. 1992); see also Honig v.
     Doe, 484 U.S. 305, 327 (1988). The futility exception applies when
     exhaustion would be “clearly useless” and “it is certain [a] claim will be
     denied.” Tesoro Refin. & Mktg. Co. v. FERC, 552 F.3d 868, 874 (D.C. Cir.
     2009) (quotation omitted); see also Carr v. Saul, 141 S. Ct. 1352, 1361 (2021)
     (“[T]his Court has consistently recognized a futility exception to exhaustion
     requirements.”).
            Given FDA’s 2016 Petition Denial and its 2021 Petition Denial, it
     would have been futile for plaintiffs to include a challenge to the 2000
     Approval in their 2019 Citizen Petition. FDA rejected this exact challenge in
     its 2016 Petition Denial. So it would have been “clearly useless” to raise the
     precise challenge again in the 2019 Citizen Petition. Further, this exact
     reasoning applies with equal force to plaintiffs’ challenge to the 2019 Generic
     Approval because it’s entirely dependent on the underlying 2000 Approval.
     Thus, plaintiffs’ challenges to the 2000 Approval and the 2019 Generic
     Approval are not barred by exhaustion.
            Next, administrative abuse of process. It’s well-established that where
     an agency fails to follow its own regulations, exhaustion may not be required.
     See Way of Life Television Network, Inc. v. FCC, 593 F.2d 1356, 1359–60 (D.C.
     Cir. 1979); see also Wash. Ass’n for Television & Child., 712 F.2d at 681. That’s
     especially true “where the obvious result would be a plain miscarriage of
     justice.” Hormel v. Helvering, 312 U.S. 552, 558 (1941). Here, FDA was
     required by its own regulations to respond to citizen petitions within 180




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 33 of 42 PageID 4526


                                       No. 23-10362


     days. See 21 C.F.R. § 10.30(e)(2). Instead of timely responding, FDA
     responded to plaintiffs’ first petition fourteen years after it was filed. And it
     responded to the second petition over two years after it was filed. FDA
     plainly and repeatedly refused to follow its own regulations here. Even
     assuming any of plaintiffs’ challenges were unexhausted and that it wasn’t
     futile to raise them before FDA, FDA’s repeated failure to follow its own
     regulations indicates that the district court did not abuse its “discretion to
     waive exhaustion.” Wash. Ass’n for Television & Child., 712 F.2d at 681.
                                            D.
            As applicants recognize, FDA’s actions are constrained by the APA’s
     arbitrary-and-capricious standard. See 5 U.S.C. § 706(2)(A). Under that
     standard, “the agency must examine the relevant data and articulate a
     satisfactory explanation for its action including a rational connection between
     the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S., Inc.
     v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (quotation omitted);
     see also Sw. Elec. Power Co. v. EPA, 920 F.3d 999, 1013 (5th Cir. 2019) (judicial
     review of agency action “is not toothless”). We must “consider whether the
     decision was based on a consideration of the relevant factors and whether
     there has been a clear error of judgment.” State Farm, 463 U.S. at 43
     (quotation omitted). An agency’s action is “arbitrary and capricious” if it
     “entirely failed to consider an important aspect of the problem, offered an
     explanation for its decision that runs counter to the evidence before the
     agency, or is so implausible that it could not be ascribed to a difference in
     view or the product of agency expertise.” Ibid.
            When an agency acts, it must “reasonably consider[] the relevant
     issues and reasonably explain[]” its actions. FCC v. Prometheus Radio Project,
     141 S. Ct. 1150, 1158 (2021); see also ibid. (“The APA’s arbitrary-and-
     capricious standard requires that agency action be reasonable and reasonably




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 34 of 42 PageID 4527


                                            No. 23-10362


     explained.”); Michigan v. EPA, 576 U.S. 743, 750, 752 (2015) (“[A]gency
     action is lawful only if it rests on a consideration of the relevant factors” and
     “important aspect[s] of the problem.” (quotation omitted)). Of course, we
     cannot “substitute” our “own policy judgment for that of the agency.”
     Prometheus, 141 S. Ct. at 1158. We nonetheless must still carefully ensure that
     “the agency has acted within a zone of reasonableness and, in particular, has
     reasonably considered the relevant issues and reasonably explained the
     decision.” Ibid. The upshot is that we “must set aside any action premised
     on reasoning that fails to account for ‘relevant factors’ or evinces ‘a clear
     error of judgment.’” Univ. of Tex. M.D. Anderson Cancer Ctr. v. HHS, 985
     F.3d 472, 475 (5th Cir. 2021) (quoting Marsh v. Or. Nat. Res. Council, 490
     U.S. 360, 378 (1989)).
             Here, applicants have failed to carry their burden at this preliminary
     stage to show that FDA’s actions 5 were not arbitrary and capricious. We have
     two principal concerns in that regard. First, FDA failed to “examine the
     relevant data” when it made the 2016 Major REMS changes. State Farm, 463
     U.S. at 43. That’s because FDA eliminated REMS safeguards based on
     studies that included those very safeguards. FDA Add. 59, 122–23, 171. Imagine
     that an agency compiles studies about how cars perform when they have
     passive restraint systems, like automatic seatbelts. See State Farm, 463 U.S.
     at 34–36. For nearly a decade, the agency collects those studies and continues
     studying how cars perform with passive safety measures. Then one day the
     agency changes its mind and eliminates passive safety measures based only on
     existing data of how cars perform with passive safety measures. Cf. id. at 47–

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                Here we limit our discussion to FDA’s decisions in the 2016 Major REMS
     Changes and its subsequent agency actions. As described above in Part III.B, it appears at
     this preliminary juncture that plaintiffs’ challenges to the 2000 Approval and 2016 Petition
     Denial are untimely.




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                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 35 of 42 PageID 4528


                                      No. 23-10362


     49. That was obviously arbitrary and capricious in State Farm. And so too
     here. The fact that mifepristone might be safe when used with the 2000
     Approval’s REMS (a question studied by FDA) says nothing about whether
     FDA can eliminate those REMS (a question not studied by FDA).
            True, FDA studied the safety consequences of eliminating one or two
     of the 2000 Approval’s REMS in isolation. But it relied on zero studies that
     evaluated the safety-and-effectiveness consequences of the 2016 Major
     REMS Changes as a whole. This deficiency shows that FDA failed to consider
     “an important aspect of the problem” when it made the 2016 Major REMS
     Changes. Michigan v. EPA, 576 U.S. at 752 (quotation omitted).
            Second, the 2016 Major REMS Changes eliminated the requirement
     that non-fatal adverse events must be reported to FDA. After eliminating that
     adverse-event reporting requirement, FDA turned around in 2021 and
     declared the absence of non-fatal adverse-event reports means mifepristone
     is “safe.” See, e.g., FDA Add. 861–76 (explaining that FDA’s FAERS
     database, which collates data on adverse events, indicated that the 2016
     Major REMS Changes hadn’t raised “any new safety concerns”). This
     ostrich’s-head-in-the-sand approach is deeply troubling—especially on a
     record that, according to applicants’ own documents, necessitates a REMS
     program, a “Patient Agreement Form,” and a “Black Box” warning. See
     supra Part III.A. And it suggests FDA’s actions are well “outside the zone of
     reasonableness.” Prometheus, 141 S. Ct. at 1160. It’s unreasonable for an
     agency to eliminate a reporting requirement for a thing and then use the
     resulting absence of data to support its decision.
            These actions make it unlikely that plaintiffs’ arbitrary-and-capricious
     challenges will fail on the merits, at least as far as they challenge FDA’s
     decisions including and following the 2016 Major REMS Changes.




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Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 36 of 42 PageID 4529


                                       No. 23-10362


                                           IV.
            Beyond likelihood of success on the merits, we also must consider the
     other three factors for granting a stay. Those are “[A] whether the applicant
     will be irreparably injured absent a stay; [B] whether issuance of the stay will
     substantially injure the other parties interested in the proceeding; and [C]
     where the public interest lies.” Nken, 556 U.S. at 434 (quotation omitted).
     We address each in turn. And we (D) discuss how the Comstock Act, 18
     U.S.C. §§ 1461, 1462 affects the stay inquiry. Outside of the 2000 Approval,
     we find that the applicants fail to make a strong showing on any of these
     factors for a stay.
                                            A.
            Of the remaining three factors, irreparable injury matters most. See
     Nken, 556 U.S. at 434. FDA argues that the plaintiffs fail to show irreparable
     injury. But the irreparable injury factor asks whether “the [stay] applicant will
     be irreparably injured” absent a stay, not whether the plaintiff would be
     irreparably injured absent an injunction. Ibid. (emphasis added) (quotation
     omitted). Similarly, FDA’s assertion that the district court’s injunction will
     harm pregnant women or other members of the public does not speak to the
     irreparable injury factor (although it may speak to other factors), because
     those persons are not stay applicants in this case.
            Since FDA does not articulate any irreparable harm that FDA will
     suffer absent a stay, it makes no showing on this “critical” prong. Ibid. We
     may not need to address the merits of the applicants’ stay request any further,
     because failure to show irreparable injury often “decides the [stay]
     application.” Whalen v. Roe, 423 U.S. 1313, 1318 (1975) (Marshall, J., in
     chambers).
            Danco by contrast does claim it will suffer irreparable injury, albeit in
     just one paragraph. Danco notes that mifepristone is its sole product and




                                            36

                                                                                   23-10362.4413
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     Case:
       23-10362
           23-10362Document:
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                             00516710351
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                                                              04/26/2023
                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 37 of 42 PageID 4530


                                       No. 23-10362


     argues that it may have to shut down absent relief. We have held that
     catastrophic financial losses “may be sufficient to show irreparable injury.”
     Wages & White Lion Investments, LLC v. FDA, 16 F.4th 1130, 1142 (5th Cir.
     2021) (emphasis added) (quotation omitted). Of course, irreparable injury
     alone does not entitle Danco to a stay. See Virginian Ry. Co., 272 U.S. at 672.
            And even if it did, neither FDA nor Danco articulates why this, or any
     other, injury would require a stay of all of the district court’s order, rather
     than only part. Recall that we may narrowly “tailor a stay” to impact “only
     some portion of the proceeding.” Int’l Refugee Assistance Project, 137 S. Ct. at
     2087 (quotation omitted). The applicants’ arguments suggest, at best, that
     they require relief only from the district court’s treatment of the 2000
     Approval. They make no argument as to why the district court’s treatment
     of the 2016 Major REMS Changes and later FDA activity irreparably harms
     anyone.
            Applicants’ forfeiture of this contention is understandable because
     the world operated under the 2000 Approval for sixteen years, apparently
     without problems. And neither applicant contends that it’ll be irreparably
     injured without a stay so long as the 2000 Approval and its associated REMS
     remain in effect. Thus, the irreparable injury factor counsels against a stay.
                                            B.
            The next Nken factor asks whether “issuance of the stay will
     substantially injure the other parties interested in the proceeding.” 556 U.S.
     at 434 (quoting Hilton, 481 U.S. at 776); see also Ala. Ass’n of Realtors, 141 S.
     Ct. at 2487 (same); Planned Parenthood v. Abbott, 134 S. Ct. 506, 506–08
     (2013) (mem.) (opinions of seven Justices using the same standard). This
     language again focuses on harm from the stay, not the injunction. Cf. Whole
     Woman’s Health, 141 S. Ct. at 2495 (using less specific “balance of the
     equities” language). To succeed on this prong, applicants must show that the




                                            37

                                                                                   23-10362.4414
 Case:
     Case:
       23-10362
           23-10362Document:
                      Document:
                             00516710351
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                                                              04/26/2023
                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 38 of 42 PageID 4531


                                       No. 23-10362


     requested stay will not harm the opposing appellees or other interested
     parties.
            Applicants discuss at length their view that the district court’s order
     might harm various persons, but mostly decline to address the apposite
     question, which is why the requested stay would not harm relevant persons.
     What points the applicants do make on this relevant question distill down to
     two arguments.
            First, applicants briefly argue that the injuries the plaintiffs would
     suffer from a stay are speculative or minimal. But we have already addressed
     why plaintiffs’ injuries are non-speculative. See supra Part III.A. We have also
     addressed the specific risks impacting women and the plaintiffs that stem
     from the 2016 Major REMS Changes and other post-2016 FDA decisions
     that the district court enjoined. See supra Part III.A, D. The applicants’
     abbreviated argument focuses on consequences flowing from the district
     court’s treatment of the 2000 Approval and largely ignores plaintiffs’
     alternative arguments regarding the 2016 Major REMS Changes and what
     followed.
            Second, the applicants argue that the plaintiffs’ failure to bring
     litigation sooner undercuts any contention that they would be harmed from a
     stay. That contention is untenable given FDA’s fourteen-year delay in
     adjudicating the 2002 Citizen Petition. But, even setting aside FDA’s own
     delays, the applicants do not explain why the plaintiffs’ alleged
     procrastination warrants a stay of the entirety of the district court’s order,
     rather than just the portion of the order impacted by long litigation delay (the
     2000 Approval).
            To the extent applicants make any showing that the third Nken factor
     favors a stay, they do so only with respect to the 2000 Approval and do not
     address plaintiffs’ alternative arguments.




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     Case:
       23-10362
           23-10362Document:
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                                            190 39
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                                                              04/26/2023
                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 39 of 42 PageID 4532


                                      No. 23-10362


                                           C.
           The last Nken factor asks “where the public interest lies.” 556 U.S. at
     434 (quotation omitted). The stay applicants make three principal
     arguments.
           First, the applicants argue that “procedural irregularity” in the court
     below favors relief. But the applicants do not explain why any specific alleged
     irregularity necessarily speaks to public (versus their own private) interest.
     Even if we assume away that problem, it is not clear to us, on our accelerated
     review, that any litigation below was irregular. And even if we assume, which
     we do not, that the district court or the plaintiffs departed from acceptable
     procedure, it’s unclear on this record that applicants have embraced “the
     principles of equity and righteous dealing” in the twenty-one years since the
     filing of the 2002 Citizen Petition. Binh Hoa Le v. Exeter Fin. Corp., 990 F.3d
     410, 416 (5th Cir. 2021) (quotation omitted) (noting that a party’s own
     imperfect conduct can prejudice their request for equitable relief).
           Second, Danco argues that avoidance of “judicial conflict” warrants a
     stay given the order of an out-of-circuit district court. Comity between
     federal courts is a cognizable interest. See Def. Distrib. v. Platkin, 55 F.4th
     486, 495–96 (5th Cir. 2022). We have every respect for fellow federal courts.
     But we cannot embrace an argument that would, in effect, allow the decision
     of an out-of-circuit district court to impel us towards “extraordinary” relief
     that would be otherwise inappropriate. Williams, 442 U.S. at 1311 (quotation
     omitted).
           Third, the stay applicants warn us of significant public consequences
     should the district court’s order result in the withdrawal of mifepristone from
     the market. These consequences, the applicants say, include injury to
     pregnant women, to public healthcare systems, and to the sense of order that
     governs FDA drug approvals. But these concerns center on the district




                                           39

                                                                                 23-10362.4416
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     Case:
       23-10362
           23-10362Document:
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                                223 Page:Page:
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                                                              04/26/2023
                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 40 of 42 PageID 4533


                                       No. 23-10362


     court’s removal of mifepristone from the market. The applicants make no
     arguments as to why the 2016 Major REMS Changes, the 2019 Generic
     Approval, or the 2021 and 2023 Mail Order Decisions are similarly critical to
     the public even though they were on notice of plaintiffs’ alternative requests
     for relief. And it would be difficult for applicants to argue that the 2016 Major
     REMS Changes and subsequent FDA activity were so critical to the public
     given that the Nation operated—and mifepristone was administered to
     millions of women—without them for sixteen years following the 2000
     Approval.
            The applicants have made some showing that the public interest
     warrants equitable relief from the district court’s treatment of the 2000
     Approval. Motivated in part by the accelerated posture of our review, we
     credit their showing.
                                            D.
            The parties vehemently dispute how their competing interpretations
     of the Comstock Act of 1873 might impact the validity of the district court’s
     order. The Comstock Act prohibits the carriage in interstate commerce of
     “any drug, medicine, article, or thing designed, adapted or intended for
     producing abortion.” 18 U.S.C. § 1462. It similarly prohibits the mailing of
     any “article, instrument, substance, drug, medicine, or thing which is
     advertised or described in a manner calculated to lead another to use or apply
     it for producing abortion.” Id. § 1461.
            Both statutory provisions specify a mens rea of “knowingly.” Id.
     §§ 1461–62. The plain text does not require that a user of the mails or
     common interstate carriage intend that an abortion actually occur. Rather, a
     user of those shipping channels violates the plain text merely by knowingly
     making use of the mail for a prohibited abortion item.




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     Case:
       23-10362
           23-10362Document:
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                                223 Page:Page:
                                            192 41
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                                                              04/26/2023
                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 41 of 42 PageID 4534


                                       No. 23-10362


              The applicants’ principal defense against the Comstock Act is that
     FDA was not required to consider it. After all, say the applicants, 21 U.S.C.
     §§ 355 and 355-1 guide FDA’s discretion over drug approval and REMS, and
     those statutes do not explicitly require consideration of other statutes like 14
     U.S.C. § 1462.
              Even assuming that’s true, however, the Comstock Act nevertheless
     undermines applicants’ showing on the final three Nken factors. For
     example, if the Comstock Act is construed in-line with its literal terms, then
     Danco cannot say it is irreparably harmed by the district court’s order,
     because Danco has no interest in continuing to violate the law, which (under
     a plain view of the Act) it does every time it ships mifepristone. For further
     example, if the Comstock Act is strictly understood, then applicants may lose
     the public interest prong entirely, because there is no public interest in the
     perpetuation of illegality. See Louisiana v. Biden, 55 F.4th 1017, 1035 (5th Cir.
     2022).
              The applicants raise other defenses. For example, they argue that the
     Food and Drug Administration Amendments Act, Pub. L. No. 110-85, 121
     Stat. 823 (2007) (“FDAAA”) sub silentio repealed the Comstock Act, at least
     where mifepristone is concerned. That’s because the FDAAA in 2007
     created a statutory framework governing REMS and drugs with then-existing
     distribution restrictions. See id. § 909(b). Mifepristone was one such drug.
     So, say applicants, the FDAAA acted to legalize shipment of mifepristone,
     regardless of what the Comstock Act might say. But “repeals by implication
     are not favored.” Maine Cmty. Health Options v. United States, 140 S. Ct.
     1308, 1323 (2020) (quotation omitted). We regard each of Congress’s
     statutes as effective unless either “intention to repeal” one of them is “clear
     and manifest” or the two laws are “irreconcilable.” Ibid. (quotation
     omitted). Section 909(b) did not expressly legalize mifepristone; agency
     action (not statute) did that. Section 909(b)’s brief text makes no mention of



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     Case:
       23-10362
           23-10362Document:
                      Document:
                             00516710351
                                223 Page:Page:
                                            193 42
                                                 DateDate
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                                                              04/26/2023
                                                                   04/12/2023
Case 2:22-cv-00223-Z Document 141 Filed 04/12/23 Page 42 of 42 PageID 4535


                                         No. 23-10362


     mifepristone at all. So, there is no “irreconcilable” conflict. And we hesitate
     to find “clear and manifest” intention to repeal a 150-year-old statute that
     Congress has otherwise repeatedly declined to alter in the far reaches of a
     single section of the cavernous FDAAA.
            Failing all else, the applicants argue that the Comstock Act does not
     mean what it says it means. Or rather, that judicial gloss and lax enforcement
     over the past century act to graft relevant exceptions onto it. The applicants
     rely on a memo authored by the Office of Legal Counsel to press this position.
     See FDA Add. 258–78. That memo’s thorough exploration of this topic notes
     that a variety of aging out-of-circuit opinions and a single footnote within one
     Supreme Court dissent favor the applicants’ position. FDA Add. 262–68).
            The speed of our review does not permit conclusive exploration of this
     topic. To the extent the Comstock Act introduces uncertainty into the
     ultimate merits of the case, that uncertainty favors the plaintiffs because the
     applicants bear the burden of winning a stay. See Landis, 299 U.S. at 255.
     Since plaintiffs already prevail on most Nken factors concerning most of the
     agency items effectively enjoined by the district court’s order, we need not
     definitively interpret the Comstock Act to resolve this stay application.
                                     *        *         *
            As the stay applicants, defendants bear the burden of showing why
     “extraordinary circumstances” demand that we exercise discretion in their
     favor. To the extent the defendants make any such showing, they do so only
     with respect to the 2000 Approval—not the plaintiffs’ alternative arguments
     challenging FDA’s 2016 Major REMS Changes and all subsequent actions.
     Our decision to grant partial relief does not reflect our view on any merits
     question. The defendants’ motions to stay the district court’s order are
     GRANTED IN PART and DENIED IN PART. The appeal is
     EXPEDITED to the next available Oral Argument Calendar.




                                             42

                                                                                  23-10362.4419
     Case: 23-10362    Document: 223   Page: 194   Date Filed: 04/26/2023




                      CERTIFICATE OF SERVICE
     I hereby certify that on April 26, 2023, I electronically filed the

foregoing record excerpts with the Clerk of the Court for the United

States Court of Appeals for the Fifth Circuit by using the appellate

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CM/ECF system.

                                          /s/ Cynthia A. Barmore
                                          Cynthia A. Barmore
